                  Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 1 of 295


       indexI source priv      Privileg docu                         recipie                       hand fileLocat
no     D      FileUR ileg      e Notes mentT title    date    author nts     cc              bcc   Writin ion
              \Uri_K                                                                                      \Uri_Ka
              aufma                                                                                       ufman_a
              n_aol-                                                                                      ol-
              gmail_                                                                                      gmail_re
              respon                                                                                      sponsive
              sive_it                                                                                     _items.z
              ems.zi                                                                                      ip\aol_r
              p\aol_                                                                                      esponsiv
              respon                                                                                      e_items.
              sive_it                                                                                     pst\msh
              ems.ps                                                              Urikaufm                ah00001
              t\msha                                                              an@aol.c                1_at_aol-
              h0000                                                               om<Urik                 com.pst
              11_at_           Privileg                                           aufman                  _files\To
              aol-             ed                                                 @aol.co                 p of
              com.ps           commu                          USA       Marc      m>;                     Personal
              t_files\         nicatio                        Harmo     Casslar   Mshah00                 Folders\
              Top of           n re                           ny<usa    <mcas     0011@a                  mshah0
       OLS_ Person             potenti                2/16/2 harmo      slar@g    ol.com<                 00011_a
       URI00 al        Privi   al sale Email          011     ny@g      eoque     Mshah00                 t_-
       00005 Folder lege       of the Messa           5:56:51 mail.co   stinc.c   0011@a                  com\INB
     1 30     s\msh d          site     ge   Re: ES   PM      m>        om>       ol.com>          False OX
              \Uri_K                                                                                      \Uri_Ka
              aufma                                                                                       ufman_a
              n_aol-                                                                                      ol-
              gmail_                                                                                      gmail_re
              respon                                                                                      sponsive
              sive_it                                                                                     _items.z
              ems.zi                                                                                      ip\aol_r
              p\aol_                                                                                      esponsiv
              respon                                                                                      e_items.
              sive_it                                                                                     pst\msh
              ems.ps                                                                                      ah00001
              t\msha                                                                                      1_at_aol-
              h0000                                                                                       com.pst
              11_at_                                                                                      _files\To
              aol-                                                      Mshah                             p of
              com.ps           legal                          USA       00001                             Personal
              t_files\         advice                         Harmo     1@aol                             Folders\
              Top of           re                             ny<usa    .com<                             mshah0
       OLS_ Person             doing                  3/5/20 harmo      Mshah                             00011_a
       URI00 al        Privi   work Email Re:         11      ny@g      00001                             t_-
       00005 Folder lege       on the Messa English   4:41:48 mail.co   1@aol                             com\INB
     2 99     s\msh d          site   ge    Station   PM      m>        .com>                      False OX
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 2 of 295


        \Uri_K                                                                \Uri_Ka
        aufma                                                                 ufman_a
        n_aol-                                                                ol-
        gmail_                                                                gmail_re
        respon                                                                sponsive
        sive_it                                                               _items.z
        ems.zi                                                                ip\gmail
        p\gmai                                                                _respon
        l_resp                                                                sive_ite
        onsive                                                                ms.pst\u
        _items                                                                rikaufma
        .pst\ur                                                               n_at_gm
        ikaufm                                                                ail-
        an_at_                 Uri: Did                                       com[002
        gmail-                 you                                            ].pst_file
        com[0                  receive                                        s\Top of
        02].pst                my                                             Personal
        _files\                comme              Steven                      Folders\
        Top of                 nts on             B.        Uri               sandiha
        Person                 the                Rothsc    Kaufm             mmons_
        al                     Bond               hild<st   an<uri            at_yaho
  OLS_ Folder                  from a     6/21/2 even@      kaufm             o-
  URI00 s\sandi Privi    Email few        011     sbrpcla   an@a              com\[G
  00096 hamm lege        Messa hours      3:38:24 w.com     ol.com            mail]\Im
3 16    ons_at d         ge    ago?       PM      >         >         False   portant
          Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 3 of 295


        \Uri_K                                                                \Uri_Ka
        aufma                                                                 ufman_a
        n_aol-                                                                ol-
        gmail_                                                                gmail_re
        respon                                                                sponsive
        sive_it                                                               _items.z
        ems.zi                                                                ip\gmail
        p\gmai                                                                _respon
        l_resp                                                                sive_ite
        onsive                                                                ms.pst\u
        _items                                                                rikaufma
        .pst\ur                                                               n_at_gm
        ikaufm                                                                ail-
        an_at_                                                                com[002
        gmail-                                                                ].pst_file
        com[0                                                                 s\Top of
        02].pst                                                               Personal
        _files\       Attorne                               urikauf           Folders\
        Top of        y                                     man@              sandiha
        Person        comme                        jaepc1   gmail.c           mmons_
        al            nts on      Re:              @aol.c   om<ur             at_yaho
  OLS_ Folder         Modific     Modific 9/5/20   om<ja    ikaufm            o-
  URI00 s\sandi Privi ation Email ation   11       epc1@    an@g              com\[G
  00097 hamm lege Agree Messa Agreem 8:49:12       aol.co   mail.c            mail]\Im
4 95    ons_at d      ment ge     ent     AM       m>       om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 4 of 295


        \Uri_K                                                                 \Uri_Ka
        aufma                                                                  ufman_a
        n_aol-                                                                 ol-
        gmail_                                                                 gmail_re
        respon                                                                 sponsive
        sive_it                                                                _items.z
        ems.zi                                                                 ip\gmail
        p\gmai                                                                 _respon
        l_resp                                                                 sive_ite
        onsive                                                                 ms.pst\u
        _items                                                                 rikaufma
        .pst\ur                                                                n_at_gm
        ikaufm                                                                 ail-
        an_at_                                                                 com[002
        gmail-                                                                 ].pst_file
        com[0                                                                  s\Top of
        02].pst                                                                Personal
        _files\                                                                Folders\
        Top of                                               'Uri              sandiha
        Person                 RE: EPA             Alan      Kaufm             mmons_
        al                     Violatio            Kosloff   an'<uri           at_yaho
  OLS_ Folder                  n Letter - 9/28/2   <akosl    kaufm             o-
  URI00 s\sandi Privi    Email -          011      off@k     an@g              com\[G
  00098 hamm lege        Messa URGENT 10:27:2      osloff.   mail.c            mail]\Im
5 42    ons_at d         ge    !!!        2 AM     net>      om>       False   portant
          Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 5 of 295


        \Uri_K                                                                               \Uri_Ka
        aufma                                                                                ufman_a
        n_aol-                                                                               ol-
        gmail_                                                                               gmail_re
        respon                                                                               sponsive
        sive_it                                                                              _items.z
        ems.zi                                                          mcasslar             ip\gmail
        p\gmai                                                          @geoqu               _respon
        l_resp                                                          estinc.co            sive_ite
        onsive                                                          m<mcass              ms.pst\u
        _items                                                          lar@geo              rikaufma
        .pst\ur                                                         questinc.            n_at_gm
        ikaufm                                                          com>;                ail-
        an_at_                                                          usaharm              com[004
        gmail-                                                          ony@gm               ].pst_file
        com[0         privileg                                          ail.com<             s\Top of
        04].pst       ed                                                usaharm              Personal
        _files\       commu                                             ony@gm               Folders\
        Top of        nicatio                       Uri                 ail.com>;            sandiha
        Person        n re          38-             Kaufm     Alan      hsrfinanc            mmons_
        al            EPA           gmail_r         an<uri    Kosloff   ial@gmai             at_yaho
  OLS_ Folder         and           esponsiv 11/16/ kaufm     <akosl    l.com<hs             o-
  URI00 s\sandi Privi other Email   e_items- 2011   an@g      off@k     rfinancial           com\[G
  00132 hamm lege matter Messa      3777.ms 1:29:45 mail.co   osloff.   @gmail.c             mail]\Se
6 30    ons_at d      s        ge   g        PM     m>        net>      om>          False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 6 of 295


        \Uri_K                                                                \Uri_Ka
        aufma                                                                 ufman_a
        n_aol-                                                                ol-
        gmail_                                                                gmail_re
        respon                                                                sponsive
        sive_it                                                               _items.z
        ems.zi                                                                ip\gmail
        p\gmai                                                                _respon
        l_resp                                             usahar             sive_ite
        onsive                                             mony               ms.pst\u
        _items                                             @gmai              rikaufma
        .pst\ur                                            l.com<             n_at_gm
        ikaufm                                             usahar             ail-
        an_at_                                             mony               com[004
        gmail-                                             @gmai              ].pst_file
        com[0                                              l.com>             s\Top of
        04].pst                                            ;                  Personal
        _files\                                            hsrfina            Folders\
        Top of                                   Uri       ncial@             sandiha
        Person                 Fwd:              Kaufm     gmail.c            mmons_
        al                     Letter            an<uri    om<hs              at_yaho
  OLS_ Folder                  from      12/1/2 kaufm      rfinanc            o-
  URI00 s\sandi Privi    Email City of   011     an@g      ial@g              com\[G
  00132 hamm lege        Messa New       3:59:25 mail.co   mail.c             mail]\Se
7 46    ons_at d         ge    Haven     PM      m>        om>        False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 7 of 295


        \Uri_K                                                                      \Uri_Ka
        aufma                                                                       ufman_a
        n_aol-                                                                      ol-
        gmail_                                                                      gmail_re
        respon                                                                      sponsive
        sive_it                                                                     _items.z
        ems.zi                                                                      ip\gmail
        p\gmai                                                                      _respon
        l_resp                                                                      sive_ite
        onsive                                                                      ms.pst\u
        _items                                                                      rikaufma
        .pst\ur                                                                     n_at_gm
        ikaufm                                                                      ail-
        an_at_                                                                      com[004
        gmail-                                                                      ].pst_file
        com[0                                                                       s\Top of
        04].pst                                                                     Personal
        _files\                                        hsrfina                      Folders\
        Top of                                Uri      ncial@                       sandiha
        Person                  Fwd:          Kaufm    gmail.c   usaharm            mmons_
        al               Email FW:            an<uri   om<hs     ony@gm             at_yaho
  OLS_ Folder            Messa English 12/1/2 kaufm    rfinanc   ail.com<           o-
  URI00 s\sandi Privi    ge[Att Station 011   an@g     ial@g     usaharm            com\[G
  00132 hamm lege        achme power 4:22:50 mail.co   mail.c    ony@gm             mail]\Se
8 47    ons_at d         nts]   lines   PM    m>       om>       ail.com>   False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 8 of 295


        \Uri_K                                                                           \Uri_Ka
        aufma                                                                            ufman_a
        n_aol-                                                                           ol-
        gmail_                                                                           gmail_re
        respon                                                                           sponsive
        sive_it                                                                          _items.z
        ems.zi                                                                           ip\gmail
        p\gmai                                                                           _respon
        l_resp                                                                           sive_ite
        onsive                                                                           ms.pst\u
        _items                                              Uri                          rikaufma
        .pst\ur                                             Kaufm                        n_at_gm
        ikaufm                                              an<uri                       ail-
        an_at_                                              kaufm                        com[002
        gmail-                                              an@g                         ].pst_file
        com[0                                               mail.c                       s\Top of
        02].pst                                             om>;                         Personal
        _files\                                             hsrfina                      Folders\
        Top of                                              ncial@                       sandiha
        Person                 Re: Fwd:           HS        gmail.c   usaharm            mmons_
        al                     FW:                R<hsrfi   om<hs     ony@gm             at_yaho
  OLS_ Folder                  English    12/1/2 nancial    rfinanc   ail.com<           o-
  URI00 s\sandi Privi    Email Station    011     @yaho     ial@g     usaharm            com\[G
  00099 hamm lege        Messa power      4:26:55 o.com     mail.c    ony@gm             mail]\Im
9 40    ons_at d         ge    lines      PM      >         om>       ail.com>   False   portant
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 9 of 295


         \Uri_K                                                                              \Uri_Ka
         aufma                                                                               ufman_a
         n_aol-                                                                              ol-
         gmail_                                                                              gmail_re
         respon                                                                              sponsive
         sive_it                                                                             _items.z
         ems.zi                                                                              ip\gmail
         p\gmai                                                                              _respon
         l_resp                                                                              sive_ite
         onsive                                                                              ms.pst\u
         _items                                                 Uri                          rikaufma
         .pst\ur                                                Kaufm                        n_at_gm
         ikaufm                                                 an<uri                       ail-
         an_at_                                                 kaufm                        com[002
         gmail-                                                 an@g                         ].pst_file
         com[0                     Re: Fwd:                     mail.c                       s\Top of
         02].pst                   FW:                          om>;                         Personal
         _files\                   English                      hsrfina                      Folders\
         Top of                    Station                      ncial@                       sandiha
         Person                    power              HS        gmail.c   usaharm            mmons_
         al               Email    lines              R<hsrfi   om<hs     ony@gm             at_yaho
   OLS_ Folder            Messa    must be    12/1/2 nancial    rfinanc   ail.com<           o-
   URI00 s\sandi Privi    ge[Att   notarize   011     @yaho     ial@g     usaharm            com\[G
   00099 hamm lege        achme    d by       6:52:37 o.com     mail.c    ony@gm             mail]\Im
10 43    ons_at d         nts]     Jackie     PM      >         om>       ail.com>   False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 10 of 295


         \Uri_K                                                                             \Uri_Ka
         aufma                                                                              ufman_a
         n_aol-                                                                             ol-
         gmail_                                                                             gmail_re
         respon                                                                             sponsive
         sive_it                                                                            _items.z
         ems.zi                                                                             ip\gmail
         p\gmai                                                                             _respon
         l_resp                                                                             sive_ite
         onsive                                                                             ms.pst\u
         _items                                                                             rikaufma
         .pst\ur                                                                            n_at_gm
         ikaufm                                                                             ail-
         an_at_                                                        hsrfinanc            com[004
         gmail-                                                        ial@gmai             ].pst_file
         com[0                  Re: Fwd:                               l.com<hs             s\Top of
         04].pst                FW:                                    rfinancial           Personal
         _files\                English                                @gmail.c             Folders\
         Top of                 Station            Uri                 om>;                 sandiha
         Person                 power              Kaufm     HS        usaharm              mmons_
         al                     lines              an<uri    R<hsrfi   ony@gm               at_yaho
   OLS_ Folder                  must be    12/1/2 kaufm      nancial   ail.com<             o-
   URI00 s\sandi Privi    Email notarize   011     an@g      @yaho     usaharm              com\[G
   00132 hamm lege        Messa d by       6:59:23 mail.co   o.com     ony@gm               mail]\Se
11 50    ons_at d         ge    Jackie     PM      m>        >         ail.com>     False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 11 of 295


         \Uri_K                                                                             \Uri_Ka
         aufma                                                                              ufman_a
         n_aol-                                                                             ol-
         gmail_                                                                             gmail_re
         respon                                                                             sponsive
         sive_it                                                                            _items.z
         ems.zi                                                                             ip\gmail
         p\gmai                                                                             _respon
         l_resp                                                                             sive_ite
         onsive                                                                             ms.pst\u
         _items                                                                             rikaufma
         .pst\ur                                                                            n_at_gm
         ikaufm                                                                             ail-
         an_at_                                                                             com[002
         gmail-                    Fw:                                   Uri                ].pst_file
         com[0                     Fwd:                                  Kaufman            s\Top of
         02].pst                   FW:                                   <urikauf           Personal
         _files\                   English                               man@g              Folders\
         Top of                    Station                               mail.com           sandiha
         Person                    power              HS                 >; Ira             mmons_
         al               Email    lines              R<hsrfi   Dina<d   Schwartz           at_yaho
   OLS_ Folder            Messa    must be    12/1/2 nancial    inalnd   <usahar            o-
   URI00 s\sandi Privi    ge[Att   notarize   011     @yaho     @yaho    mony@g             com\[G
   00099 hamm lege        achme    d by       9:36:39 o.com     o.com    mail.com           mail]\Im
12 44    ons_at d         nts]     Jackie     PM      >         >        >          False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 12 of 295


         \Uri_K                                                                               \Uri_Ka
         aufma                                                                                ufman_a
         n_aol-                                                                               ol-
         gmail_                                                                               gmail_re
         respon                                                                               sponsive
         sive_it                                                                              _items.z
         ems.zi                                                                               ip\gmail
         p\gmai                                                                               _respon
         l_resp                                                                               sive_ite
         onsive                                                                               ms.pst\u
         _items                                                                               rikaufma
         .pst\ur                                                                              n_at_gm
         ikaufm                                                                               ail-
         an_at_                                                          hsrfinanc            com[002
         gmail-                                                          ial@gmai             ].pst_file
         com[0                     Re: Fwd:                              l.com<hs             s\Top of
         02].pst                   FW:                                   rfinancial           Personal
         _files\                   English                               @gmail.c             Folders\
         Top of                    Station                      Uri      om>;                 sandiha
         Person                    power              HS        Kaufm    usaharm              mmons_
         al               Email    lines              R<hsrfi   an<uri   ony@gm               at_yaho
   OLS_ Folder            Messa    must be    12/2/2 nancial    kaufm    ail.com<             o-
   URI00 s\sandi Privi    ge[Att   notarize   011     @yaho     an@g     usaharm              com\[G
   00099 hamm lege        achme    d by       1:29:49 o.com     mail.c   ony@gm               mail]\Im
13 45    ons_at d         nts]     Jackie     PM      >         om>      ail.com>     False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 13 of 295


         \Uri_K                                                                   \Uri_Ka
         aufma                                                                    ufman_a
         n_aol-                                                                   ol-
         gmail_                                                                   gmail_re
         respon                                                                   sponsive
         sive_it                                                                  _items.z
         ems.zi                                                                   ip\gmail
         p\gmai                                                                   _respon
         l_resp                                                 urikauf           sive_ite
         onsive                                                 man@              ms.pst\u
         _items                                                 gmail.c           rikaufma
         .pst\ur       Attorne                                  om<ur             n_at_gm
         ikaufm        y                                        ikaufm            ail-
         an_at_        commu                                    an@g              com[002
         gmail-        nicatio                                  mail.c            ].pst_file
         com[0         ns re a                                  om>;              s\Top of
         02].pst       convers                                  mmcq              Personal
         _files\       ation                                    ueene             Folders\
         Top of        with UI                                  y@kos             sandiha
         Person        corpor                         Alan      loff.ne           mmons_
         al            ate                            Kosloff   t<mmc             at_yaho
   OLS_ Folder         officer                12/13/ <alank     queen             o-
   URI00 s\sandi Privi Tony    Email          2011    osloff    ey@ko             com\[G
   00099 hamm lege Maron Messa Re:            5:07:03 @gmai     sloff.n           mail]\Im
14 78    ons_at d      e       ge    Marone   PM      l.com>    et>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 14 of 295


         \Uri_K                                                               \Uri_Ka
         aufma                                                                ufman_a
         n_aol-                                                               ol-
         gmail_                                                               gmail_re
         respon                                                               sponsive
         sive_it                                                              _items.z
         ems.zi                                                               ip\gmail
         p\gmai                                                               _respon
         l_resp                                                               sive_ite
         onsive                                                               ms.pst\u
         _items                                                               rikaufma
         .pst\ur                                  Mail                        n_at_gm
         ikaufm                                   Deliver                     ail-
         an_at_                                   y                           com[002
         gmail-                                   Subsys                      ].pst_file
         com[0                                    tem<                        s\Top of
         02].pst                                  MAILE                       Personal
         _files\                                  R-        urikauf           Folders\
         Top of                                   DAEM      man@              sandiha
         Person                  Returne          ON@f      gmail.c           mmons_
         al               Email d mail:           allback   om<ur             at_yaho
   OLS_ Folder            Messa see       12/13/ 2.regis    ikaufm            o-
   URI00 s\sandi Privi    ge[Att transcri 2011    teredsi   an@g              com\[G
   00099 hamm lege        achme pt for    10:29:0 te.com    mail.c            mail]\Im
15 79    ons_at d         nts]   details 1 PM >             om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 15 of 295


         \Uri_K                                                                    \Uri_Ka
         aufma                                                                     ufman_a
         n_aol-                                                                    ol-
         gmail_                                                                    gmail_re
         respon                                                                    sponsive
         sive_it                                                                   _items.z
         ems.zi                                                                    ip\gmail
         p\gmai                                                                    _respon
         l_resp                                                  usahar            sive_ite
         onsive                                                  mony              ms.pst\u
         _items                                                  @gmai             rikaufma
         .pst\ur                                                 l.com<            n_at_gm
         ikaufm                                                  usahar            ail-
         an_at_                                                  mony              com[004
         gmail-                                                  @gmai             ].pst_file
         com[0                                                   l.com>            s\Top of
         04].pst                                                 ;                 Personal
         _files\                                                 hsrfina           Folders\
         Top of        Attorne                         Uri       ncial@            sandiha
         Person        y                               Kaufm     gmail.c           mmons_
         al            commu                           an<uri    om<hs             at_yaho
   OLS_ Folder         nicatio                 1/5/20 kaufm      rfinanc           o-
   URI00 s\sandi Privi n re    Email Fwd:      12      an@g      ial@g             com\[G
   00132 hamm lege permitt Messa English       12:08:4 mail.co   mail.c            mail]\Se
16 60    ons_at d      ing     ge    station   5 PM m>           om>       False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 16 of 295


         \Uri_K                                                                       \Uri_Ka
         aufma                                                                        ufman_a
         n_aol-                                                                       ol-
         gmail_                                                                       gmail_re
         respon                                                                       sponsive
         sive_it                                                                      _items.z
         ems.zi                                                                       ip\gmail
         p\gmai                                                                       _respon
         l_resp                                                                       sive_ite
         onsive                                         Alan                          ms.pst\u
         _items                                         Kosloff                       rikaufma
         .pst\ur                                        <akosl                        n_at_gm
         ikaufm                                         off@k                         ail-
         an_at_                                         osloff.                       com[004
         gmail-                                         net>;                         ].pst_file
         com[0                                          mcassl    USA                 s\Top of
         04].pst                                        ar@ge     Harmony             Personal
         _files\                                        oquest    <usahar             Folders\
         Top of                               Uri       inc.co    mony@g              sandiha
         Person                               Kaufm     m<mc      mail.com            mmons_
         al                                   an<uri    asslar    >; Howi             at_yaho
   OLS_ Folder                        1/15/2 kaufm      @geo      ro<hsrfin           o-
   URI00 s\sandi Privi    Email       012     an@g      questi    ancial@g            com\[G
   00132 hamm lege        Messa       12:44:5 mail.co   nc.co     mail.com            mail]\Se
17 77    ons_at d         ge    EPA   0 PM m>           m>        >           False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 17 of 295


         \Uri_K                                                               \Uri_Ka
         aufma                                                                ufman_a
         n_aol-                                                               ol-
         gmail_                                                               gmail_re
         respon                                                               sponsive
         sive_it                                                              _items.z
         ems.zi                                                               ip\gmail
         p\gmai                                                               _respon
         l_resp                                                               sive_ite
         onsive                                                               ms.pst\u
         _items                                                               rikaufma
         .pst\ur                                                              n_at_gm
         ikaufm                                                               ail-
         an_at_                                                               com[002
         gmail-                                                               ].pst_file
         com[0                                                                s\Top of
         02].pst                                                              Personal
         _files\                                          urikauf             Folders\
         Top of                                           man@                sandiha
         Person                                 Alan      gmail.c             mmons_
         al                                     Kosloff   om<ur               at_yaho
   OLS_ Folder                          1/15/2 <alank     ikaufm              o-
   URI00 s\sandi Privi    Email         012     osloff    an@g                com\[G
   00101 hamm lege        Messa         12:59:5 @gmai     mail.c              mail]\Im
18 01    ons_at d         ge    Re: EPA 9 PM l.com>       om>         False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 18 of 295


         \Uri_K                                                                        \Uri_Ka
         aufma                                                                         ufman_a
         n_aol-                                                                        ol-
         gmail_                                                                        gmail_re
         respon                                                                        sponsive
         sive_it                                                                       _items.z
         ems.zi                                                                        ip\gmail
         p\gmai                                                                        _respon
         l_resp                                                                        sive_ite
         onsive                                                                        ms.pst\u
         _items                                                                        rikaufma
         .pst\ur                                                                       n_at_gm
         ikaufm                                                      USA               ail-
         an_at_                                                      Harmo             com[004
         gmail-                                                      ny<usa            ].pst_file
         com[0         Attorne                                       harmo             s\Top of
         04].pst       y                                             ny@g              Personal
         _files\       commu                                         mail.c            Folders\
         Top of        nicatio                             Uri       om>;              sandiha
         Person        n re                                Kaufm     Howi              mmons_
         al            relation   Email                    an<uri    ro<hsr            at_yaho
   OLS_ Folder         ship       Messa            1/24/2 kaufm      financi           o-
   URI00 s\sandi Privi with       ge[Att Fwd:      012     an@g      al@gm             com\[G
   00133 hamm lege Grant          achme English    7:06:05 mail.co   ail.co            mail]\Se
19 04    ons_at d      McKay      nts]   station   AM      m>        m>        False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 19 of 295


         \Uri_K                                                               \Uri_Ka
         aufma                                                                ufman_a
         n_aol-                                                               ol-
         gmail_                                                               gmail_re
         respon                                                               sponsive
         sive_it                                                              _items.z
         ems.zi                                                               ip\gmail
         p\gmai                                                               _respon
         l_resp                                                               sive_ite
         onsive                                                               ms.pst\u
         _items                                                               rikaufma
         .pst\ur                                                              n_at_gm
         ikaufm                                                               ail-
         an_at_                                                               com[004
         gmail-                                                               ].pst_file
         com[0                                                                s\Top of
         04].pst                                                              Personal
         _files\                                                              Folders\
         Top of                 Re:                Uri                        sandiha
         Person                 Accident           Kaufm     jaepc1           mmons_
         al                     at                 an<uri    @aol.c           at_yaho
   OLS_ Folder                  English    2/3/20 kaufm      om<ja            o-
   URI00 s\sandi Privi    Email Station    12      an@g      epc1@            com\[G
   00133 hamm lege        Messa on Nov.    12:23:2 mail.co   aol.co           mail]\Se
20 09    ons_at d         ge    3, 2011    5 PM m>           m>       False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 20 of 295


         \Uri_K                                                               \Uri_Ka
         aufma                                                                ufman_a
         n_aol-                                                               ol-
         gmail_                                                               gmail_re
         respon                                                               sponsive
         sive_it                                                              _items.z
         ems.zi                                                               ip\gmail
         p\gmai                                                               _respon
         l_resp                                                               sive_ite
         onsive                                                               ms.pst\u
         _items                                                               rikaufma
         .pst\ur                                                              n_at_gm
         ikaufm                                                               ail-
         an_at_                                                               com[004
         gmail-                                                               ].pst_file
         com[0                                                                s\Top of
         04].pst                                                              Personal
         _files\                                                              Folders\
         Top of                                Uri                            sandiha
         Person                                Kaufm     Alan                 mmons_
         al                                    an<uri    Kosloff              at_yaho
   OLS_ Folder                  Re:     2/10/2 kaufm     <akosl               o-
   URI00 s\sandi Privi    Email Cease & 012    an@g      off@k                com\[G
   00133 hamm lege        Messa Desist 12:36:4 mail.co   osloff.              mail]\Se
21 25    ons_at d         ge    Order 4 PM m>            net>         False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 21 of 295


         \Uri_K                                                               \Uri_Ka
         aufma                                                                ufman_a
         n_aol-                                                               ol-
         gmail_                                                               gmail_re
         respon                                                               sponsive
         sive_it                                                              _items.z
         ems.zi                                                               ip\gmail
         p\gmai                                                               _respon
         l_resp                                                               sive_ite
         onsive                                                               ms.pst\u
         _items                                                               rikaufma
         .pst\ur                                                              n_at_gm
         ikaufm                                                               ail-
         an_at_                                                               com[004
         gmail-                                                               ].pst_file
         com[0                                                                s\Top of
         04].pst                                                              Personal
         _files\                                                              Folders\
         Top of                                Uri                            sandiha
         Person                                Kaufm     Alan                 mmons_
         al                                    an<uri    Kosloff              at_yaho
   OLS_ Folder                  Re:     2/10/2 kaufm     <akosl               o-
   URI00 s\sandi Privi    Email Cease & 012    an@g      off@k                com\[G
   00133 hamm lege        Messa Desist 12:46:0 mail.co   osloff.              mail]\Se
22 26    ons_at d         ge    Order 8 PM m>            net>         False   nt Mail
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 22 of 295


           \Uri_K                                                                  \Uri_Ka
           aufma                                                                   ufman_a
           n_aol-                                                                  ol-
           gmail_                                                                  gmail_re
           respon                                                                  sponsive
           sive_it                                                                 _items.z
           ems.zi                                                                  ip\gmail
           p\gmai                                                                  _respon
           l_resp                                                                  sive_ite
           onsive                                                                  ms.pst\u
           _items                                                                  rikaufma
           .pst\ur                                                                 n_at_gm
           ikaufm                                                                  ail-
           an_at_                                                                  com[004
           gmail-                                                                  ].pst_file
           com[0                                                                   s\Top of
           04].pst                                                                 Personal
           _files\                                                                 Folders\
           Top of                                  Uri                             sandiha
           Person                                  Kaufm         Alan              mmons_
           al                                      an<uri        Kosloff           at_yaho
   OLS_    Folder                   Re:     2/10/2 kaufm         <akosl            o-
   URI00   s\sandi    Privi   Email Cease & 012    an@g          off@k             com\[G
   00133   hamm       lege    Messa Desist 12:57:3 mail.co       osloff.           mail]\Se
23 28      ons_at     d       ge    Order 7 PM m>                net>      False   nt Mail
           \Uri_K                                                                  \Uri_Ka
           aufma                                                                   ufman_a
           n_aol-                                                                  ol-
           gmail_                                                                  gmail_re
           respon                                                                  sponsive
           sive_it                                                                 _items.z
           ems.zi                                                                  ip\aol_r
           p\aol_                   Fwd: Hi                                        esponsiv
           respon                   Alan, I                                        e_items.
           sive_it                  received                                       pst\msh
           ems.ps                   the                                            ah00001
           t\msha                   cease                                          1_at_aol-
           h0000                    and                                            com.pst
           11_at_                   desist                                         _files\To
           aol-                     order.                       mshah             p of
           com.ps                   We                           00001             Personal
           t_files\                 need               4Self     1@aol             Folders\
           Top of                   you to             Storag    .com<             mshah0
   OLS_    Person                   represe    2/10/2 e<ct@      mshah             00011_a
   URI00   al         Privi   Email nt our     012     4selfst   00001             t_-
   00011   Folder     lege    Messa interest   4:17:19 orage.    1@aol             com\INB
24 62      s\msh      d       ge    s.         PM      com>      .com>     False   OX
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 23 of 295


           \Uri_K                                                                \Uri_Ka
           aufma                                                                 ufman_a
           n_aol-                                                                ol-
           gmail_                                                                gmail_re
           respon                                                                sponsive
           sive_it                                                               _items.z
           ems.zi                                                                ip\aol_r
           p\aol_                                                                esponsiv
           respon                                                                e_items.
           sive_it                  Fwd:                                         pst\msh
           ems.ps                   Bobby                                        ah00001
           t\msha                   when                                         1_at_aol-
           h0000                    you said                                     com.pst
           11_at_                   you                                          _files\To
           aol-                     could                        mshah           p of
           com.ps                   take                         00001           Personal
           t_files\                 down               4Self     1@aol           Folders\
           Top of                   the                Storag    .com<           mshah0
   OLS_    Person                   building   2/10/2 e<ct@      mshah           00011_a
   URI00   al         Privi   Email using a    012     4selfst   00001           t_-
   00011   Folder     lege    Messa wreckin    4:23:09 orage.    1@aol           com\INB
25 64      s\msh      d       ge    g ball.    PM      com>      .com>   False   OX
           \Uri_K                                                                \Uri_Ka
           aufma                                                                 ufman_a
           n_aol-                                                                ol-
           gmail_                                                                gmail_re
           respon                                                                sponsive
           sive_it                  Fwd: I                                       _items.z
           ems.zi                   just                                         ip\aol_r
           p\aol_                   spoke                                        esponsiv
           respon                   with                                         e_items.
           sive_it                  bobby                                        pst\msh
           ems.ps                   and he                                       ah00001
           t\msha                   says in                                      1_at_aol-
           h0000                    english                                      com.pst
           11_at_                   Station                                      _files\To
           aol-                     they                         mshah           p of
           com.ps                   only                         00001           Personal
           t_files\                 remove             4Self     1@aol           Folders\
           Top of                   d 40               Storag    .com<           mshah0
   OLS_    Person                   percent    2/10/2 e<ct@      mshah           00011_a
   URI00   al         Privi   Email was        012     4selfst   00001           t_-
   00011   Folder     lege    Messa remove     4:23:24 orage.    1@aol           com\INB
26 65      s\msh      d       ge    d.         PM      com>      .com>   False   OX
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 24 of 295


           \Uri_K                                                                              \Uri_Ka
           aufma                                                                               ufman_a
           n_aol-                                                                              ol-
           gmail_                                                                              gmail_re
           respon                                                                              sponsive
           sive_it                  Fwd: I                                                     _items.z
           ems.zi                   just                                                       ip\aol_r
           p\aol_                   spoke                                                      esponsiv
           respon                   with                                                       e_items.
           sive_it                  bobby                                                      pst\msh
           ems.ps                   and he                                                     ah00001
           t\msha                   says in                                                    1_at_aol-
           h0000                    english                                                    com.pst
           11_at_                   Station                                                    _files\To
           aol-                     they                         mshah                         p of
           com.ps                   only                         00001                         Personal
           t_files\                 remove             4Self     1@aol                         Folders\
           Top of                   d 40               Storag    .com<                         mshah0
   OLS_    Person                   percent    2/10/2 e<ct@      mshah                         00011_a
   URI00   al         Privi   Email was        012     4selfst   00001                         t_-
   00011   Folder     lege    Messa remove     4:23:45 orage.    1@aol                         com\INB
27 66      s\msh      d       ge    d.         PM      com>      .com>                 False   OX
           \Uri_K                                                                              \Uri_Ka
           aufma                                                                               ufman_a
           n_aol-                                                                              ol-
           gmail_                                                                              gmail_re
           respon                                                                              sponsive
           sive_it                                                                             _items.z
           ems.zi                                                                              ip\gmail
           p\gmai                                                                              _respon
           l_resp                                                                              sive_ite
           onsive                                                                              ms.pst\u
           _items                                                                              rikaufma
           .pst\ur                                                                             n_at_gm
           ikaufm                                                                              ail-
           an_at_                                                                              com[004
           gmail-                                                                              ].pst_file
           com[0                                                                               s\Top of
           04].pst                  Re:                                                        Personal
           _files\                  Complia                                                    Folders\
           Top of                   nce                Uri                                     sandiha
           Person                   Require            Kaufm     Alan      Marc                mmons_
           al                       ments              an<uri    Kosloff   Casslar<            at_yaho
   OLS_    Folder                   with the   2/14/2 kaufm      <akosl    mcasslar            o-
   URI00   s\sandi    Privi   Email Cease &    012     an@g      off@k     @geoqu              com\[G
   00133   hamm       lege    Messa Desist     1:03:43 mail.co   osloff.   estinc.co           mail]\Se
28 34      ons_at     d       ge    Order      PM      m>        net>      m>          False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 25 of 295


         \Uri_K                                                                                \Uri_Ka
         aufma                                                                                 ufman_a
         n_aol-                                                                                ol-
         gmail_                                                                                gmail_re
         respon                                                                                sponsive
         sive_it                                                                               _items.z
         ems.zi                                                                                ip\gmail
         p\gmai                                                                                _respon
         l_resp                                                                                sive_ite
         onsive                                                                                ms.pst\u
         _items                                                                                rikaufma
         .pst\ur                                                                               n_at_gm
         ikaufm                                                                                ail-
         an_at_                                                                                com[002
         gmail-                                                                                ].pst_file
         com[0                                                                                 s\Top of
         02].pst                                                                               Personal
         _files\                                                                               Folders\
         Top of        Legal                                      Uri                          sandiha
         Person        advice                           Alan      Kaufm    Marc                mmons_
         al            re who Email                     Kosloff   an<uri   Casslar<            at_yaho
   OLS_ Folder         must Messa               2/14/2 <akosl     kaufm    mcasslar            o-
   URI00 s\sandi Privi sign a ge[Att            012     off@k     an@g     @geoqu              com\[G
   00101 hamm lege docum achme More             3:13:40 osloff.   mail.c   estinc.co           mail]\Im
29 89    ons_at d      ent    nts]   Bullshit   PM      net>      om>      m>          False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 26 of 295


         \Uri_K                                                                              \Uri_Ka
         aufma                                                                               ufman_a
         n_aol-                                                                              ol-
         gmail_                                                                              gmail_re
         respon                                                                              sponsive
         sive_it                                                                             _items.z
         ems.zi                                                                              ip\gmail
         p\gmai                                                                              _respon
         l_resp                                                                              sive_ite
         onsive                                                                              ms.pst\u
         _items                                                                              rikaufma
         .pst\ur                                                                             n_at_gm
         ikaufm                                                                              ail-
         an_at_                                                                              com[004
         gmail-                                                                              ].pst_file
         com[0                                                                               s\Top of
         04].pst                                                                             Personal
         _files\                                                                             Folders\
         Top of                                      Uri                                     sandiha
         Person                                      Kaufm     Alan      Marc                mmons_
         al                                          an<uri    Kosloff   Casslar<            at_yaho
   OLS_ Folder                               2/14/2 kaufm      <akosl    mcasslar            o-
   URI00 s\sandi Privi        Email Re:      012     an@g      off@k     @geoqu              com\[G
   00133 hamm lege            Messa More     4:29:59 mail.co   osloff.   estinc.co           mail]\Se
30 44    ons_at d      Same   ge    Bullshit PM      m>        net>      m>          False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 27 of 295


         \Uri_K                                                                  \Uri_Ka
         aufma                                                                   ufman_a
         n_aol-                                                                  ol-
         gmail_                                                                  gmail_re
         respon                                                                  sponsive
         sive_it                                                                 _items.z
         ems.zi                                                                  ip\gmail
         p\gmai                                                                  _respon
         l_resp                                                                  sive_ite
         onsive                                                                  ms.pst\u
         _items                                                                  rikaufma
         .pst\ur                                                                 n_at_gm
         ikaufm                                                                  ail-
         an_at_                                                                  com[002
         gmail-                                                                  ].pst_file
         com[0                                                                   s\Top of
         02].pst                                                                 Personal
         _files\                                                                 Folders\
         Top of                                      Uri       Alan              sandiha
         Person                                      Kaufm     M.                mmons_
         al                                          an<uri    Kosloff           at_yaho
   OLS_ Folder                               2/16/2 kaufm      <akosl            o-
   URI00 s\sandi Privi        Email Fwd:     012     an@g      off@k             com\[G
   00102 hamm lege            Messa (no      9:59:25 mail.co   osloff.           mail]\Im
31 02    ons_at d      Same   ge    subject) AM      m>        net>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 28 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                               'Uri              sandiha
         Person                                     Alan      Kaufm             mmons_
         al                                         Kosloff   an'<uri           at_yaho
   OLS_ Folder                               2/16/2 <akosl    kaufm             o-
   URI00 s\sandi Privi        Email          012    off@k     an@g              com\[G
   00102 hamm lege            Messa RE: (no 10:09:1 osloff.   mail.c            mail]\Im
32 03    ons_at d      Same   ge    subject) 0 AM net>        om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 29 of 295


         \Uri_K                                                                       \Uri_Ka
         aufma                                                                        ufman_a
         n_aol-                                                                       ol-
         gmail_                                                                       gmail_re
         respon                                                                       sponsive
         sive_it                                                                      _items.z
         ems.zi                                                                       ip\gmail
         p\gmai                                                                       _respon
         l_resp                                                                       sive_ite
         onsive                                                                       ms.pst\u
         _items                                                                       rikaufma
         .pst\ur                                                                      n_at_gm
         ikaufm                                                                       ail-
         an_at_                                                                       com[002
         gmail-                                                                       ].pst_file
         com[0                                                                        s\Top of
         02].pst                                                                      Personal
         _files\       Discuss                                      urikauf           Folders\
         Top of        ion                                          man@              sandiha
         Person        among                              Alan      gmail.c           mmons_
         al            attorne   Email                    Kosloff   om<ur             at_yaho
   OLS_ Folder         ys re     Messa            2/21/2 <alank     ikaufm            o-
   URI00 s\sandi Privi status    ge[Att           012     osloff    an@g              com\[G
   00102 hamm lege of the        achme            3:50:14 @gmai     mail.c            mail]\Im
33 24    ons_at d      matter    nts]   Fw: FYI   PM      l.com>    om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 30 of 295


         \Uri_K                                                              \Uri_Ka
         aufma                                                               ufman_a
         n_aol-                                                              ol-
         gmail_                                                              gmail_re
         respon                                                              sponsive
         sive_it                                                             _items.z
         ems.zi                                                              ip\gmail
         p\gmai                                                              _respon
         l_resp                                                              sive_ite
         onsive                                                              ms.pst\u
         _items                                                              rikaufma
         .pst\ur                                                             n_at_gm
         ikaufm                                                              ail-
         an_at_                                                              com[002
         gmail-                                                              ].pst_file
         com[0                                                               s\Top of
         02].pst                                                             Personal
         _files\                                                             Folders\
         Top of                                             Uri              sandiha
         Person                                             Kaufm            mmons_
         al                                        AlanK<   an<uri           at_yaho
   OLS_ Folder                             2/22/2 akoslof   kaufm            o-
   URI00 s\sandi Privi        Email Re:    012     f@bell   an@g             com\[G
   00102 hamm lege            Messa EMERGE 9:39:13 south.   mail.c           mail]\Im
34 39    ons_at d      same   ge    NCY    PM      net>     om>      False   portant
          Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 31 of 295


         \Uri_K                                                             \Uri_Ka
         aufma                                                              ufman_a
         n_aol-                                                             ol-
         gmail_                                                             gmail_re
         respon                                                             sponsive
         sive_it                                                            _items.z
         ems.zi                                                             ip\gmail
         p\gmai                                                             _respon
         l_resp                                                             sive_ite
         onsive                                                             ms.pst\u
         _items                                                             rikaufma
         .pst\ur                                                            n_at_gm
         ikaufm                                                             ail-
         an_at_                                                             com[002
         gmail-                                                             ].pst_file
         com[0         Attorne                                              s\Top of
         02].pst       y                                                    Personal
         _files\       commu                                                Folders\
         Top of        nicatio                             Uri              sandiha
         Person        n re                                Kaufm            mmons_
         al            cost                      AlanK<    an<uri           at_yaho
   OLS_ Folder         splittin         2/22/2   akoslof   kaufm            o-
   URI00 s\sandi Privi g with Email Fw: 012      f@bell    an@g             com\[G
   00102 hamm lege Grant Messa EMERGE 9:39:29    south.    mail.c           mail]\Im
35 40    ons_at d      McKay ge     NCY PM       net>      om>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 32 of 295


         \Uri_K                                                              \Uri_Ka
         aufma                                                               ufman_a
         n_aol-                                                              ol-
         gmail_                                                              gmail_re
         respon                                                              sponsive
         sive_it                                                             _items.z
         ems.zi                                                              ip\gmail
         p\gmai                                                              _respon
         l_resp                                                              sive_ite
         onsive                                                              ms.pst\u
         _items                                                              rikaufma
         .pst\ur                                                             n_at_gm
         ikaufm                                                              ail-
         an_at_                                                              com[002
         gmail-                                                              ].pst_file
         com[0                                                               s\Top of
         02].pst                                                             Personal
         _files\                                                             Folders\
         Top of                                             Uri              sandiha
         Person                                             Kaufm            mmons_
         al                                        AlanK<   an<uri           at_yaho
   OLS_ Folder                             2/22/2 akoslof   kaufm            o-
   URI00 s\sandi Privi        Email Fw:    012     f@bell   an@g             com\[G
   00102 hamm lege            Messa EMERGE 10:12:5 south.   mail.c           mail]\Im
36 41    ons_at d      same   ge    NCY    5 PM net>        om>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 33 of 295


         \Uri_K                                                                   \Uri_Ka
         aufma                                                                    ufman_a
         n_aol-                                                                   ol-
         gmail_                                                                   gmail_re
         respon                                                                   sponsive
         sive_it                                                                  _items.z
         ems.zi                                                                   ip\gmail
         p\gmai                                                                   _respon
         l_resp                                                                   sive_ite
         onsive                                                                   ms.pst\u
         _items                                                                   rikaufma
         .pst\ur                                                                  n_at_gm
         ikaufm                                                                   ail-
         an_at_                                                                   com[004
         gmail-                                                                   ].pst_file
         com[0                                                                    s\Top of
         04].pst                                                                  Personal
         _files\                                                                  Folders\
         Top of        Legal                          Uri                         sandiha
         Person        advice                         Kaufm     Alan              mmons_
         al            re           Fwd:              an<uri    Kosloff           at_yaho
   OLS_ Folder         replaci      English   2/23/2 kaufm      <akosl            o-
   URI00 s\sandi Privi ng LEP Email Station   012     an@g      off@k             com\[G
   00133 hamm lege Mark Messa Work            4:07:20 mail.co   osloff.           mail]\Se
37 71    ons_at d      Cassler ge   Plans     PM      m>        net>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 34 of 295


         \Uri_K                                                                  \Uri_Ka
         aufma                                                                   ufman_a
         n_aol-                                                                  ol-
         gmail_                                                                  gmail_re
         respon                                                                  sponsive
         sive_it                                                                 _items.z
         ems.zi                                                                  ip\gmail
         p\gmai                                                                  _respon
         l_resp                                                                  sive_ite
         onsive                                                                  ms.pst\u
         _items                                                                  rikaufma
         .pst\ur                                                                 n_at_gm
         ikaufm                                                                  ail-
         an_at_                                                                  com[002
         gmail-                                                                  ].pst_file
         com[0                                                                   s\Top of
         02].pst                                                                 Personal
         _files\                                                                 Folders\
         Top of                                                 Uri              sandiha
         Person                                                 Kaufm            mmons_
         al                         Re: Fwd:           AlanK<   an<uri           at_yaho
   OLS_ Folder                      English    2/23/2 akoslof   kaufm            o-
   URI00 s\sandi Privi        Email Station    012     f@bell   an@g             com\[G
   00102 hamm lege            Messa Work       4:24:56 south.   mail.c           mail]\Im
38 52    ons_at d      Same   ge    Plans      PM      net>     om>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 35 of 295


         \Uri_K                                                                  \Uri_Ka
         aufma                                                                   ufman_a
         n_aol-                                                                  ol-
         gmail_                                                                  gmail_re
         respon                                                                  sponsive
         sive_it                                                                 _items.z
         ems.zi                                                                  ip\gmail
         p\gmai                                                                  _respon
         l_resp                                                                  sive_ite
         onsive                                                                  ms.pst\u
         _items                                                                  rikaufma
         .pst\ur                                                                 n_at_gm
         ikaufm                                                                  ail-
         an_at_                                                                  com[004
         gmail-                                                                  ].pst_file
         com[0                                                                   s\Top of
         04].pst                                                                 Personal
         _files\                                                                 Folders\
         Top of                                      Uri                         sandiha
         Person                                      Kaufm                       mmons_
         al                         Re: Fwd:         an<uri    AlanK<            at_yaho
   OLS_ Folder                      English 2/23/2 kaufm       akoslo            o-
   URI00 s\sandi Privi        Email Station 012      an@g      ff@bel            com\[G
   00133 hamm lege            Messa Work     4:26:49 mail.co   lsouth.           mail]\Se
39 72    ons_at d      same   ge    Plans    PM      m>        net>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 36 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                                Uri              sandiha
         Person                                                Kaufm            mmons_
         al                         Re:               AlanK<   an<uri           at_yaho
   OLS_ Folder                      English   2/23/2 akoslof   kaufm            o-
   URI00 s\sandi Privi        Email Station   012     f@bell   an@g             com\[G
   00102 hamm lege            Messa Work      4:32:38 south.   mail.c           mail]\Im
40 53    ons_at d      same   ge    Plans     PM      net>     om>      False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 37 of 295


         \Uri_K                                                                     \Uri_Ka
         aufma                                                                      ufman_a
         n_aol-                                                                     ol-
         gmail_                                                                     gmail_re
         respon                                                                     sponsive
         sive_it                                                                    _items.z
         ems.zi                                                                     ip\gmail
         p\gmai                                                                     _respon
         l_resp                                                                     sive_ite
         onsive                                                                     ms.pst\u
         _items                                                                     rikaufma
         .pst\ur                                                                    n_at_gm
         ikaufm                                                                     ail-
         an_at_                                                                     com[002
         gmail-                                                                     ].pst_file
         com[0                                                                      s\Top of
         02].pst                                                                    Personal
         _files\                                                                    Folders\
         Top of                                                    Uri              sandiha
         Person                                                    Kaufm            mmons_
         al                      Email                    AlanK<   an<uri           at_yaho
   OLS_ Folder         Legal     Messa            2/25/2 akoslof   kaufm            o-
   URI00 s\sandi Privi Advice    ge[Att Fw: Eng   012     f@bell   an@g             com\[G
   00102 hamm lege re            achme Station    11:18:0 south.   mail.c           mail]\Im
41 67    ons_at d      permits   nts]   Report    9 AM net>        om>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 38 of 295


         \Uri_K                                                                   \Uri_Ka
         aufma                                                                    ufman_a
         n_aol-                                                                   ol-
         gmail_                                                                   gmail_re
         respon                                                                   sponsive
         sive_it                                                                  _items.z
         ems.zi                                                                   ip\gmail
         p\gmai                                                                   _respon
         l_resp                                                                   sive_ite
         onsive                                                                   ms.pst\u
         _items                                                                   rikaufma
         .pst\ur                                                                  n_at_gm
         ikaufm                                                                   ail-
         an_at_                                                                   com[002
         gmail-                                                                   ].pst_file
         com[0                                                                    s\Top of
         02].pst                                                                  Personal
         _files\                                                urikauf           Folders\
         Top of                                                 man@              sandiha
         Person                                       Alan      gmail.c           mmons_
         al            legal  Email                   Kosloff   om<ur             at_yaho
   OLS_ Folder         advice Messa           2/28/2 <alank     ikaufm            o-
   URI00 s\sandi Privi re     ge[Att Fw:      012     osloff    an@g              com\[G
   00102 hamm lege mediati achme Mediati      12:31:0 @gmai     mail.c            mail]\Im
42 77    ons_at d      on     nts]   on 3.5   1 PM l.com>       om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 39 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                                                Folders\
         Top of        legal                        Uri                         sandiha
         Person        advice                       Kaufm     Alan              mmons_
         al            re                           an<uri    Kosloff           at_yaho
   OLS_ Folder         replaci             2/28/2   kaufm     <akosl            o-
   URI00 s\sandi Privi ng LEP Email Re:    012      an@g      off@k             com\[G
   00102 hamm lege Mark Messa Mediati 12:34:5       mail.co   osloff.           mail]\Im
43 78    ons_at d      Cassler ge   on 3.5 9 PM     m>        net>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 40 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                              urikauf           Folders\
         Top of                                               man@              sandiha
         Person                                     Alan      gmail.c           mmons_
         al                                         Kosloff   om<ur             at_yaho
   OLS_ Folder                              2/28/2 <alank     ikaufm            o-
   URI00 s\sandi Privi        Email Re:     012     osloff    an@g              com\[G
   00102 hamm lege            Messa Mediati 12:50:2 @gmai     mail.c            mail]\Im
44 79    ons_at d      same   ge    on 3.5 0 PM l.com>        om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 41 of 295


         \Uri_K                                                                  \Uri_Ka
         aufma                                                                   ufman_a
         n_aol-                                                                  ol-
         gmail_                                                                  gmail_re
         respon                                                                  sponsive
         sive_it                                                                 _items.z
         ems.zi                                                                  ip\gmail
         p\gmai                                                                  _respon
         l_resp                                                                  sive_ite
         onsive                                                                  ms.pst\u
         _items                                                                  rikaufma
         .pst\ur                                                                 n_at_gm
         ikaufm                                                                  ail-
         an_at_                                                                  com[002
         gmail-                                                                  ].pst_file
         com[0                                                                   s\Top of
         02].pst                                                                 Personal
         _files\                                               urikauf           Folders\
         Top of                                                man@              sandiha
         Person                                      Alan      gmail.c           mmons_
         al            Legal Email                   Kosloff   om<ur             at_yaho
   OLS_ Folder         advice Messa          2/28/2 <alank     ikaufm            o-
   URI00 s\sandi Privi re     ge[Att Fw:     012     osloff    an@g              com\[G
   00102 hamm lege mediati achme Clarifica   1:18:15 @gmai     mail.c            mail]\Im
45 80    ons_at d      on     nts]   tion    PM      l.com>    om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 42 of 295


         \Uri_K                                                                   \Uri_Ka
         aufma                                                                    ufman_a
         n_aol-                                                                   ol-
         gmail_                                                                   gmail_re
         respon                                                                   sponsive
         sive_it                                                                  _items.z
         ems.zi                                                                   ip\gmail
         p\gmai                                                                   _respon
         l_resp                                                                   sive_ite
         onsive                                                                   ms.pst\u
         _items                                                                   rikaufma
         .pst\ur                                                                  n_at_gm
         ikaufm                                                                   ail-
         an_at_                                                                   com[002
         gmail-                                                                   ].pst_file
         com[0                                                                    s\Top of
         02].pst                                                                  Personal
         _files\                                                urikauf           Folders\
         Top of                                                 man@              sandiha
         Person                                       Alan      gmail.c           mmons_
         al                                           Kosloff   om<ur             at_yaho
   OLS_ Folder                                2/28/2 <alank     ikaufm            o-
   URI00 s\sandi Privi        Email Fw:       012     osloff    an@g              com\[G
   00102 hamm lege            Messa Clarifica 8:55:34 @gmai     mail.c            mail]\Im
46 89    ons_at d      same   ge    tion      PM      l.com>    om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 43 of 295


         \Uri_K                                                                   \Uri_Ka
         aufma                                                                    ufman_a
         n_aol-                                                                   ol-
         gmail_                                                                   gmail_re
         respon                                                                   sponsive
         sive_it                                                                  _items.z
         ems.zi                                                                   ip\gmail
         p\gmai                                                                   _respon
         l_resp                                                                   sive_ite
         onsive                                                                   ms.pst\u
         _items                                                                   rikaufma
         .pst\ur                                                                  n_at_gm
         ikaufm                                                                   ail-
         an_at_                                                                   com[002
         gmail-                                                                   ].pst_file
         com[0                                                                    s\Top of
         02].pst                                                                  Personal
         _files\                                                urikauf           Folders\
         Top of                                                 man@              sandiha
         Person                                       Alan      gmail.c           mmons_
         al                                           Kosloff   om<ur             at_yaho
   OLS_ Folder                                2/28/2 <alank     ikaufm            o-
   URI00 s\sandi Privi        Email Fw:       012     osloff    an@g              com\[G
   00102 hamm lege            Messa Clarifica 8:59:03 @gmai     mail.c            mail]\Im
47 90    ons_at d      same   ge    tion      PM      l.com>    om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 44 of 295


         \Uri_K                                                                     \Uri_Ka
         aufma                                                                      ufman_a
         n_aol-                                                                     ol-
         gmail_                                                                     gmail_re
         respon                                                                     sponsive
         sive_it                                                                    _items.z
         ems.zi                                                                     ip\gmail
         p\gmai                                                                     _respon
         l_resp                                                                     sive_ite
         onsive                                                                     ms.pst\u
         _items                                                                     rikaufma
         .pst\ur                                                                    n_at_gm
         ikaufm                                                                     ail-
         an_at_                                                                     com[002
         gmail-                                                                     ].pst_file
         com[0                                                                      s\Top of
         02].pst                                                                    Personal
         _files\                                                  urikauf           Folders\
         Top of                                                   man@              sandiha
         Person                                         Alan      gmail.c           mmons_
         al                                             Kosloff   om<ur             at_yaho
   OLS_ Folder         legal                  2/28/2    <alank    ikaufm            o-
   URI00 s\sandi Privi advice Email Fw:       012       osloff    an@g              com\[G
   00102 hamm lege re         Messa Clarifica 8:59:56   @gmai     mail.c            mail]\Im
48 91    ons_at d      DEEP ge      tion      PM        l.com>    om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 45 of 295


         \Uri_K                                                                       \Uri_Ka
         aufma                                                                        ufman_a
         n_aol-                                                                       ol-
         gmail_                                                                       gmail_re
         respon                                                                       sponsive
         sive_it                                                                      _items.z
         ems.zi                                                                       ip\gmail
         p\gmai                                                                       _respon
         l_resp                                                                       sive_ite
         onsive                                                                       ms.pst\u
         _items                                                                       rikaufma
         .pst\ur                                                                      n_at_gm
         ikaufm                                                                       ail-
         an_at_                                                                       com[002
         gmail-                                                                       ].pst_file
         com[0                                                                        s\Top of
         02].pst                                                                      Personal
         _files\                                                    urikauf           Folders\
         Top of                                                     man@              sandiha
         Person                                           Alan      gmail.c           mmons_
         al                           Fw:                 Kosloff   om<ur             at_yaho
   OLS_ Folder         legal          Fwd:        2/28/2 <alank     ikaufm            o-
   URI00 s\sandi Privi advice Email   FW:         012     osloff    an@g              com\[G
   00102 hamm lege strateg Messa      Clarifica   9:02:50 @gmai     mail.c            mail]\Im
49 93    ons_at d      y      ge      tion        PM      l.com>    om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 46 of 295


         \Uri_K                                                                   \Uri_Ka
         aufma                                                                    ufman_a
         n_aol-                                                                   ol-
         gmail_                                                                   gmail_re
         respon                                                                   sponsive
         sive_it                                                                  _items.z
         ems.zi                                                                   ip\gmail
         p\gmai                                                                   _respon
         l_resp                                                                   sive_ite
         onsive                                                                   ms.pst\u
         _items                                                                   rikaufma
         .pst\ur                                                                  n_at_gm
         ikaufm                                                                   ail-
         an_at_                                                                   com[004
         gmail-                                                                   ].pst_file
         com[0                                                                    s\Top of
         04].pst                                                                  Personal
         _files\                                                                  Folders\
         Top of                                       Uri                         sandiha
         Person                                       Kaufm     Alan              mmons_
         al            legal                          an<uri    Kosloff           at_yaho
   OLS_ Folder         advice                 2/28/2 kaufm      <akosl            o-
   URI00 s\sandi Privi re     Email Re: Fw:   012     an@g      off@k             com\[G
   00133 hamm lege strateg Messa Clarifica    10:10:1 mail.co   osloff.           mail]\Se
50 78    ons_at d      y      ge    tion      2 PM m>           net>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 47 of 295


         \Uri_K                                                                   \Uri_Ka
         aufma                                                                    ufman_a
         n_aol-                                                                   ol-
         gmail_                                                                   gmail_re
         respon                                                                   sponsive
         sive_it                                                                  _items.z
         ems.zi                                                                   ip\gmail
         p\gmai                                                                   _respon
         l_resp                                                                   sive_ite
         onsive                                                                   ms.pst\u
         _items                                                                   rikaufma
         .pst\ur                                                                  n_at_gm
         ikaufm                                                                   ail-
         an_at_                                                                   com[002
         gmail-                                                                   ].pst_file
         com[0                                                                    s\Top of
         02].pst                                                                  Personal
         _files\                                                urikauf           Folders\
         Top of                                                 man@              sandiha
         Person                                       Alan      gmail.c           mmons_
         al                                           Kosloff   om<ur             at_yaho
   OLS_ Folder                                2/29/2 <alank     ikaufm            o-
   URI00 s\sandi Privi        Email Re: Fw: 012       osloff    an@g              com\[G
   00102 hamm lege            Messa Clarifica 8:11:21 @gmai     mail.c            mail]\Im
51 97    ons_at d      same   ge    tion      AM      l.com>    om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 48 of 295


         \Uri_K                                                                   \Uri_Ka
         aufma                                                                    ufman_a
         n_aol-                                                                   ol-
         gmail_                                                                   gmail_re
         respon                                                                   sponsive
         sive_it                                                                  _items.z
         ems.zi                                                                   ip\gmail
         p\gmai                                                                   _respon
         l_resp                                                                   sive_ite
         onsive                                                                   ms.pst\u
         _items                                                                   rikaufma
         .pst\ur                                                                  n_at_gm
         ikaufm                                                                   ail-
         an_at_                                                                   com[004
         gmail-                                                                   ].pst_file
         com[0                                                                    s\Top of
         04].pst                                                                  Personal
         _files\                                                                  Folders\
         Top of                                       Uri                         sandiha
         Person                                       Kaufm     Alan              mmons_
         al                                           an<uri    Kosloff           at_yaho
   OLS_ Folder                                2/29/2 kaufm      <akosl            o-
   URI00 s\sandi Privi        Email Re: Fw: 012       an@g      off@k             com\[G
   00133 hamm lege            Messa Clarifica 8:22:48 mail.co   osloff.           mail]\Se
52 79    ons_at d      same   ge    tion      AM      m>        net>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 49 of 295


         \Uri_K                                                                      \Uri_Ka
         aufma                                                                       ufman_a
         n_aol-                                                                      ol-
         gmail_                                                                      gmail_re
         respon                                                                      sponsive
         sive_it                                                                     _items.z
         ems.zi                                                                      ip\gmail
         p\gmai                                                                      _respon
         l_resp                                                                      sive_ite
         onsive                                                                      ms.pst\u
         _items                                                                      rikaufma
         .pst\ur                                                                     n_at_gm
         ikaufm                                                                      ail-
         an_at_                                                                      com[004
         gmail-                                                                      ].pst_file
         com[0                                                                       s\Top of
         04].pst                                                                     Personal
         _files\                                                                     Folders\
         Top of                                          Uri                         sandiha
         Person                                          Kaufm     Alan              mmons_
         al                   Email                      an<uri    Kosloff           at_yaho
   OLS_ Folder                Messa              2/29/2 kaufm      <akosl            o-
   URI00 s\sandi Privi        ge[Att   Re:       012     an@g      off@k             com\[G
   00133 hamm lege            achme    Clarifica 2:42:14 mail.co   osloff.           mail]\Se
53 80    ons_at d      same   nts]     tion      PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 50 of 295


         \Uri_K                                                                         \Uri_Ka
         aufma                                                                          ufman_a
         n_aol-                                                                         ol-
         gmail_                                                                         gmail_re
         respon                                                                         sponsive
         sive_it                                                                        _items.z
         ems.zi                                                                         ip\gmail
         p\gmai                                                                         _respon
         l_resp                                                                         sive_ite
         onsive                                                                         ms.pst\u
         _items                                                                         rikaufma
         .pst\ur                                                                        n_at_gm
         ikaufm                                                                         ail-
         an_at_                                                                         com[002
         gmail-                                                                         ].pst_file
         com[0                                                                          s\Top of
         02].pst                                                                        Personal
         _files\                                                                        Folders\
         Top of                                                       'Uri              sandiha
         Person                         FW:                 Alan      Kaufm             mmons_
         al            legal   Email    English             Kosloff   an'<uri           at_yaho
   OLS_ Folder         advice Messa     Station -   2/29/2 <akosl     kaufm             o-
   URI00 s\sandi Privi re site ge[Att   Area        012     off@k     an@g              com\[G
   00102 hamm lege securit achme        Around      3:39:33 osloff.   mail.c            mail]\Im
54 99    ons_at d      y       nts]     EXT-13      PM      net>      om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 51 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                      Uri                        sandiha
         Person                     Re:              Kaufm    Alan              mmons_
         al                         English          an<uri   Kosloff           at_yaho
   OLS_ Folder                      Station - 2/29/2 kaufm    <akosl            o-
   URI00 s\sandi Privi        Email Area      012    an@g     off@k             com\[G
   00103 hamm lege            Messa Around 6:39:17 mail.co    osloff.           mail]\Im
55 02    ons_at d      same   ge    EXT-13 PM        m>       net>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 52 of 295


         \Uri_K                                                                     \Uri_Ka
         aufma                                                                      ufman_a
         n_aol-                                                                     ol-
         gmail_                                                                     gmail_re
         respon                                                                     sponsive
         sive_it                                                                    _items.z
         ems.zi                                                                     ip\gmail
         p\gmai                                                                     _respon
         l_resp                                                                     sive_ite
         onsive                                                                     ms.pst\u
         _items                                                                     rikaufma
         .pst\ur                                                                    n_at_gm
         ikaufm                                                                     ail-
         an_at_                                                                     com[002
         gmail-                                                                     ].pst_file
         com[0                                                                      s\Top of
         02].pst                                                                    Personal
         _files\                                                  urikauf           Folders\
         Top of                                                   man@              sandiha
         Person                     Re:                 Alan      gmail.c           mmons_
         al                         English             Kosloff   om<ur             at_yaho
   OLS_ Folder                      Station -   2/29/2 <alank     ikaufm            o-
   URI00 s\sandi Privi        Email Area        012     osloff    an@g              com\[G
   00103 hamm lege            Messa Around      8:09:21 @gmai     mail.c            mail]\Im
56 03    ons_at d      same   ge    EXT-13      PM      l.com>    om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 53 of 295


         \Uri_K                                                                     \Uri_Ka
         aufma                                                                      ufman_a
         n_aol-                                                                     ol-
         gmail_                                                                     gmail_re
         respon                                                                     sponsive
         sive_it                                                                    _items.z
         ems.zi                                                                     ip\gmail
         p\gmai                                                                     _respon
         l_resp                                                                     sive_ite
         onsive                                                                     ms.pst\u
         _items                                                                     rikaufma
         .pst\ur                                                                    n_at_gm
         ikaufm                                                                     ail-
         an_at_                                                                     com[004
         gmail-                                                                     ].pst_file
         com[0                                                                      s\Top of
         04].pst                                                                    Personal
         _files\                                                                    Folders\
         Top of                     Re: FW:             Uri                         sandiha
         Person                     English             Kaufm     Alan              mmons_
         al                         Station -           an<uri    Kosloff           at_yaho
   OLS_ Folder                      Placeme     3/2/20 kaufm      <akosl            o-
   URI00 s\sandi Privi        Email nt of       12      an@g      off@k             com\[G
   00133 hamm lege            Messa Barricad    12:44:5 mail.co   osloff.           mail]\Se
57 86    ons_at d      same   ge    es          1 PM m>           net>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 54 of 295


         \Uri_K                                                                     \Uri_Ka
         aufma                                                                      ufman_a
         n_aol-                                                                     ol-
         gmail_                                                                     gmail_re
         respon                                                                     sponsive
         sive_it                                                                    _items.z
         ems.zi                                                                     ip\gmail
         p\gmai                                                                     _respon
         l_resp                                                                     sive_ite
         onsive                                                                     ms.pst\u
         _items                                                                     rikaufma
         .pst\ur                                                                    n_at_gm
         ikaufm                                                                     ail-
         an_at_                                                                     com[002
         gmail-                                                                     ].pst_file
         com[0                                                                      s\Top of
         02].pst                                                                    Personal
         _files\                                                                    Folders\
         Top of                     RE: FW:                       'Uri              sandiha
         Person                     English             Alan      Kaufm             mmons_
         al                         Station -           Kosloff   an'<uri           at_yaho
   OLS_ Folder                      Placeme     3/2/20 <akosl     kaufm             o-
   URI00 s\sandi Privi        Email nt of       12      off@k     an@g              com\[G
   00103 hamm lege            Messa Barricad    1:50:31 osloff.   mail.c            mail]\Im
58 33    ons_at d      same   ge    es          PM      net>      om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 55 of 295


         \Uri_K                                                                     \Uri_Ka
         aufma                                                                      ufman_a
         n_aol-                                                                     ol-
         gmail_                                                                     gmail_re
         respon                                                                     sponsive
         sive_it                                                                    _items.z
         ems.zi                                                                     ip\gmail
         p\gmai                                                                     _respon
         l_resp                                                                     sive_ite
         onsive                                                                     ms.pst\u
         _items                                                                     rikaufma
         .pst\ur                                                                    n_at_gm
         ikaufm                                                                     ail-
         an_at_                                                                     com[002
         gmail-                                                                     ].pst_file
         com[0                                                                      s\Top of
         02].pst                                                                    Personal
         _files\                                                                    Folders\
         Top of                     Re:                 Uri                         sandiha
         Person                     English             Kaufm     Alan              mmons_
         al                         Station -           an<uri    Kosloff           at_yaho
   OLS_ Folder                      Placeme     3/2/20 kaufm      <akosl            o-
   URI00 s\sandi Privi        Email nt of       12      an@g      off@k             com\[G
   00103 hamm lege            Messa Barricad    2:04:52 mail.co   osloff.           mail]\Im
59 34    ons_at d      same   ge    es          PM      m>        net>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 56 of 295


         \Uri_K                                                                  \Uri_Ka
         aufma                                                                   ufman_a
         n_aol-                                                                  ol-
         gmail_                                                                  gmail_re
         respon                                                                  sponsive
         sive_it                                                                 _items.z
         ems.zi                                                                  ip\gmail
         p\gmai                                                                  _respon
         l_resp                                                                  sive_ite
         onsive                                                                  ms.pst\u
         _items                                                                  rikaufma
         .pst\ur                                                                 n_at_gm
         ikaufm                                                                  ail-
         an_at_                                                                  com[004
         gmail-                                                                  ].pst_file
         com[0                                                                   s\Top of
         04].pst                                                                 Personal
         _files\                                                 mshah           Folders\
         Top of                                        Uri       00001           sandiha
         Person                        38-             Kaufm     1@aol           mmons_
         al            legal           gmail_r         an<uri    .com<           at_yaho
   OLS_ Folder         advice          esponsiv 3/5/20 kaufm     mshah           o-
   URI00 s\sandi Privi re site Email   e_items- 12     an@g      00001           com\[G
   00133 hamm lege securit Messa       3934.ms 11:45:3 mail.co   1@aol           mail]\Se
60 87    ons_at d      y       ge      g        5 PM m>          .com>   False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 57 of 295


         \Uri_K                                                                \Uri_Ka
         aufma                                                                 ufman_a
         n_aol-                                                                ol-
         gmail_                                                                gmail_re
         respon                                                                sponsive
         sive_it                                                               _items.z
         ems.zi                                                                ip\gmail
         p\gmai                                                                _respon
         l_resp                                                                sive_ite
         onsive                                                                ms.pst\u
         _items                                                                rikaufma
         .pst\ur                                                               n_at_gm
         ikaufm                                                                ail-
         an_at_                                                                com[002
         gmail-                                                                ].pst_file
         com[0                                                                 s\Top of
         02].pst                                                               Personal
         _files\                                    Mshah    urikauf           Folders\
         Top of                                     00001    man@              sandiha
         Person                                     1@aol.   gmail.c           mmons_
         al                                         com<     om<ur             at_yaho
   OLS_ Folder                               3/6/20 Mshah    ikaufm            o-
   URI00 s\sandi Privi        Email          12     00001    an@g              com\[G
   00103 hamm lege            Messa Re: (no 7:27:11 1@aol.   mail.c            mail]\Im
61 47    ons_at d      same   ge    subject) AM     com>     om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 58 of 295


         \Uri_K                                                               \Uri_Ka
         aufma                                                                ufman_a
         n_aol-                                                               ol-
         gmail_                                                               gmail_re
         respon                                                               sponsive
         sive_it                                                              _items.z
         ems.zi                                                               ip\gmail
         p\gmai                                                               _respon
         l_resp                                                               sive_ite
         onsive                                                               ms.pst\u
         _items                                                               rikaufma
         .pst\ur                                                              n_at_gm
         ikaufm                                                               ail-
         an_at_                                                               com[004
         gmail-                                                               ].pst_file
         com[0                                                                s\Top of
         04].pst                                                              Personal
         _files\                                              Mshah           Folders\
         Top of                                     Uri       00001           sandiha
         Person                                     Kaufm     1@aol           mmons_
         al                                         an<uri    .com<           at_yaho
   OLS_ Folder                               3/6/20 kaufm     Mshah           o-
   URI00 s\sandi Privi        Email          12     an@g      00001           com\[G
   00133 hamm lege            Messa Re: (no 8:56:55 mail.co   1@aol           mail]\Se
62 88    ons_at d      same   ge    subject) AM     m>        .com>   False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 59 of 295


         \Uri_K                                                                      \Uri_Ka
         aufma                                                                       ufman_a
         n_aol-                                                                      ol-
         gmail_                                                                      gmail_re
         respon                                                                      sponsive
         sive_it                                                                     _items.z
         ems.zi                                                                      ip\gmail
         p\gmai                                                                      _respon
         l_resp                                                                      sive_ite
         onsive                                                                      ms.pst\u
         _items                                                                      rikaufma
         .pst\ur                                                                     n_at_gm
         ikaufm                                                                      ail-
         an_at_                                                                      com[002
         gmail-                                                                      ].pst_file
         com[0                                                                       s\Top of
         02].pst                                                                     Personal
         _files\                                                   urikauf           Folders\
         Top of                                                    man@              sandiha
         Person                                          Alan      gmail.c           mmons_
         al                     Email                    Kosloff   om<ur             at_yaho
   OLS_ Folder         legal    Messa            3/7/20 <alank     ikaufm            o-
   URI00 s\sandi Privi advice   ge[Att Fw: 3.5   12      osloff    an@g              com\[G
   00103 hamm lege re           achme mediati    10:43:4 @gmai     mail.c            mail]\Im
63 49    ons_at d      status   nts]   on        9 AM l.com>       om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 60 of 295


         \Uri_K                                                                    \Uri_Ka
         aufma                                                                     ufman_a
         n_aol-                                                                    ol-
         gmail_                                                                    gmail_re
         respon                                                                    sponsive
         sive_it                                                                   _items.z
         ems.zi                                                                    ip\gmail
         p\gmai                                                                    _respon
         l_resp                                                                    sive_ite
         onsive                                                                    ms.pst\u
         _items                                                                    rikaufma
         .pst\ur                                                                   n_at_gm
         ikaufm                                                                    ail-
         an_at_                                                                    com[004
         gmail-                                                                    ].pst_file
         com[0                                                                     s\Top of
         04].pst                                                                   Personal
         _files\                                                                   Folders\
         Top of                                        Uri                         sandiha
         Person                                        Kaufm     Alan              mmons_
         al                   Email                    an<uri    Kosloff           at_yaho
   OLS_ Folder                Messa    Re: Fw: 3/7/20 kaufm      <akosl            o-
   URI00 s\sandi Privi        ge[Att   3.5     12      an@g      off@k             com\[G
   00133 hamm lege            achme    mediati 10:47:4 mail.co   osloff.           mail]\Se
64 89    ons_at d      same   nts]     on      0 AM m>           net>      False   nt Mail
          Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 61 of 295


         \Uri_K                                                                           \Uri_Ka
         aufma                                                                            ufman_a
         n_aol-                                                                           ol-
         gmail_                                                                           gmail_re
         respon                                                                           sponsive
         sive_it                                                                          _items.z
         ems.zi                                                                           ip\gmail
         p\gmai                                                                           _respon
         l_resp                                                                           sive_ite
         onsive                                                                           ms.pst\u
         _items                                             Mshah                         rikaufma
         .pst\ur                                            00001                         n_at_gm
         ikaufm                                             1@aol                         ail-
         an_at_                                             .com<    urikaufm             com[002
         gmail-                                             Mshah    an@gmai              ].pst_file
         com[0                                              00001    l.com<uri            s\Top of
         02].pst                                            1@aol    kaufman              Personal
         _files\                                            .com>;   @gmail.c             Folders\
         Top of                                             Geoqu    om>;                 sandiha
         Person                                   Alan      est@s    hsrfinanc            mmons_
         al                                       Kosloff   net.ne   ial@gmai             at_yaho
   OLS_ Folder         legal              3/9/20 <akosl     t<Geo    l.com<hs             o-
   URI00 s\sandi Privi advice Email RE:   12      off@k     quest    rfinancial           com\[G
   00103 hamm lege re site Messa Grand    3:13:46 osloff.   @snet    @gmail.c             mail]\Im
65 59    ons_at d      access ge    Ave   PM      net>      .net>    om>          False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 62 of 295


         \Uri_K                                                                              \Uri_Ka
         aufma                                                                               ufman_a
         n_aol-                                                                              ol-
         gmail_                                                                              gmail_re
         respon                                                                              sponsive
         sive_it                                                                             _items.z
         ems.zi                                                                              ip\gmail
         p\gmai                                                                              _respon
         l_resp                                                                              sive_ite
         onsive                                                                              ms.pst\u
         _items                                                                              rikaufma
         .pst\ur                                                                             n_at_gm
         ikaufm                                                                              ail-
         an_at_                                                                              com[002
         gmail-                                                                              ].pst_file
         com[0                                                                               s\Top of
         02].pst                                                                             Personal
         _files\                                                                             Folders\
         Top of                                                'Uri                          sandiha
         Person                                      Alan      Kaufm     'Marc               mmons_
         al                         PCB              Kosloff   an'<uri   Casslar'<           at_yaho
   OLS_ Folder         legal        Guidanc 3/14/2   <akosl    kaufm     mcasslar            o-
   URI00 s\sandi Privi advice Email e        012     off@k     an@g      @geoqu              com\[G
   00103 hamm lege re EPA Messa Reinterp 1:04:19     osloff.   mail.c    estinc.co           mail]\Im
66 70    ons_at d      rules  ge    retation PM      net>      om>       m>          False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 63 of 295


         \Uri_K                                                                              \Uri_Ka
         aufma                                                                               ufman_a
         n_aol-                                                                              ol-
         gmail_                                                                              gmail_re
         respon                                                                              sponsive
         sive_it                                                                             _items.z
         ems.zi                                                                              ip\gmail
         p\gmai                                                                              _respon
         l_resp                                                                              sive_ite
         onsive                                                                              ms.pst\u
         _items                                                                              rikaufma
         .pst\ur                                                                             n_at_gm
         ikaufm                                                                              ail-
         an_at_                                                                              com[004
         gmail-                                                                              ].pst_file
         com[0                                                                               s\Top of
         04].pst                                                                             Personal
         _files\                                                                             Folders\
         Top of                                      Uri                                     sandiha
         Person                                      Kaufm     Alan      Marc                mmons_
         al                         Re: PCB          an<uri    Kosloff   Casslar<            at_yaho
   OLS_ Folder                      Guidanc 3/14/2 kaufm       <akosl    mcasslar            o-
   URI00 s\sandi Privi        Email e        012     an@g      off@k     @geoqu              com\[G
   00133 hamm lege            Messa Reinterp 1:55:36 mail.co   osloff.   estinc.co           mail]\Se
67 93    ons_at d      same   ge    retation PM      m>        net>      m>          False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 64 of 295


         \Uri_K                                                                     \Uri_Ka
         aufma                                                                      ufman_a
         n_aol-                                                                     ol-
         gmail_                                                                     gmail_re
         respon                                                                     sponsive
         sive_it                                                                    _items.z
         ems.zi                                                                     ip\gmail
         p\gmai                                                                     _respon
         l_resp                                                                     sive_ite
         onsive                                                                     ms.pst\u
         _items                                                                     rikaufma
         .pst\ur                                                                    n_at_gm
         ikaufm                                                                     ail-
         an_at_                                                                     com[002
         gmail-                                                                     ].pst_file
         com[0                                                                      s\Top of
         02].pst                                                                    Personal
         _files\                                                                    Folders\
         Top of                                                   'Uri              sandiha
         Person        legal                            Alan      Kaufm             mmons_
         al            advice Email                     Kosloff   an'<uri           at_yaho
   OLS_ Folder         re site Messa            3/28/2 <akosl     kaufm             o-
   URI00 s\sandi Privi charact ge[Att FW:       012     off@k     an@g              com\[G
   00104 hamm lege erizatio achme English       10:53:4 osloff.   mail.c            mail]\Im
68 08    ons_at d      n       nts]   Station   5 AM net>         om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 65 of 295


         \Uri_K                                                                    \Uri_Ka
         aufma                                                                     ufman_a
         n_aol-                                                                    ol-
         gmail_                                                                    gmail_re
         respon                                                                    sponsive
         sive_it                                                                   _items.z
         ems.zi                                                                    ip\gmail
         p\gmai                                                                    _respon
         l_resp                                                                    sive_ite
         onsive                                                                    ms.pst\u
         _items                                                                    rikaufma
         .pst\ur                                                                   n_at_gm
         ikaufm                                                  USA               ail-
         an_at_                                                  Harmo             com[004
         gmail-                                                  ny<usa            ].pst_file
         com[0                                                   harmo             s\Top of
         04].pst                                                 ny@g              Personal
         _files\                                                 mail.c            Folders\
         Top of                                        Uri       om>;              sandiha
         Person                                        Kaufm     Howi              mmons_
         al                   Email                    an<uri    ro<hsr            at_yaho
   OLS_ Folder                Messa    Fwd:    3/28/2 kaufm      financi           o-
   URI00 s\sandi Privi        ge[Att   FW:     012     an@g      al@gm             com\[G
   00134 hamm lege            achme    English 7:30:43 mail.co   ail.co            mail]\Se
69 03    ons_at d      same   nts]     Station PM      m>        m>        False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 66 of 295


         \Uri_K                                                                             \Uri_Ka
         aufma                                                                              ufman_a
         n_aol-                                                                             ol-
         gmail_                                                                             gmail_re
         respon                                                                             sponsive
         sive_it                                                                            _items.z
         ems.zi                                                                             ip\gmail
         p\gmai                                                                             _respon
         l_resp                                                                             sive_ite
         onsive                                                                             ms.pst\u
         _items                                                                             rikaufma
         .pst\ur                                                                            n_at_gm
         ikaufm                                                                             ail-
         an_at_                                                                             com[004
         gmail-                                                                             ].pst_file
         com[0                                                          USA                 s\Top of
         04].pst                                                        Harmony             Personal
         _files\                                                        <usahar             Folders\
         Top of                                     Uri                 mony@g              sandiha
         Person                                     Kaufm     Alan      mail.com            mmons_
         al                                         an<uri    Kosloff   >; Howi             at_yaho
   OLS_ Folder                              3/28/2 kaufm      <akosl    ro<hsrfin           o-
   URI00 s\sandi Privi        Email Re: FW: 012     an@g      off@k     ancial@g            com\[G
   00134 hamm lege            Messa English 7:32:48 mail.co   osloff.   mail.com            mail]\Se
70 04    ons_at d      same   ge    Station PM      m>        net>      >           False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 67 of 295


         \Uri_K                                                                             \Uri_Ka
         aufma                                                                              ufman_a
         n_aol-                                                                             ol-
         gmail_                                                                             gmail_re
         respon                                                                             sponsive
         sive_it                                                                            _items.z
         ems.zi                                                                             ip\gmail
         p\gmai                                                                             _respon
         l_resp                                                                             sive_ite
         onsive                                                                             ms.pst\u
         _items                                                                             rikaufma
         .pst\ur                                                                            n_at_gm
         ikaufm                                                                             ail-
         an_at_                                                                             com[004
         gmail-                                                                             ].pst_file
         com[0                                                          USA                 s\Top of
         04].pst                                                        Harmony             Personal
         _files\                                                        <usahar             Folders\
         Top of                                     Uri                 mony@g              sandiha
         Person                                     Kaufm     Alan      mail.com            mmons_
         al                                         an<uri    Kosloff   >; Howi             at_yaho
   OLS_ Folder                              3/28/2 kaufm      <akosl    ro<hsrfin           o-
   URI00 s\sandi Privi        Email Re: FW: 012     an@g      off@k     ancial@g            com\[G
   00134 hamm lege            Messa English 7:36:03 mail.co   osloff.   mail.com            mail]\Se
71 05    ons_at d      same   ge    Station PM      m>        net>      >           False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 68 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                               'Uri              sandiha
         Person                                     Alan      Kaufm             mmons_
         al                                         Kosloff   an'<uri           at_yaho
   OLS_ Folder                              3/29/2 <akosl     kaufm             o-
   URI00 s\sandi Privi        Email RE: FW: 012     off@k     an@g              com\[G
   00104 hamm lege            Messa English 11:33:0 osloff.   mail.c            mail]\Im
72 09    ons_at d      same   ge    Station 8 AM net>         om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 69 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                     Uri                         sandiha
         Person                                     Kaufm     Alan              mmons_
         al                                         an<uri    Kosloff           at_yaho
   OLS_ Folder                              3/29/2 kaufm      <akosl            o-
   URI00 s\sandi Privi        Email Re:     012     an@g      off@k             com\[G
   00104 hamm lege            Messa English 11:41:1 mail.co   osloff.           mail]\Im
73 10    ons_at d      same   ge    Station 4 AM m>           net>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 70 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                               'Uri              sandiha
         Person                                     Alan      Kaufm             mmons_
         al                                         Kosloff   an'<uri           at_yaho
   OLS_ Folder                              3/29/2 <akosl     kaufm             o-
   URI00 s\sandi Privi        Email RE: FW: 012     off@k     an@g              com\[G
   00104 hamm lege            Messa English 12:04:2 osloff.   mail.c            mail]\Im
74 11    ons_at d      same   ge    Station 8 PM net>         om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 71 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                     Uri                         sandiha
         Person                                     Kaufm     Alan              mmons_
         al                                         an<uri    Kosloff           at_yaho
   OLS_ Folder                              3/29/2 kaufm      <akosl            o-
   URI00 s\sandi Privi        Email Re:     012     an@g      off@k             com\[G
   00104 hamm lege            Messa English 12:14:3 mail.co   osloff.           mail]\Im
75 12    ons_at d      same   ge    Station 7 PM m>           net>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 72 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                               'Uri              sandiha
         Person                                     Alan      Kaufm             mmons_
         al                                         Kosloff   an'<uri           at_yaho
   OLS_ Folder                              3/29/2 <akosl     kaufm             o-
   URI00 s\sandi Privi        Email RE:     012     off@k     an@g              com\[G
   00104 hamm lege            Messa English 12:33:2 osloff.   mail.c            mail]\Im
76 13    ons_at d      same   ge    Station 2 PM net>         om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 73 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                               'Uri              sandiha
         Person                                     Alan      Kaufm             mmons_
         al                                         Kosloff   an'<uri           at_yaho
   OLS_ Folder                              3/29/2 <akosl     kaufm             o-
   URI00 s\sandi Privi        Email RE:     012     off@k     an@g              com\[G
   00104 hamm lege            Messa English 12:34:3 osloff.   mail.c            mail]\Im
77 14    ons_at d      same   ge    Station 3 PM net>         om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 74 of 295


         \Uri_K                                                                        \Uri_Ka
         aufma                                                                         ufman_a
         n_aol-                                                                        ol-
         gmail_                                                                        gmail_re
         respon                                                                        sponsive
         sive_it                                                                       _items.z
         ems.zi                                                                        ip\gmail
         p\gmai                                                                        _respon
         l_resp                                                                        sive_ite
         onsive                                                                        ms.pst\u
         _items                                                                        rikaufma
         .pst\ur                                                                       n_at_gm
         ikaufm                                                                        ail-
         an_at_                                                                        com[002
         gmail-                                                                        ].pst_file
         com[0                                                                         s\Top of
         02].pst                                                                       Personal
         _files\                                                                       Folders\
         Top of                        Fwd:                Uri       Alan              sandiha
         Person                        English             Kaufm     M.                mmons_
         al                   Email    Station -           an<uri    Kosloff           at_yaho
   OLS_ Folder                Messa    Analysis    3/29/2 kaufm      <akosl            o-
   URI00 s\sandi Privi        ge[Att   of Mary     012     an@g      off@k             com\[G
   00104 hamm lege            achme    Lenehan     7:44:20 mail.co   osloff.           mail]\Im
78 18    ons_at d      same   nts]     Email       PM      m>        net>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 75 of 295


         \Uri_K                                                                     \Uri_Ka
         aufma                                                                      ufman_a
         n_aol-                                                                     ol-
         gmail_                                                                     gmail_re
         respon                                                                     sponsive
         sive_it                                                                    _items.z
         ems.zi                                                                     ip\gmail
         p\gmai                                                                     _respon
         l_resp                                                                     sive_ite
         onsive                                                                     ms.pst\u
         _items                                                                     rikaufma
         .pst\ur                                                                    n_at_gm
         ikaufm                                                                     ail-
         an_at_                                                                     com[002
         gmail-                                                                     ].pst_file
         com[0                                                                      s\Top of
         02].pst                                                                    Personal
         _files\                                                                    Folders\
         Top of                     RE:                           'Uri              sandiha
         Person                     English             Alan      Kaufm             mmons_
         al                         Station -           Kosloff   an'<uri           at_yaho
   OLS_ Folder                      Analysis    3/30/2 <akosl     kaufm             o-
   URI00 s\sandi Privi        Email of Mary     012     off@k     an@g              com\[G
   00104 hamm lege            Messa Lenehan     10:39:4 osloff.   mail.c            mail]\Im
79 19    ons_at d      same   ge    Email       6 AM net>         om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 76 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[004
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         04].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                     Uri                         sandiha
         Person                                     Kaufm     Alan              mmons_
         al                                         an<uri    Kosloff           at_yaho
   OLS_ Folder                              4/4/20 kaufm      <akosl            o-
   URI00 s\sandi Privi        Email Re:     12      an@g      off@k             com\[G
   00134 hamm lege            Messa English 11:03:0 mail.co   osloff.           mail]\Se
80 13    ons_at d      same   ge    Station 6 AM m>           net>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 77 of 295


         \Uri_K                                                                    \Uri_Ka
         aufma                                                                     ufman_a
         n_aol-                                                                    ol-
         gmail_                                                                    gmail_re
         respon                                                                    sponsive
         sive_it                                                                   _items.z
         ems.zi                                                                    ip\gmail
         p\gmai                                                                    _respon
         l_resp                                                                    sive_ite
         onsive                                                                    ms.pst\u
         _items                                                                    rikaufma
         .pst\ur                                                                   n_at_gm
         ikaufm                                                                    ail-
         an_at_                                                                    com[002
         gmail-                                                                    ].pst_file
         com[0                                                                     s\Top of
         02].pst                                                                   Personal
         _files\                                                                   Folders\
         Top of                                                  'Uri              sandiha
         Person                                        Alan      Kaufm             mmons_
         al                   Email                    Kosloff   an'<uri           at_yaho
   OLS_ Folder                Messa            4/4/20 <akosl     kaufm             o-
   URI00 s\sandi Privi        ge[Att FW:       12      off@k     an@g              com\[G
   00104 hamm lege            achme English    11:05:2 osloff.   mail.c            mail]\Im
81 31    ons_at d      same   nts]   Station   2 AM net>         om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 78 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                               'Uri              sandiha
         Person                                     Alan      Kaufm             mmons_
         al                                         Kosloff   an'<uri           at_yaho
   OLS_ Folder                              4/4/20 <akosl     kaufm             o-
   URI00 s\sandi Privi        Email FW:     12      off@k     an@g              com\[G
   00104 hamm lege            Messa English 11:25:3 osloff.   mail.c            mail]\Im
82 32    ons_at d      same   ge    Station 5 AM net>         om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 79 of 295


         \Uri_K                                                                   \Uri_Ka
         aufma                                                                    ufman_a
         n_aol-                                                                   ol-
         gmail_                                                                   gmail_re
         respon                                                                   sponsive
         sive_it                                                                  _items.z
         ems.zi                                                                   ip\gmail
         p\gmai                                                                   _respon
         l_resp                                                                   sive_ite
         onsive                                                                   ms.pst\u
         _items                                                                   rikaufma
         .pst\ur                                                                  n_at_gm
         ikaufm                                                                   ail-
         an_at_                                                                   com[002
         gmail-                                                                   ].pst_file
         com[0                                                                    s\Top of
         02].pst                                                                  Personal
         _files\                                                                  Folders\
         Top of                                                  Uri              sandiha
         Person                                        Alan      Kaufm            mmons_
         al                   Email                    Kosloff   an<uri           at_yaho
   OLS_ Folder                Messa    FW:     4/16/2 <akosl     kaufm            o-
   URI00 s\sandi Privi        ge[Att   Revised 012     off@k     an@g             com\[G
   00104 hamm lege            achme    work    2:19:26 osloff.   mail.c           mail]\Im
83 53    ons_at d      same   nts]     scope   PM      net>      om>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 80 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[002
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         02].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                     Uri                         sandiha
         Person                                     Kaufm     Alan              mmons_
         al                                         an<uri    Kosloff           at_yaho
   OLS_ Folder                      Re:     4/16/2 kaufm      <akosl            o-
   URI00 s\sandi Privi        Email Revised 012     an@g      off@k             com\[G
   00104 hamm lege            Messa work    2:24:38 mail.co   osloff.           mail]\Im
84 54    ons_at d      same   ge    scope   PM      m>        net>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 81 of 295


         \Uri_K                                                                   \Uri_Ka
         aufma                                                                    ufman_a
         n_aol-                                                                   ol-
         gmail_                                                                   gmail_re
         respon                                                                   sponsive
         sive_it                                                                  _items.z
         ems.zi                                                                   ip\gmail
         p\gmai                                                                   _respon
         l_resp                                                                   sive_ite
         onsive                                                                   ms.pst\u
         _items                                                                   rikaufma
         .pst\ur                                                                  n_at_gm
         ikaufm                                                                   ail-
         an_at_                                                                   com[002
         gmail-                                                                   ].pst_file
         com[0                                                                    s\Top of
         02].pst                                                                  Personal
         _files\                                                                  Folders\
         Top of                                                 'Uri              sandiha
         Person                                       Alan      Kaufm             mmons_
         al            Legal                          Kosloff   an'<uri           at_yaho
   OLS_ Folder         Advice                 4/25/2 <akosl     kaufm             o-
   URI00 s\sandi Privi re site Email          012     off@k     an@g              com\[G
   00104 hamm lege securit Messa RE:          11:51:0 osloff.   mail.c            mail]\Im
85 76    ons_at d      y       ge    Access   4 AM net>         om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 82 of 295


         \Uri_K                                                                    \Uri_Ka
         aufma                                                                     ufman_a
         n_aol-                                                                    ol-
         gmail_                                                                    gmail_re
         respon                                                                    sponsive
         sive_it                                                                   _items.z
         ems.zi                                                                    ip\gmail
         p\gmai                                                                    _respon
         l_resp                                                                    sive_ite
         onsive                                                                    ms.pst\u
         _items                                                                    rikaufma
         .pst\ur                                                                   n_at_gm
         ikaufm                                                                    ail-
         an_at_                                                                    com[004
         gmail-                                                                    ].pst_file
         com[0                                                                     s\Top of
         04].pst                                                                   Personal
         _files\                                                                   Folders\
         Top of                                        Uri                         sandiha
         Person        legal           Fwd:            Kaufm     Alan              mmons_
         al            advice          Any             an<uri    Kosloff           at_yaho
   OLS_ Folder         re site         Progress 4/26/2 kaufm     <akosl            o-
   URI00 s\sandi Privi charact Email   on       012    an@g      off@k             com\[G
   00134 hamm lege erizatio Messa      English 9:06:05 mail.co   osloff.           mail]\Se
86 43    ons_at d      n       ge      Station? AM     m>        net>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 83 of 295


         \Uri_K                                                                        \Uri_Ka
         aufma                                                                         ufman_a
         n_aol-                                                                        ol-
         gmail_                                                                        gmail_re
         respon                                                                        sponsive
         sive_it                                                                       _items.z
         ems.zi                                                                        ip\gmail
         p\gmai                                                                        _respon
         l_resp                                                                        sive_ite
         onsive                                                                        ms.pst\u
         _items                                                                        rikaufma
         .pst\ur                                                                       n_at_gm
         ikaufm                                                                        ail-
         an_at_                                                                        com[002
         gmail-                                                                        ].pst_file
         com[0                         Fw:                                             s\Top of
         02].pst                       English                                         Personal
         _files\                       Station -                     urikauf           Folders\
         Top of                        Propose                       man@              sandiha
         Person                        d                   Alan      gmail.c           mmons_
         al            legal           Security            Kosloff   om<ur             at_yaho
   OLS_ Folder         advice          Docume      4/27/2 <alank     ikaufm            o-
   URI00 s\sandi Privi re site Email   ntation     012     osloff    an@g              com\[G
   00104 hamm lege securit Messa       Video       1:18:17 @gmai     mail.c            mail]\Im
87 92    ons_at d      y       ge      Plan        PM      l.com>    om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 84 of 295


         \Uri_K                                                                     \Uri_Ka
         aufma                                                                      ufman_a
         n_aol-                                                                     ol-
         gmail_                                                                     gmail_re
         respon                                                                     sponsive
         sive_it                                                                    _items.z
         ems.zi                                                                     ip\gmail
         p\gmai                                                                     _respon
         l_resp                                                                     sive_ite
         onsive                                                                     ms.pst\u
         _items                                                                     rikaufma
         .pst\ur                                                                    n_at_gm
         ikaufm                                                                     ail-
         an_at_                                                                     com[002
         gmail-                                                                     ].pst_file
         com[0                      Re:                                             s\Top of
         02].pst                    English                                         Personal
         _files\                    Station -                                       Folders\
         Top of                     Propose             Uri                         sandiha
         Person                     d                   Kaufm     Alan              mmons_
         al                         Security            an<uri    Kosloff           at_yaho
   OLS_ Folder                      Docume      4/27/2 kaufm      <akosl            o-
   URI00 s\sandi Privi        Email ntation     012     an@g      off@k             com\[G
   00104 hamm lege            Messa Video       1:20:38 mail.co   osloff.           mail]\Im
88 93    ons_at d      same   ge    Plan        PM      m>        net>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 85 of 295


         \Uri_K                                                                     \Uri_Ka
         aufma                                                                      ufman_a
         n_aol-                                                                     ol-
         gmail_                                                                     gmail_re
         respon                                                                     sponsive
         sive_it                                                                    _items.z
         ems.zi                                                                     ip\gmail
         p\gmai                                                                     _respon
         l_resp                                                                     sive_ite
         onsive                                                                     ms.pst\u
         _items                                                                     rikaufma
         .pst\ur                                                                    n_at_gm
         ikaufm                                                                     ail-
         an_at_                                                                     com[002
         gmail-                                                                     ].pst_file
         com[0                      Re:                                             s\Top of
         02].pst                    English                                         Personal
         _files\                    Station -                     urikauf           Folders\
         Top of                     Propose                       man@              sandiha
         Person                     d                   Alan      gmail.c           mmons_
         al                         Security            Kosloff   om<ur             at_yaho
   OLS_ Folder                      Docume      4/27/2 <alank     ikaufm            o-
   URI00 s\sandi Privi        Email ntation     012     osloff    an@g              com\[G
   00104 hamm lege            Messa Video       1:42:59 @gmai     mail.c            mail]\Im
89 95    ons_at d      same   ge    Plan        PM      l.com>    om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 86 of 295


         \Uri_K                                                                 \Uri_Ka
         aufma                                                                  ufman_a
         n_aol-                                                                 ol-
         gmail_                                                                 gmail_re
         respon                                                                 sponsive
         sive_it                                                                _items.z
         ems.zi                                                                 ip\gmail
         p\gmai                                                                 _respon
         l_resp                                                                 sive_ite
         onsive                                                                 ms.pst\u
         _items                                                                 rikaufma
         .pst\ur                                                                n_at_gm
         ikaufm                                                                 ail-
         an_at_                                                                 com[004
         gmail-                                                                 ].pst_file
         com[0                                                                  s\Top of
         04].pst                                                                Personal
         _files\                                                                Folders\
         Top of                                      Uri                        sandiha
         Person                     Fwd:             Kaufm    Alan              mmons_
         al                         English          an<uri   Kosloff           at_yaho
   OLS_ Folder                      Station - 5/1/20 kaufm    <akosl            o-
   URI00 s\sandi Privi        Email Video     12     an@g     off@k             com\[G
   00134 hamm lege            Messa Docume 1:46:54 mail.co    osloff.           mail]\Se
90 52    ons_at d      same   ge    ntation PM       m>       net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 87 of 295


         \Uri_K                                                               \Uri_Ka
         aufma                                                                ufman_a
         n_aol-                                                               ol-
         gmail_                                                               gmail_re
         respon                                                               sponsive
         sive_it                                                              _items.z
         ems.zi                                                               ip\gmail
         p\gmai                                                               _respon
         l_resp                                                               sive_ite
         onsive                                                               ms.pst\u
         _items                                                               rikaufma
         .pst\ur                                                              n_at_gm
         ikaufm                                                               ail-
         an_at_                                                               com[004
         gmail-                                                               ].pst_file
         com[0                                                                s\Top of
         04].pst                                                              Personal
         _files\                                                              Folders\
         Top of                                   Uri                         sandiha
         Person                                   Kaufm     Alan              mmons_
         al                                       an<uri    Kosloff           at_yaho
   OLS_ Folder                  Fwd:      5/2/20 kaufm      <akosl            o-
   URI00 s\sandi Privi    Email English 12        an@g      off@k             com\[G
   00134 hamm lege        Messa Station - 1:40:13 mail.co   osloff.           mail]\Se
91 54    ons_at d         ge    Access PM         m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 88 of 295


         \Uri_K                                                                    \Uri_Ka
         aufma                                                                     ufman_a
         n_aol-                                                                    ol-
         gmail_                                                                    gmail_re
         respon                                                                    sponsive
         sive_it                                                                   _items.z
         ems.zi                                                                    ip\gmail
         p\gmai                                                                    _respon
         l_resp                                                                    sive_ite
         onsive                                                                    ms.pst\u
         _items                                                                    rikaufma
         .pst\ur                                                                   n_at_gm
         ikaufm                                                                    ail-
         an_at_                                                                    com[004
         gmail-                                                                    ].pst_file
         com[0                                                                     s\Top of
         04].pst                   Fwd:                                            Personal
         _files\                   English                                         Folders\
         Top of                    Station -           Uri                         sandiha
         Person                    Results             Kaufm     Alan              mmons_
         al               Email    of                  an<uri    Kosloff           at_yaho
   OLS_ Folder            Messa    March 7     5/2/20 kaufm      <akosl            o-
   URI00 s\sandi Privi    ge[Att   2012        12      an@g      off@k             com\[G
   00134 hamm lege        achme    Samplin     4:04:53 mail.co   osloff.           mail]\Se
92 58    ons_at d         nts]     g           PM      m>        net>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 89 of 295


         \Uri_K                                                                    \Uri_Ka
         aufma                                                                     ufman_a
         n_aol-                                                                    ol-
         gmail_                                                                    gmail_re
         respon                                                                    sponsive
         sive_it                                                                   _items.z
         ems.zi                                                                    ip\gmail
         p\gmai                                                                    _respon
         l_resp                                                                    sive_ite
         onsive                                                                    ms.pst\u
         _items                                                                    rikaufma
         .pst\ur                                                                   n_at_gm
         ikaufm                                                                    ail-
         an_at_                                                                    com[004
         gmail-                                                                    ].pst_file
         com[0                                                                     s\Top of
         04].pst                                                                   Personal
         _files\                                                                   Folders\
         Top of                                        Uri                         sandiha
         Person        legal                           Kaufm     Alan              mmons_
         al            advice                          an<uri    Kosloff           at_yaho
   OLS_ Folder         re site                 5/2/20 kaufm      <akosl            o-
   URI00 s\sandi Privi charact Email Fwd:      12      an@g      off@k             com\[G
   00134 hamm lege erizatio Messa English      4:05:41 mail.co   osloff.           mail]\Se
93 59    ons_at d      n       ge    Station   PM      m>        net>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 90 of 295


         \Uri_K                                                                   \Uri_Ka
         aufma                                                                    ufman_a
         n_aol-                                                                   ol-
         gmail_                                                                   gmail_re
         respon                                                                   sponsive
         sive_it                                                                  _items.z
         ems.zi                                                                   ip\gmail
         p\gmai                                                                   _respon
         l_resp                                                                   sive_ite
         onsive                                                                   ms.pst\u
         _items                                                                   rikaufma
         .pst\ur                                                                  n_at_gm
         ikaufm                                                                   ail-
         an_at_                                                                   com[004
         gmail-                                                                   ].pst_file
         com[0                                                                    s\Top of
         04].pst                                                                  Personal
         _files\                                                                  Folders\
         Top of                                       Uri                         sandiha
         Person        legal                          Kaufm     Alan              mmons_
         al            commu                          an<uri    Kosloff           at_yaho
   OLS_ Folder         nicatio         Fwd:    5/2/20 kaufm     <akosl            o-
   URI00 s\sandi Privi n re    Email   DEEP    12     an@g      off@k             com\[G
   00134 hamm lege DEEP's Messa        Taking 4:08:41 mail.co   osloff.           mail]\Se
94 60    ons_at d      actions ge      Samples PM     m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 91 of 295


         \Uri_K                                                                  \Uri_Ka
         aufma                                                                   ufman_a
         n_aol-                                                                  ol-
         gmail_                                                                  gmail_re
         respon                                                                  sponsive
         sive_it                                                                 _items.z
         ems.zi                                                                  ip\gmail
         p\gmai                                                                  _respon
         l_resp                                                                  sive_ite
         onsive                                                                  ms.pst\u
         _items                                                                  rikaufma
         .pst\ur                                                                 n_at_gm
         ikaufm                                                                  ail-
         an_at_                                                                  com[004
         gmail-                                                                  ].pst_file
         com[0                                                                   s\Top of
         04].pst       legal                                                     Personal
         _files\       commu                                                     Folders\
         Top of        nicatio                       Uri                         sandiha
         Person        n re                          Kaufm     Alan              mmons_
         al            relation                      an<uri    Kosloff           at_yaho
   OLS_ Folder         ship                  5/2/20 kaufm      <akosl            o-
   URI00 s\sandi Privi with     Email        12      an@g      off@k             com\[G
   00134 hamm lege Grant Messa               4:16:46 mail.co   osloff.           mail]\Se
95 61    ons_at d      McKay ge       Fwd:   PM      m>        net>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 92 of 295


         \Uri_K                                                               \Uri_Ka
         aufma                                                                ufman_a
         n_aol-                                                               ol-
         gmail_                                                               gmail_re
         respon                                                               sponsive
         sive_it                                                              _items.z
         ems.zi                                                               ip\gmail
         p\gmai                                                               _respon
         l_resp                                                               sive_ite
         onsive                                                               ms.pst\u
         _items                                                               rikaufma
         .pst\ur                                                              n_at_gm
         ikaufm                                                               ail-
         an_at_                                                               com[002
         gmail-                                                               ].pst_file
         com[0                                                                s\Top of
         02].pst                                                              Personal
         _files\                                                              Folders\
         Top of                                             'Uri              sandiha
         Person                                   Alan      Kaufm             mmons_
         al                                       Kosloff   an'<uri           at_yaho
   OLS_ Folder                            5/2/20 <akosl     kaufm             o-
   URI00 s\sandi Privi        Email       12      off@k     an@g              com\[G
   00105 hamm lege            Messa       4:20:46 osloff.   mail.c            mail]\Im
96 13    ons_at d      same   ge    RE:   PM      net>      om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 93 of 295


         \Uri_K                                                                     \Uri_Ka
         aufma                                                                      ufman_a
         n_aol-                                                                     ol-
         gmail_                                                                     gmail_re
         respon                                                                     sponsive
         sive_it                                                                    _items.z
         ems.zi                                                                     ip\gmail
         p\gmai                                                                     _respon
         l_resp                                                                     sive_ite
         onsive                                                                     ms.pst\u
         _items                                                                     rikaufma
         .pst\ur                                                                    n_at_gm
         ikaufm                                                                     ail-
         an_at_                                                                     com[004
         gmail-                                                                     ].pst_file
         com[0                                                                      s\Top of
         04].pst                                                                    Personal
         _files\       legal                                                        Folders\
         Top of        commu                            Uri                         sandiha
         Person        nicatio                          Kaufm     Alan              mmons_
         al            n re                             an<uri    Kosloff           at_yaho
   OLS_ Folder         site                     5/2/20 kaufm      <akosl            o-
   URI00 s\sandi Privi charact Email Fwd:       12      an@g      off@k             com\[G
   00134 hamm lege erizatio Messa (no           4:24:19 mail.co   osloff.           mail]\Se
97 62    ons_at d      n       ge    subject)   PM      m>        net>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 94 of 295


         \Uri_K                                                                  \Uri_Ka
         aufma                                                                   ufman_a
         n_aol-                                                                  ol-
         gmail_                                                                  gmail_re
         respon                                                                  sponsive
         sive_it                                                                 _items.z
         ems.zi                                                                  ip\gmail
         p\gmai                                                                  _respon
         l_resp                                                                  sive_ite
         onsive                                                                  ms.pst\u
         _items                                                                  rikaufma
         .pst\ur                                                                 n_at_gm
         ikaufm                                                                  ail-
         an_at_                                                                  com[004
         gmail-                                                                  ].pst_file
         com[0                                                                   s\Top of
         04].pst                                                                 Personal
         _files\                                                                 Folders\
         Top of                                      Uri                         sandiha
         Person                                      Kaufm     Alan              mmons_
         al                                          an<uri    Kosloff           at_yaho
   OLS_ Folder                               5/2/20 kaufm      <akosl            o-
   URI00 s\sandi Privi        Email Fwd:     12      an@g      off@k             com\[G
   00134 hamm lege            Messa (no      4:24:52 mail.co   osloff.           mail]\Se
98 63    ons_at d      same   ge    subject) PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 95 of 295


         \Uri_K                                                               \Uri_Ka
         aufma                                                                ufman_a
         n_aol-                                                               ol-
         gmail_                                                               gmail_re
         respon                                                               sponsive
         sive_it                                                              _items.z
         ems.zi                                                               ip\gmail
         p\gmai                                                               _respon
         l_resp                                                               sive_ite
         onsive                                                               ms.pst\u
         _items                                                               rikaufma
         .pst\ur                                                              n_at_gm
         ikaufm                                                               ail-
         an_at_                                                               com[004
         gmail-                                                               ].pst_file
         com[0                                                                s\Top of
         04].pst                                                              Personal
         _files\                                                              Folders\
         Top of                                 Uri                           sandiha
         Person                                 Kaufm     Alan                mmons_
         al                                     an<uri    Kosloff             at_yaho
   OLS_ Folder                          5/2/20 kaufm      <akosl              o-
   URI00 s\sandi Privi    Email Fwd:    12      an@g      off@k               com\[G
   00134 hamm lege        Messa Capping 4:25:11 mail.co   osloff.             mail]\Se
99 64    ons_at d         ge    PCB's   PM      m>        net>        False   nt Mail
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 96 of 295


          \Uri_K                                                                     \Uri_Ka
          aufma                                                                      ufman_a
          n_aol-                                                                     ol-
          gmail_                                                                     gmail_re
          respon                                                                     sponsive
          sive_it                                                                    _items.z
          ems.zi                                                                     ip\gmail
          p\gmai                                                                     _respon
          l_resp                                                                     sive_ite
          onsive                                                                     ms.pst\u
          _items                                                                     rikaufma
          .pst\ur                                                                    n_at_gm
          ikaufm                                                                     ail-
          an_at_                                                                     com[004
          gmail-                                                                     ].pst_file
          com[0                                                                      s\Top of
          04].pst                                                                    Personal
          _files\                                                                    Folders\
          Top of                                         Uri                         sandiha
          Person        legal                            Kaufm     Alan              mmons_
          al            advice                           an<uri    Kosloff           at_yaho
    OLS_ Folder         re site                  5/2/20 kaufm      <akosl            o-
    URI00 s\sandi Privi charact Email Fwd:       12      an@g      off@k             com\[G
    00134 hamm lege erizatio Messa (no           4:25:29 mail.co   osloff.           mail]\Se
100 65    ons_at d      n       ge    subject)   PM      m>        net>      False   nt Mail
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 97 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                                    ail-
          an_at_                                                                    com[004
          gmail-                                                                    ].pst_file
          com[0                                                                     s\Top of
          04].pst       legal                                                       Personal
          _files\       advice                                                      Folders\
          Top of        re                              Uri                         sandiha
          Person        strateg                         Kaufm     Alan              mmons_
          al            y for                           an<uri    Kosloff           at_yaho
    OLS_ Folder         dealing                 5/2/20 kaufm      <akosl            o-
    URI00 s\sandi Privi with    Email Fwd:      12      an@g      off@k             com\[G
    00134 hamm lege EPA & Messa English         4:25:58 mail.co   osloff.           mail]\Se
101 66    ons_at d      DEEP. ge      Station   PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 98 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[004
          gmail-                                                                   ].pst_file
          com[0                                                                    s\Top of
          04].pst                                                                  Personal
          _files\                                                                  Folders\
          Top of                                       Uri                         sandiha
          Person        legal                          Kaufm     Alan              mmons_
          al            advice                         an<uri    Kosloff           at_yaho
    OLS_ Folder         re                     5/2/20 kaufm      <akosl            o-
    URI00 s\sandi Privi status Email Fwd:      12      an@g      off@k             com\[G
    00134 hamm lege of         Messa English   4:27:43 mail.co   osloff.           mail]\Se
102 68    ons_at d      matter ge    Station   PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 99 of 295


          \Uri_K                                                                 \Uri_Ka
          aufma                                                                  ufman_a
          n_aol-                                                                 ol-
          gmail_                                                                 gmail_re
          respon                                                                 sponsive
          sive_it                                                                _items.z
          ems.zi                                                                 ip\gmail
          p\gmai                                                                 _respon
          l_resp                                                                 sive_ite
          onsive                                                                 ms.pst\u
          _items                                                                 rikaufma
          .pst\ur                                                                n_at_gm
          ikaufm                                                                 ail-
          an_at_                                                                 com[004
          gmail-                                                                 ].pst_file
          com[0                                                                  s\Top of
          04].pst                                                                Personal
          _files\                                                                Folders\
          Top of                                     Uri                         sandiha
          Person                                     Kaufm     Alan              mmons_
          al                         Fwd:            an<uri    Kosloff           at_yaho
    OLS_ Folder                      Old     5/2/20 kaufm      <akosl            o-
    URI00 s\sandi Privi        Email English 12      an@g      off@k             com\[G
    00134 hamm lege            Messa Schedul 4:28:17 mail.co   osloff.           mail]\Se
103 69    ons_at d      same   ge    e       PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 100 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                                    ail-
          an_at_                                                                    com[004
          gmail-                                                                    ].pst_file
          com[0                                                                     s\Top of
          04].pst                                                                   Personal
          _files\                                                                   Folders\
          Top of                                        Uri                         sandiha
          Person        legal           Fwd:            Kaufm     Alan              mmons_
          al            advice          FW: 510         an<uri    Kosloff           at_yaho
    OLS_ Folder         re site         Grand 5/2/20 kaufm        <akosl            o-
    URI00 s\sandi Privi charact Email   Ave.    12      an@g      off@k             com\[G
    00134 hamm lege erizatio Messa      New     4:29:38 mail.co   osloff.           mail]\Se
104 70    ons_at d      n       ge      Haven PM        m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 101 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[004
          gmail-                                                                   ].pst_file
          com[0                                                                    s\Top of
          04].pst                                                                  Personal
          _files\                                                                  Folders\
          Top of                                       Uri                         sandiha
          Person                                       Kaufm     Alan              mmons_
          al                                           an<uri    Kosloff           at_yaho
    OLS_ Folder                      Fwd:      5/2/20 kaufm      <akosl            o-
    URI00 s\sandi Privi        Email English   12      an@g      off@k             com\[G
    00134 hamm lege            Messa station   4:29:56 mail.co   osloff.           mail]\Se
105 71    ons_at d      same   ge    PCB's     PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 102 of 295


          \Uri_K                                                                     \Uri_Ka
          aufma                                                                      ufman_a
          n_aol-                                                                     ol-
          gmail_                                                                     gmail_re
          respon                                                                     sponsive
          sive_it                                                                    _items.z
          ems.zi                                                                     ip\gmail
          p\gmai                                                                     _respon
          l_resp                                                                     sive_ite
          onsive                                                                     ms.pst\u
          _items                                                                     rikaufma
          .pst\ur                                                                    n_at_gm
          ikaufm                                                                     ail-
          an_at_                                                                     com[004
          gmail-                                                                     ].pst_file
          com[0                      Fwd:                                            s\Top of
          04].pst                    English                                         Personal
          _files\                    Station -                                       Folders\
          Top of                     Action              Uri                         sandiha
          Person                     Items               Kaufm     Alan              mmons_
          al                         from                an<uri    Kosloff           at_yaho
    OLS_ Folder                      Convers     5/2/20 kaufm      <akosl            o-
    URI00 s\sandi Privi        Email ation       12      an@g      off@k             com\[G
    00134 hamm lege            Messa with the    4:30:29 mail.co   osloff.           mail]\Se
106 72    ons_at d      same   ge    CTDEEP      PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 103 of 295


          \Uri_K                                                                     \Uri_Ka
          aufma                                                                      ufman_a
          n_aol-                                                                     ol-
          gmail_                                                                     gmail_re
          respon                                                                     sponsive
          sive_it                                                                    _items.z
          ems.zi                                                                     ip\gmail
          p\gmai                                                                     _respon
          l_resp                                                                     sive_ite
          onsive                                                                     ms.pst\u
          _items                                                                     rikaufma
          .pst\ur                                                                    n_at_gm
          ikaufm                                                                     ail-
          an_at_                                                                     com[004
          gmail-                                                                     ].pst_file
          com[0                                                                      s\Top of
          04].pst                                                                    Personal
          _files\                    Fwd:                                            Folders\
          Top of                     English             Uri                         sandiha
          Person                     Station -           Kaufm     Alan              mmons_
          al                         Phone               an<uri    Kosloff           at_yaho
    OLS_ Folder                      Convers     5/2/20 kaufm      <akosl            o-
    URI00 s\sandi Privi        Email ation       12      an@g      off@k             com\[G
    00134 hamm lege            Messa Confirm     4:30:44 mail.co   osloff.           mail]\Se
107 73    ons_at d      same   ge    ation       PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 104 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                                  gmail_re
          respon                                                                  sponsive
          sive_it                                                                 _items.z
          ems.zi                                                                  ip\gmail
          p\gmai                                                                  _respon
          l_resp                                                                  sive_ite
          onsive                                                                  ms.pst\u
          _items                                                                  rikaufma
          .pst\ur                                                                 n_at_gm
          ikaufm                                                                  ail-
          an_at_                                                                  com[004
          gmail-                                                                  ].pst_file
          com[0                                                                   s\Top of
          04].pst                                                                 Personal
          _files\                                                                 Folders\
          Top of                                      Uri                         sandiha
          Person                                      Kaufm     Alan              mmons_
          al                         Fwd:             an<uri    Kosloff           at_yaho
    OLS_ Folder                      English 5/2/20 kaufm       <akosl            o-
    URI00 s\sandi Privi        Email Station 12       an@g      off@k             com\[G
    00134 hamm lege            Messa Interior 4:31:39 mail.co   osloff.           mail]\Se
108 74    ons_at d      same   ge    Survey PM        m>        net>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 105 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[004
          gmail-                                                                   ].pst_file
          com[0                                                                    s\Top of
          04].pst                                                                  Personal
          _files\       legal                                                      Folders\
          Top of        advice                         Uri                         sandiha
          Person        re                             Kaufm     Alan              mmons_
          al            actions      Fwd: Re:          an<uri    Kosloff           at_yaho
    OLS_ Folder         taken        Old      5/2/20   kaufm     <akosl            o-
    URI00 s\sandi Privi on the Email English 12        an@g      off@k             com\[G
    00134 hamm lege site by Messa Schedul 4:36:20      mail.co   osloff.           mail]\Se
109 76    ons_at d      GM      ge   e        PM       m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 106 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[002
          gmail-                                                                   ].pst_file
          com[0                                                                    s\Top of
          02].pst                                                                  Personal
          _files\                                                                  Folders\
          Top of                     FW: FW:                      Uri              sandiha
          Person                     GeoQue             Alan      Kaufm            mmons_
          al                         st                 Kosloff   an<uri           at_yaho
    OLS_ Folder                      Invoices   5/7/20 <akosl     kaufm            o-
    URI00 s\sandi Privi        Email for PCB    12      off@k     an@g             com\[G
    00105 hamm lege            Messa Related    4:23:58 osloff.   mail.c           mail]\Im
110 24    ons_at d      same   ge    Testing    PM      net>      om>      False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 107 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                                    ail-
          an_at_                                                                    com[004
          gmail-                                                                    ].pst_file
          com[0                                                                     s\Top of
          04].pst                                                                   Personal
          _files\                    Re: FW:                                        Folders\
          Top of                     FW:                Uri                         sandiha
          Person                     GeoQue             Kaufm     Alan              mmons_
          al                         st                 an<uri    Kosloff           at_yaho
    OLS_ Folder                      Invoices   5/7/20 kaufm      <akosl            o-
    URI00 s\sandi Privi        Email for PCB    12      an@g      off@k             com\[G
    00134 hamm lege            Messa Related    4:43:19 mail.co   osloff.           mail]\Se
111 81    ons_at d      same   ge    Testing    PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 108 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                                    ail-
          an_at_                                                                    com[002
          gmail-                                                                    ].pst_file
          com[0                                                                     s\Top of
          02].pst                                                                   Personal
          _files\                    Re: FW:                      urikauf           Folders\
          Top of                     FW:                          man@              sandiha
          Person                     GeoQue             Alan      gmail.c           mmons_
          al                         st                 Kosloff   om<ur             at_yaho
    OLS_ Folder                      Invoices   5/7/20 <alank     ikaufm            o-
    URI00 s\sandi Privi        Email for PCB    12      osloff    an@g              com\[G
    00105 hamm lege            Messa Related    4:59:12 @gmai     mail.c            mail]\Im
112 26    ons_at d      same   ge    Testing    PM      l.com>    om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 109 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[002
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          02].pst                                                             Personal
          _files\               FW: FW:                                       Folders\
          Top of                FW:                          Uri              sandiha
          Person                GeoQue             Alan      Kaufm            mmons_
          al                    st                 Kosloff   an<uri           at_yaho
    OLS_ Folder                 Invoices   5/9/20 <akosl     kaufm            o-
    URI00 s\sandi Privi   Email for PCB    12      off@k     an@g             com\[G
    00105 hamm lege       Messa Related    10:39:1 osloff.   mail.c           mail]\Im
113 30    ons_at d        ge    Testing    0 AM net>         om>      False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 110 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[004
          gmail-                                                               ].pst_file
          com[0                                                                s\Top of
          04].pst                                                              Personal
          _files\               Re: FW:                                        Folders\
          Top of                FW: FW:            Uri                         sandiha
          Person                GeoQue             Kaufm     Alan              mmons_
          al                    st                 an<uri    Kosloff           at_yaho
    OLS_ Folder                 Invoices   5/9/20 kaufm      <akosl            o-
    URI00 s\sandi Privi   Email for PCB    12      an@g      off@k             com\[G
    00134 hamm lege       Messa Related    10:43:1 mail.co   osloff.           mail]\Se
114 84    ons_at d        ge    Testing    8 AM m>           net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 111 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[002
          gmail-                                                               ].pst_file
          com[0                                                                s\Top of
          02].pst                                                              Personal
          _files\               RE: FW:                                        Folders\
          Top of                FW: FW:                      'Uri              sandiha
          Person                GeoQue             Alan      Kaufm             mmons_
          al                    st                 Kosloff   an'<uri           at_yaho
    OLS_ Folder                 Invoices   5/9/20 <akosl     kaufm             o-
    URI00 s\sandi Privi   Email for PCB    12      off@k     an@g              com\[G
    00105 hamm lege       Messa Related    10:54:5 osloff.   mail.c            mail]\Im
115 31    ons_at d        ge    Testing    0 AM net>         om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 112 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[002
          gmail-                                                                   ].pst_file
          com[0                    FW:                                             s\Top of
          02].pst                  English                                         Personal
          _files\                  Station -                                       Folders\
          Top of                   Equipm                        'Uri              sandiha
          Person                   ent                 Alan      Kaufm             mmons_
          al              Email    Samplin             Kosloff   an'<uri           at_yaho
    OLS_ Folder           Messa    g-          5/9/20 <akosl     kaufm             o-
    URI00 s\sandi Privi   ge[Att   Deconta     12      off@k     an@g              com\[G
    00105 hamm lege       achme    minatio     3:52:55 osloff.   mail.c            mail]\Im
116 35    ons_at d        nts]     n Plan      PM      net>      om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 113 of 295


          \Uri_K                                                                           \Uri_Ka
          aufma                                                                            ufman_a
          n_aol-                                                                           ol-
          gmail_                                                                           gmail_re
          respon                                                                           sponsive
          sive_it                                                                          _items.z
          ems.zi                                                                           ip\gmail
          p\gmai                                                                           _respon
          l_resp                                                                           sive_ite
          onsive                                                                           ms.pst\u
          _items                                                                           rikaufma
          .pst\ur                                                                          n_at_gm
          ikaufm                                                                           ail-
          an_at_                                                                           com[002
          gmail-                                                                           ].pst_file
          com[0                                                                            s\Top of
          02].pst                                                                          Personal
          _files\                                                                          Folders\
          Top of                                                                           sandiha
          Person                                    Alan      'Mary'    'Uri               mmons_
          al              Email                     Kosloff   <mmc      Kaufman'           at_yaho
    OLS_ Folder           Messa             5/11/2 <akosl     queen     <urikauf           o-
    URI00 s\sandi Privi   ge[Att            012     off@k     ey@ko     man@g              com\[G
    00105 hamm lege       achme FW: PCB     10:41:3 osloff.   sloff.n   mail.com           mail]\Im
117 41    ons_at d        nts]   Synopsis   3 AM net>         et>       >          False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 114 of 295


          \Uri_K                                                                      \Uri_Ka
          aufma                                                                       ufman_a
          n_aol-                                                                      ol-
          gmail_                                                                      gmail_re
          respon                                                                      sponsive
          sive_it                                                                     _items.z
          ems.zi                                                                      ip\gmail
          p\gmai                                                                      _respon
          l_resp                                                                      sive_ite
          onsive                                                                      ms.pst\u
          _items                                                                      rikaufma
          .pst\ur                                                                     n_at_gm
          ikaufm                                                                      ail-
          an_at_                                                                      com[004
          gmail-                                                        USA           ].pst_file
          com[0                                                         Harmo         s\Top of
          04].pst                                                       ny<usa        Personal
          _files\                                                       harmo         Folders\
          Top of                                    Uri                 ny@gm         sandiha
          Person                                    Kaufm     Alan      ail.com       mmons_
          al              Email                     an<uri    Kosloff   >; Howi       at_yaho
    OLS_ Folder           Messa             5/11/2 kaufm      <akosl    ro<hsrfi      o-
    URI00 s\sandi Privi   ge[Att   Fwd:     012     an@g      off@k     nancial       com\[G
    00134 hamm lege       achme    PCB      1:56:15 mail.co   osloff.   @gmail        mail]\Se
118 90    ons_at d        nts]     Synopsis PM      m>        net>      .com> False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 115 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[002
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          02].pst                                                               Personal
          _files\                                                               Folders\
          Top of                Fwd:                Uri       Alan              sandiha
          Person                English             Kaufm     M.                mmons_
          al                    Station -           an<uri    Kosloff           at_yaho
    OLS_ Folder                 Green       5/17/2 kaufm      <akosl            o-
    URI00 s\sandi Privi   Email Contain     012     an@g      off@k             com\[G
    00105 hamm lege       Messa er on       6:12:17 mail.co   osloff.           mail]\Im
119 57    ons_at d        ge    the site    PM      m>        net>      False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 116 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[004
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          04].pst                                                               Personal
          _files\                                                               Folders\
          Top of                Fwd:                Uri                         sandiha
          Person                English             Kaufm     Alan              mmons_
          al                    Station -           an<uri    Kosloff           at_yaho
    OLS_ Folder                 Green       5/17/2 kaufm      <akosl            o-
    URI00 s\sandi Privi   Email Contain     012     an@g      off@k             com\[G
    00134 hamm lege       Messa er on       6:38:52 mail.co   osloff.           mail]\Se
120 95    ons_at d        ge    the site    PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 117 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[002
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          02].pst                                                               Personal
          _files\                                             urikauf           Folders\
          Top of                Re:                           man@              sandiha
          Person                English             Alan      gmail.c           mmons_
          al                    Station -           Kosloff   om<ur             at_yaho
    OLS_ Folder                 Green       5/17/2 <alank     ikaufm            o-
    URI00 s\sandi Privi   Email Contain     012     osloff    an@g              com\[G
    00105 hamm lege       Messa er on       8:06:54 @gmai     mail.c            mail]\Im
121 59    ons_at d        ge    the site    PM      l.com>    om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 118 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[004
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          04].pst                                                               Personal
          _files\                                                               Folders\
          Top of                Re:                 Uri                         sandiha
          Person                English             Kaufm     Alan              mmons_
          al                    Station -           an<uri    Kosloff           at_yaho
    OLS_ Folder                 Green       5/17/2 kaufm      <akosl            o-
    URI00 s\sandi Privi   Email Contain     012     an@g      off@k             com\[G
    00134 hamm lege       Messa er on       8:07:59 mail.co   osloff.           mail]\Se
122 96    ons_at d        ge    the site    PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 119 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[002
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          02].pst                                                               Personal
          _files\                                             urikauf           Folders\
          Top of                Re:                           man@              sandiha
          Person                English             Alan      gmail.c           mmons_
          al                    Station -           Kosloff   om<ur             at_yaho
    OLS_ Folder                 Green       5/17/2 <alank     ikaufm            o-
    URI00 s\sandi Privi   Email Contain     012     osloff    an@g              com\[G
    00105 hamm lege       Messa er on       8:19:15 @gmai     mail.c            mail]\Im
123 60    ons_at d        ge    the site    PM      l.com>    om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 120 of 295


          \Uri_K                                                                             \Uri_Ka
          aufma                                                                              ufman_a
          n_aol-                                                                             ol-
          gmail_                                                                             gmail_re
          respon                                                                             sponsive
          sive_it                                                                            _items.z
          ems.zi                                                                             ip\gmail
          p\gmai                                                                             _respon
          l_resp                                                                             sive_ite
          onsive                                                                             ms.pst\u
          _items                                                                             rikaufma
          .pst\ur                                                                            n_at_gm
          ikaufm                                                                             ail-
          an_at_                                                                             com[004
          gmail-                                                                             ].pst_file
          com[0                                                                              s\Top of
          04].pst                                                                            Personal
          _files\                                                                            Folders\
          Top of                               Uri                           USA             sandiha
          Person                Motion         Kaufm     Alan      mshah00   Harmo           mmons_
          al                    for            an<uri    Kosloff   0011@a    ny<usa          at_yaho
    OLS_ Folder                 Summar 5/20/2 kaufm      <akosl    ol.com<   harmo           o-
    URI00 s\sandi Privi   Email y      012     an@g      off@k     mshah00   ny@gm           com\[G
    00134 hamm lege       Messa Judgme 9:45:44 mail.co   osloff.   0011@a    ail.com         mail]\Se
124 98    ons_at d        ge    nt     AM      m>        net>      ol.com>   >       False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 121 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[002
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          02].pst                                                             Personal
          _files\                                          urikauf            Folders\
          Top of                Re:                        man@               sandiha
          Person                Motion           Alan      gmail.c            mmons_
          al                    for              Kosloff   om<ur              at_yaho
    OLS_ Folder                 Summar   5/20/2 <alank     ikaufm             o-
    URI00 s\sandi Privi   Email y        012     osloff    an@g               com\[G
    00105 hamm lege       Messa Judgme   9:56:25 @gmai     mail.c             mail]\Im
125 61    ons_at d        ge    nt       AM      l.com>    om>        False   portant
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 122 of 295


            \Uri_K                                                                                   \Uri_Ka
            aufma                                                                                    ufman_a
            n_aol-                                                                                   ol-
            gmail_                                                                                   gmail_re
            respon                                                                                   sponsive
            sive_it                                                                                  _items.z
            ems.zi                                                                                   ip\gmail
            p\gmai                                                                                   _respon
            l_resp                                                                                   sive_ite
            onsive                                                                                   ms.pst\u
            _items                                                                                   rikaufma
            .pst\ur          This                                                                    n_at_gm
            ikaufm           motion                                                                  ail-
            an_at_           relates                                                                 com[004
            gmail-           to the                                                                  ].pst_file
            com[0            matter                                                                  s\Top of
            04].pst          Evergre                                                                 Personal
            _files\          en                                                                      Folders\
            Top of           Power,       Fwd:              Uri       USA                            sandiha
            Person           et al. v.    Motion            Kaufm     Harmo                          mmons_
            al               United       for               an<uri    ny<usa                         at_yaho
    OLS_    Folder           Illumin      Summar 5/20/2     kaufm     harmo                          o-
    URI00   s\sandi    Privi ation Email y       012        an@g      ny@g                           com\[G
    00134   hamm       lege Compa Messa Judgme 9:57:19      mail.co   mail.c                         mail]\Se
126 99      ons_at     d     ny        ge nt     AM         m>        om>                    False   nt Mail
            \Uri_K                                                                                   \Uri_Ka
            aufma                                                                                    ufman_a
            n_aol-                                                                                   ol-
            gmail_                                                                                   gmail_re
            respon                                                                                   sponsive
            sive_it                                                                                  _items.z
            ems.zi                                                                                   ip\aol_r
            p\aol_                                                                                   esponsiv
            respon           legal                                              Alan                 e_items.
            sive_it          advice                                             Kosloff              pst\msh
            ems.ps           re                                                 (akosloff            ah00001
            t\msha           possibl                                            @kosloff.            1_at_aol-
            h0000            e                                                  net)<ako             com.pst
            11_at_           future                                             sloff@ko             _files\To
            aol-             uses of                                            sloff.net>           p of
            com.ps           the site                       Uri                 ;                    Personal
            t_files\         in light                       Kaufm     Insall,   mshah00              Folders\
            Top of           of            Re:              an<uri    John<J    0011@a               mshah0
    OLS_    Person           environ       English 5/21/2   kaufm     ohn.In    ol.com<              00011_a
    URI00   al         Privi mental Email Station 012       an@g      sall@s    mshah00              t_-
    00014   Folder     lege regulati Messa Summar 4:02:26   mail.co   tantec.   0011@a               com\INB
127 74      s\msh      d     ons      ge   y       PM       m>        com>      ol.com>      False   OX
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 123 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[004
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          04].pst                                                             Personal
          _files\                                                             Folders\
          Top of                                 Uri      USA                 sandiha
          Person                 Fwd:            Kaufm    Harmo               mmons_
          al              Email English          an<uri   ny<usa              at_yaho
    OLS_ Folder           Messa Station - 5/24/2 kaufm    harmo               o-
    URI00 s\sandi Privi   ge[Att Invoices 012    an@g     ny@g                com\[G
    00135 hamm lege       achme /Breakd 9:50:46 mail.co   mail.c              mail]\Se
128 04    ons_at d        nts]   own      AM     m>       om>         False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 124 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[004
          gmail-                                                               ].pst_file
          com[0                                                                s\Top of
          04].pst                                                              Personal
          _files\                                                              Folders\
          Top of                                   Uri                         sandiha
          Person                                   Kaufm     Alan              mmons_
          al              Email    Fwd:            an<uri    Kosloff           at_yaho
    OLS_ Folder           Messa    Request 5/30/2 kaufm      <akosl            o-
    URI00 s\sandi Privi   ge[Att   for     012     an@g      off@k             com\[G
    00135 hamm lege       achme    Confere 9:19:30 mail.co   osloff.           mail]\Se
129 11    ons_at d        nts]     nce     PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 125 of 295


          \Uri_K                                                                         \Uri_Ka
          aufma                                                                          ufman_a
          n_aol-                                                                         ol-
          gmail_                                                                         gmail_re
          respon                                                                         sponsive
          sive_it                                                                        _items.z
          ems.zi                                                                         ip\gmail
          p\gmai                                                                         _respon
          l_resp                                                                         sive_ite
          onsive                                                                         ms.pst\u
          _items                                                                         rikaufma
          .pst\ur                                                                        n_at_gm
          ikaufm                                                                         ail-
          an_at_                                                                         com[004
          gmail-                                                                         ].pst_file
          com[0                                                     USA                  s\Top of
          04].pst                                                   Harmony              Personal
          _files\                                                   <usahar              Folders\
          Top of                                Uri                 mony@g               sandiha
          Person                                Kaufm     Alan      mail.com             mmons_
          al                                    an<uri    Kosloff   >; Insall,           at_yaho
    OLS_ Folder                         6/4/20 kaufm      <akosl    John<joh             o-
    URI00 s\sandi Privi   Email         12      an@g      off@k     n.insall@            com\[G
    00135 hamm lege       Messa         11:07:2 mail.co   osloff.   stantec.c            mail]\Se
130 20    ons_at d        ge    Cassler 0 AM m>           net>      om>          False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 126 of 295


          \Uri_K                                                                            \Uri_Ka
          aufma                                                                             ufman_a
          n_aol-                                                                            ol-
          gmail_                                                                            gmail_re
          respon                                                                            sponsive
          sive_it                                                                           _items.z
          ems.zi                                                                            ip\gmail
          p\gmai                                                                            _respon
          l_resp                                                                            sive_ite
          onsive                                                                            ms.pst\u
          _items                                                                            rikaufma
          .pst\ur                                                                           n_at_gm
          ikaufm                                                                            ail-
          an_at_                                                       USA                  com[004
          gmail-                                                       Harmony              ].pst_file
          com[0                                                        <usahar              s\Top of
          04].pst                                                      mony@g               Personal
          _files\                                              mshah   mail.com             Folders\
          Top of        legal                        Uri       00001   >; Aaron             sandiha
          Person        advice                       Kaufm     1@aol   Cohen,               mmons_
          al            re     Email                 an<uri    .com<   Esq.<aco             at_yaho
    OLS_ Folder         corpor Messa         6/7/20 kaufm      mshah   hen@cla              o-
    URI00 s\sandi Privi ate    ge[Att Fwd:   12      an@g      00001   ssactiona            com\[G
    00135 hamm lege govern achme Evergre     11:43:4 mail.co   1@aol   lliance.co           mail]\Se
131 26    ons_at d      ance   nts]   en     5 AM m>           .com>   m>           False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 127 of 295


          \Uri_K                                                                             \Uri_Ka
          aufma                                                                              ufman_a
          n_aol-                                                                             ol-
          gmail_                                                Uri                          gmail_re
          respon                                                Kaufm                        sponsive
          sive_it                                               an<uri                       _items.z
          ems.zi                                                kaufm                        ip\gmail
          p\gmai                                                an@g                         _respon
          l_resp                                                mail.c                       sive_ite
          onsive                                                om>;                         ms.pst\u
          _items                                                Shmue                        rikaufma
          .pst\ur                                               l                            n_at_gm
          ikaufm                                                Rothsc                       ail-
          an_at_                                                hild<h                       com[002
          gmail-                                                srfinan                      ].pst_file
          com[0                    Evergre                      cial@y                       s\Top of
          02].pst                  en -                         ahoo.c                       Personal
          _files\                  Letter re                    om>;                         Folders\
          Top of                   Grant               Dina     ira                          sandiha
          Person                   Maccka              Deutsc   schwar                       mmons_
          al              Email    y from              her<di   tz<usa    Bobby              at_yaho
    OLS_ Folder           Messa    insuranc    6/18/2 nalnd     harmo     Shah<ms            o-
    URI00 s\sandi Privi   ge[Att   e           012     @yaho    ny@g      hah0000            com\[G
    00106 hamm lege       achme    compan      2:46:49 o.com    mail.c    11@aol.c           mail]\Im
132 49    ons_at d        nts]     y           PM      >        om>       om>        False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 128 of 295


          \Uri_K                                                                              \Uri_Ka
          aufma                                                                               ufman_a
          n_aol-                                                                              ol-
          gmail_                                                                              gmail_re
          respon                                                                              sponsive
          sive_it                                                                             _items.z
          ems.zi                                                                              ip\gmail
          p\gmai                                                                              _respon
          l_resp                                                                              sive_ite
          onsive                                                                              ms.pst\u
          _items                                                                              rikaufma
          .pst\ur                                                                             n_at_gm
          ikaufm                                                                              ail-
          an_at_                                                                              com[004
          gmail-                   Fwd:                                                       ].pst_file
          com[0                    Evergre                                USA                 s\Top of
          04].pst                  en -                                   Harmony             Personal
          _files\                  Letter re                              <usahar             Folders\
          Top of                   Grant               Uri                mony@g              sandiha
          Person                   Maccka              Kaufm     jaepc1   mail.com            mmons_
          al              Email    y from              an<uri    @aol.c   >; Howi             at_yaho
    OLS_ Folder           Messa    insuranc    6/18/2 kaufm      om<ja    ro<hsrfin           o-
    URI00 s\sandi Privi   ge[Att   e           012     an@g      epc1@    ancial@g            com\[G
    00135 hamm lege       achme    compan      3:28:06 mail.co   aol.co   mail.com            mail]\Se
133 38    ons_at d        nts]     y           PM      m>        m>       >           False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 129 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[002
          gmail-                Re:                                            ].pst_file
          com[0                 Evergre                                        s\Top of
          02].pst               en -                                           Personal
          _files\               Letter re                    urikauf           Folders\
          Top of                Grant                        man@              sandiha
          Person                Maccka              jaepc1   gmail.c           mmons_
          al                    y from              @aol.c   om<ur             at_yaho
    OLS_ Folder                 insuranc    6/19/2 om<ja     ikaufm            o-
    URI00 s\sandi Privi   Email e           012     epc1@    an@g              com\[G
    00106 hamm lege       Messa compan      8:38:55 aol.co   mail.c            mail]\Im
134 52    ons_at d        ge    y           AM      m>       om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 130 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[002
          gmail-                Re:                                            ].pst_file
          com[0                 Evergre                                        s\Top of
          02].pst               en -                                           Personal
          _files\               Letter re                                      Folders\
          Top of                Grant               Uri                        sandiha
          Person                Maccka              Kaufm     jaepc1           mmons_
          al                    y from              an<uri    @aol.c           at_yaho
    OLS_ Folder                 insuranc    6/19/2 kaufm      om<ja            o-
    URI00 s\sandi Privi   Email e           012     an@g      epc1@            com\[G
    00106 hamm lege       Messa compan      8:54:32 mail.co   aol.co           mail]\Im
135 54    ons_at d        ge    y           AM      m>        m>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 131 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[002
          gmail-                Re:                                            ].pst_file
          com[0                 Evergre                                        s\Top of
          02].pst               en -                                           Personal
          _files\               Letter re                    urikauf           Folders\
          Top of                Grant                        man@              sandiha
          Person                Maccka              jaepc1   gmail.c           mmons_
          al                    y from              @aol.c   om<ur             at_yaho
    OLS_ Folder                 insuranc    6/19/2 om<ja     ikaufm            o-
    URI00 s\sandi Privi   Email e           012     epc1@    an@g              com\[G
    00106 hamm lege       Messa compan      8:56:10 aol.co   mail.c            mail]\Im
136 55    ons_at d        ge    y           AM      m>       om>       False   portant
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 132 of 295


            \Uri_K                                                                               \Uri_Ka
            aufma                                                                                ufman_a
            n_aol-                                                                               ol-
            gmail_                                                                               gmail_re
            respon                                                                               sponsive
            sive_it                                                                              _items.z
            ems.zi                                                                               ip\gmail
            p\gmai                                                           urikaufm            _respon
            l_resp                                                           an@gmai             sive_ite
            onsive                                                           l.com<uri           ms.pst\u
            _items                                                           kaufman             rikaufma
            .pst\ur                                                          @gmail.c            n_at_gm
            ikaufm                                                           om>;                ail-
            an_at_                                                           mshah00             com[002
            gmail-                                                           0011@a              ].pst_file
            com[0                                                            ol.com<             s\Top of
            02].pst                                                          mshah00             Personal
            _files\                     Ball                        UsaHa    0011@a              Folders\
            Top of                      Island            Linda     rmony    ol.com>;            sandiha
            Person                      LLC v.            Boulay    @gmai    hsrfinanc           mmons_
            al                 Email    Evergre           <boula    l.com<   ial@yaho            at_yaho
    OLS_    Folder             Messa    en        6/22/2 y@mu       UsaHa    o.com<h             o-
    URI00   s\sandi    Privi   ge[Att   Power,    012     rphyka    rmony    srfinanci           com\[G
    00106   hamm       lege    achme    LLC, et   9:51:39 rpie.co   @gmai    al@yaho             mail]\Im
137 77      ons_at     d       nts]     al        AM      m>        l.com>   o.com>      False   portant
            \Uri_K                                                                               \Uri_Ka
            aufma                                                                                ufman_a
            n_aol-                                                                               ol-
            gmail_                                                                               gmail_re
            respon                                                                               sponsive
            sive_it                                                                              _items.z
            ems.zi                                                                               ip\aol_r
            p\aol_                                                                               esponsiv
            respon                                                                               e_items.
            sive_it                                                                              pst\msh
            ems.ps                                                                               ah00001
            t\msha                                                                               1_at_aol-
            h0000                                                                                com.pst
            11_at_                                                                               _files\To
            aol-                                                    mshah                        p of
            com.ps                                        Uri       00001                        Personal
            t_files\                                      Kaufm     1@aol                        Folders\
            Top of             Email    Fwd:              an<uri    .com<                        mshah0
    OLS_    Person             Messa    Evergre 7/12/2 kaufm        mshah                        00011_a
    URI00   al         Privi   ge[Att   en -      012     an@g      00001                        t_-
    00017   Folder     lege    achme    Affidavit 3:26:02 mail.co   1@aol                        com\INB
138 06      s\msh      d       nts]     of Shah PM        m>        .com>                False   OX
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 133 of 295


            \Uri_K                                                                                     \Uri_Ka
            aufma                                                                                      ufman_a
            n_aol-                                                                                     ol-
            gmail_                                                                                     gmail_re
            respon                                                                                     sponsive
            sive_it                                                                                    _items.z
            ems.zi                                                                                     ip\gmail
            p\gmai                                                                                     _respon
            l_resp                                                                                     sive_ite
            onsive                                                                                     ms.pst\u
            _items                                                                                     rikaufma
            .pst\ur                                                                                    n_at_gm
            ikaufm                                                                                     ail-
            an_at_                                                                                     com[002
            gmail-                                                                                     ].pst_file
            com[0                                                                                      s\Top of
            02].pst                                                                                    Personal
            _files\                                                                                    Folders\
            Top of                                                        Uri                          sandiha
            Person                                              Mary<     Kaufm                        mmons_
            al                     Email    Re:                 mmcq      an<uri                       at_yaho
    OLS_    Folder                 Messa    Evergre     7/12/2 ueene      kaufm                        o-
    URI00   s\sandi    Privi       ge[Att   en -        012     y@kosl    an@g Alan<ako                com\[G
    00108   hamm       lege        achme    Affidavit   3:40:01 off.net   mail.c sloff@ko              mail]\Im
139 07      ons_at     d           nts]     of Shah     PM      >         om> sloff.net>       False   portant
            \Uri_K                                                                                     \Uri_Ka
            aufma                                                                                      ufman_a
            n_aol-                                                                                     ol-
            gmail_                                                                                     gmail_re
            respon                                                                                     sponsive
            sive_it                                                                                    _items.z
            ems.zi                                                                                     ip\aol_r
            p\aol_                                                                                     esponsiv
            respon                                                                                     e_items.
            sive_it                                                                                    pst\msh
            ems.ps                                                                  mshah00            ah00001
            t\msha                                                                  0011@a             1_at_aol-
            h0000                                                                   ol.com<            com.pst
            11_at_                                                                  mshah00            _files\To
            aol-                                                                    0011@a             p of
            com.ps                                       Uri                        ol.com>;           Personal
            t_files\                                     Kaufm            Sara C.   dinalnd            Folders\
            Top of           propos                      an<uri           Bronin    @yahoo.            mshah0
    OLS_    Person           al from             7/17/2 kaufm             <broni    com<din            00011_a
    URI00   al         Privi attorne Email Re:   012     an@g             n@vol     alnd@ya            t_-
    00017   Folder     lege y Sara Messa Proposa 9:31:31 mail.co          adizo.c   hoo.com            com\INB
140 18      s\msh      d     Bronin ge     l     AM      m>               om>       >          False   OX
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 134 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                                    ail-
          an_at_                                                                    com[002
          gmail-                                                                    ].pst_file
          com[0         legal                                                       s\Top of
          02].pst       commu                                                       Personal
          _files\       nicatio                                     Mshah           Folders\
          Top of        n re                              Uri       00001           sandiha
          Person        affidavi                          Kaufm     1@aol           mmons_
          al            t filed                           an<uri    .com<           at_yaho
    OLS_ Folder         in                        7/17/2 kaufm      Mshah           o-
    URI00 s\sandi Privi litigatio Email Fwd:      012     an@g      00001           com\[G
    00108 hamm lege n             Messa English   12:52:4 mail.co   1@aol           mail]\Im
141 15    ons_at d      matter ge       Station   2 PM m>           .com>   False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 135 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[002
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          02].pst                                                               Personal
          _files\                                    Mshah    urikauf           Folders\
          Top of                                     00001    man@              sandiha
          Person                                     1@aol.   gmail.c           mmons_
          al                                         com<     om<ur             at_yaho
    OLS_ Folder                              7/17/2 Mshah     ikaufm            o-
    URI00 s\sandi Privi        Email Re:     012     00001    an@g              com\[G
    00108 hamm lege            Messa English 1:17:07 1@aol.   mail.c            mail]\Im
142 16    ons_at d      same   ge    Station PM      com>     om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 136 of 295


          \Uri_K                                                                       \Uri_Ka
          aufma                                                                        ufman_a
          n_aol-                                                                       ol-
          gmail_                                                                       gmail_re
          respon                                                                       sponsive
          sive_it                                                                      _items.z
          ems.zi                                                                       ip\gmail
          p\gmai                                                                       _respon
          l_resp                                                                       sive_ite
          onsive                                                                       ms.pst\u
          _items                                                                       rikaufma
          .pst\ur                                                                      n_at_gm
          ikaufm                                                                       ail-
          an_at_                                                    mshah00            com[002
          gmail-                                                    0011@a             ].pst_file
          com[0                                                     ol.com<            s\Top of
          02].pst                                                   mshah00            Personal
          _files\                                                   0011@a             Folders\
          Top of                                           Uri      ol.com>;           sandiha
          Person                                 Sara C.   Kaufm    dinalnd            mmons_
          al              Email                  Bronin    an<uri   @yahoo.            at_yaho
    OLS_ Folder           Messa          7/18/2 <broni     kaufm    com<din            o-
    URI00 s\sandi Privi   ge[Att Proposa 012     n@vol     an@g     alnd@ya            com\[G
    00108 hamm lege       achme l -      1:25:53 adizo.c   mail.c   hoo.com            mail]\Im
143 18    ons_at d        nts]   Revised PM      om>       om>      >          False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 137 of 295


          \Uri_K                                                                            \Uri_Ka
          aufma                                                                             ufman_a
          n_aol-                                                                            ol-
          gmail_                                                                            gmail_re
          respon                                                                            sponsive
          sive_it                                                                           _items.z
          ems.zi                                                                            ip\gmail
          p\gmai                                                                            _respon
          l_resp                                                                            sive_ite
          onsive                                              Mshah                         ms.pst\u
          _items                                              00001                         rikaufma
          .pst\ur                                             1@aol                         n_at_gm
          ikaufm                                              .com<                         ail-
          an_at_                                              Mshah                         com[002
          gmail-                                              00001                         ].pst_file
          com[0                                               1@aol                         s\Top of
          02].pst                                             .com>;                        Personal
          _files\                                             urikauf                       Folders\
          Top of                   Re:                        man@                          sandiha
          Person                   Evergre          Mary<     gmail.c                       mmons_
          al              Email    en v. UI -       mmcq      om<ur     akosloff            at_yaho
    OLS_ Folder           Messa    Summar 7/20/2    ueene     ikaufm    @kosloff.           o-
    URI00 s\sandi Privi   ge[Att   y          012   y@kosl    an@g      net<akos            com\[G
    00108 hamm lege       achme    Judgme 1:21:40   off.net   mail.c    loff@kosl           mail]\Im
144 38    ons_at d        nts]     nt         PM    >         om>       off.net>    False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 138 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                            Mshah             ms.pst\u
          _items                                            00001             rikaufma
          .pst\ur                                           1@aol             n_at_gm
          ikaufm                                            .com<             ail-
          an_at_                                            Mshah             com[002
          gmail-                                            00001             ].pst_file
          com[0                                             1@aol             s\Top of
          02].pst                                           .com>;            Personal
          _files\                                           urikauf           Folders\
          Top of                Re:                         man@              sandiha
          Person                Evergre           Mary<     gmail.c           mmons_
          al                    en v. UI -        mmcq      om<ur             at_yaho
    OLS_ Folder                 Summar 7/25/2     ueene     ikaufm            o-
    URI00 s\sandi Privi   Email y          012    y@kosl    an@g              com\[G
    00108 hamm lege       Messa Judgme 11:20:2    off.net   mail.c            mail]\Im
145 70    ons_at d        ge    nt         3 AM   >         om>       False   portant
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 139 of 295


            \Uri_K                                                                            \Uri_Ka
            aufma                                                                             ufman_a
            n_aol-                                                                            ol-
            gmail_                                                                            gmail_re
            respon                                                                            sponsive
            sive_it                                                                           _items.z
            ems.zi                                                                            ip\gmail
            p\gmai                                                                            _respon
            l_resp                                                mmcq                        sive_ite
            onsive                                                ueene                       ms.pst\u
            _items                                                y@kos                       rikaufma
            .pst\ur                                               loff.ne                     n_at_gm
            ikaufm                                                t<mmc                       ail-
            an_at_                                                queen                       com[002
            gmail-                                                ey@ko                       ].pst_file
            com[0                                                 sloff.n                     s\Top of
            02].pst                                               et>;                        Personal
            _files\                                     Mshah     urikauf                     Folders\
            Top of                   Re:                00001     man@                        sandiha
            Person                   Evergre            1@aol.    gmail.c                     mmons_
            al                       en v. UI -         com<      om<ur                       at_yaho
    OLS_    Folder                   Summar 7/25/2      Mshah     ikaufm                      o-
    URI00   s\sandi    Privi   Email y          012     00001     an@g                        com\[G
    00108   hamm       lege    Messa Judgme 1:28:26     1@aol.    mail.c                      mail]\Im
146 71      ons_at     d       ge    nt         PM      com>      om>                 False   portant
            \Uri_K                                                                            \Uri_Ka
            aufma                                                                             ufman_a
            n_aol-                                                                            ol-
            gmail_                                                                            gmail_re
            respon                                                                            sponsive
            sive_it                                                                           _items.z
            ems.zi                                                                            ip\aol_r
            p\aol_                                                                            esponsiv
            respon                                                                            e_items.
            sive_it                                                                           pst\msh
            ems.ps                                                Insall,                     ah00001
            t\msha                                                John<j                      1_at_aol-
            h0000                                                 ohn.in                      com.pst
            11_at_                                                sall@s                      _files\To
            aol-                                                  tantec.                     p of
            com.ps                                      Uri       com>;                       Personal
            t_files\                                    Kaufm     Alan      mshah00           Folders\
            Top of                                      an<uri    Kosloff   0011@a            mshah0
    OLS_    Person                              7/31/2 kaufm      <akosl    ol.com<           00011_a
    URI00   al         Privi   Email            012     an@g      off@k     mshah00           t_-
    00017   Folder     lege    Messa Billing to 9:17:15 mail.co   osloff.   0011@a            com\INB
147 73      s\msh      d       ge    Date       PM      m>        net>      ol.com>   False   OX
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 140 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                             urikauf           sive_ite
          onsive                                             man@              ms.pst\u
          _items                                             gmail.c           rikaufma
          .pst\ur                                            om<ur             n_at_gm
          ikaufm                                             ikaufm            ail-
          an_at_                                             an@g              com[002
          gmail-                                             mail.c            ].pst_file
          com[0                                              om>;              s\Top of
          02].pst                                            mmcq              Personal
          _files\                                            ueene             Folders\
          Top of                                             y@kos             sandiha
          Person                                   Alan      loff.ne           mmons_
          al                                       Kosloff   t<mmc             at_yaho
    OLS_ Folder                            7/31/2 <alank     queen             o-
    URI00 s\sandi Privi   Email Re:        012     osloff    ey@ko             com\[G
    00108 hamm lege       Messa Billing to 9:27:17 @gmai     sloff.n           mail]\Im
148 88    ons_at d        ge    Date       PM      l.com>    et>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 141 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                         Micha                com[004
          gmail-                                         el                   ].pst_file
          com[0                                          Byrne<               s\Top of
          04].pst                                        mjb@                 Personal
          _files\                                        gogick.              Folders\
          Top of                               Uri       com>;                sandiha
          Person                               Kaufm     Insall,              mmons_
          al                                   an<uri    John<j               at_yaho
    OLS_ Folder                        9/14/2 kaufm      ohn.in               o-
    URI00 s\sandi Privi   Email        012     an@g      sall@s               com\[G
    00135 hamm lege       Messa Damage 3:35:05 mail.co   tantec.              mail]\Se
149 86    ons_at d        ge    s      PM      m>        com>         False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 142 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                           Insall,                 com[004
          gmail-                                           John<j    USA           ].pst_file
          com[0                                            ohn.in    Harmo         s\Top of
          04].pst                                          sall@s    ny<usa        Personal
          _files\                                          tantec.   harmo         Folders\
          Top of                                 Uri       com>;     ny@gm         sandiha
          Person                                 Kaufm     Alan      ail.com       mmons_
          al                                     an<uri    Kosloff   >; Howi       at_yaho
    OLS_ Folder                          9/15/2 kaufm      <akosl    ro<hsrfi      o-
    URI00 s\sandi Privi   Email          012     an@g      off@k     nancial       com\[G
    00135 hamm lege       Messa          7:41:39 mail.co   osloff.   @gmail        mail]\Se
150 87    ons_at d        ge    Status   PM      m>        net>      .com> False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 143 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                           urikauf            ms.pst\u
          _items                                           man@               rikaufma
          .pst\ur                                          gmail.c            n_at_gm
          ikaufm                                           om<ur              ail-
          an_at_                                           ikaufm             com[002
          gmail-                                           an@g               ].pst_file
          com[0                                            mail.c             s\Top of
          02].pst                                          om>;               Personal
          _files\                                          john.in            Folders\
          Top of                                           sall@s             sandiha
          Person                                 Alan      tantec.            mmons_
          al                                     Kosloff   com<j              at_yaho
    OLS_ Folder                          9/15/2 <alank     ohn.in             o-
    URI00 s\sandi Privi   Email          012     osloff    sall@s             com\[G
    00110 hamm lege       Messa Re:      9:37:42 @gmai     tantec.            mail]\Im
151 57    ons_at d        ge    Status   PM      l.com>    com>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 144 of 295


          \Uri_K                                                                          \Uri_Ka
          aufma                                                                           ufman_a
          n_aol-                                                                          ol-
          gmail_                                                                          gmail_re
          respon                                                                          sponsive
          sive_it                                                                         _items.z
          ems.zi                                                                          ip\gmail
          p\gmai                                                                          _respon
          l_resp                                                                          sive_ite
          onsive                                                                          ms.pst\u
          _items                                                                          rikaufma
          .pst\ur                                                                         n_at_gm
          ikaufm                                                                          ail-
          an_at_                                                                          com[004
          gmail-                                                                          ].pst_file
          com[0                                                                           s\Top of
          04].pst                                                                         Personal
          _files\                                                                         Folders\
          Top of                                 Uri                                      sandiha
          Person                                 Kaufm     Alan      john.insa            mmons_
          al                                     an<uri    Kosloff   ll@stant             at_yaho
    OLS_ Folder                          9/15/2 kaufm      <akosl    ec.com<j             o-
    URI00 s\sandi Privi   Email          012     an@g      off@k     ohn.insall           com\[G
    00135 hamm lege       Messa Re:      10:55:0 mail.co   osloff.   @stantec             mail]\Se
152 88    ons_at d        ge    Status   2 PM m>           net>      .com>        False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 145 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                           'urikau            ms.pst\u
          _items                                           fman               rikaufma
          .pst\ur                                          @gmai              n_at_gm
          ikaufm                                           l.com'             ail-
          an_at_                                           <urika             com[002
          gmail-                                           ufman              ].pst_file
          com[0                                            @gmai              s\Top of
          02].pst                                          l.com>             Personal
          _files\                                          ;                  Folders\
          Top of                                           'akoslo            sandiha
          Person                                 Insall,   ff@kos             mmons_
          al                                     John<J    loff.ne            at_yaho
    OLS_ Folder                          9/16/2 ohn.In     t'<ako             o-
    URI00 s\sandi Privi   Email          012     sall@st   sloff@             com\[G
    00110 hamm lege       Messa Re:      9:09:32 antec.c   kosloff            mail]\Im
153 58    ons_at d        ge    Status   AM      om>       .net>      False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 146 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[004
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          04].pst                                                             Personal
          _files\                                         mshah               Folders\
          Top of                                Uri       00001               sandiha
          Person                                Kaufm     1@aol               mmons_
          al              Email                 an<uri    .com<               at_yaho
    OLS_ Folder           Messa         9/20/2 kaufm      mshah               o-
    URI00 s\sandi Privi   ge[Att Fwd:   012     an@g      00001               com\[G
    00135 hamm lege       achme TSCA    12:55:0 mail.co   1@aol               mail]\Se
154 90    ons_at d        nts]   CAFO   3 PM m>           .com>       False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 147 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[004
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          04].pst                                                             Personal
          _files\                                         mshah               Folders\
          Top of                                Uri       00001               sandiha
          Person                                Kaufm     1@aol               mmons_
          al              Email                 an<uri    .com<               at_yaho
    OLS_ Folder           Messa         9/20/2 kaufm      mshah               o-
    URI00 s\sandi Privi   ge[Att Fwd:   012     an@g      00001               com\[G
    00135 hamm lege       achme TSCA    12:55:3 mail.co   1@aol               mail]\Se
155 91    ons_at d        nts]   CAFO   1 PM m>           .com>       False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 148 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                                    ail-
          an_at_                                                                    com[002
          gmail-                                                                    ].pst_file
          com[0                                                                     s\Top of
          02].pst                                                                   Personal
          _files\                                        mshah    urikauf           Folders\
          Top of                                         00001    man@              sandiha
          Person        legal                            1@aol.   gmail.c           mmons_
          al            commu     Email                  com<     om<ur             at_yaho
    OLS_ Folder         nicatio   Messa          9/20/2 mshah     ikaufm            o-
    URI00 s\sandi Privi n re      ge[Att Asnat   012     00001    an@g              com\[G
    00110 hamm lege legal         achme Realty   1:41:47 1@aol.   mail.c            mail]\Im
156 67    ons_at d      papers    nts]   LLC     PM      com>     om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 149 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                                    ail-
          an_at_                                                                    com[002
          gmail-                                                                    ].pst_file
          com[0                                                                     s\Top of
          02].pst                                                                   Personal
          _files\                                                                   Folders\
          Top of                                         Uri                        sandiha
          Person                               Mary<     Kaufm    Mshah00           mmons_
          al                                   mmcq      an<uri   0011@a            at_yaho
    OLS_ Folder                 EPA     9/20/2 ueene     kaufm    ol.com<           o-
    URI00 s\sandi Privi   Email Consent 012    y@kosl    an@g     Mshah00           com\[G
    00110 hamm lege       Messa Agreem 2:06:51 off.net   mail.c   0011@a            mail]\Im
157 68    ons_at d        ge    ent     PM     >         om>      ol.com>   False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 150 of 295


          \Uri_K                                                                       \Uri_Ka
          aufma                                                                        ufman_a
          n_aol-                                                                       ol-
          gmail_                                                                       gmail_re
          respon                                                                       sponsive
          sive_it                                                                      _items.z
          ems.zi                                                                       ip\gmail
          p\gmai                                                                       _respon
          l_resp                                                                       sive_ite
          onsive                                                                       ms.pst\u
          _items                                                                       rikaufma
          .pst\ur                                                                      n_at_gm
          ikaufm                                                                       ail-
          an_at_                                                                       com[004
          gmail-                                                   Mshah00             ].pst_file
          com[0                                                    0011@a              s\Top of
          04].pst                                                  ol.com<             Personal
          _files\                                                  Mshah00             Folders\
          Top of                               Uri                 0011@a              sandiha
          Person                               Kaufm     Mary<     ol.com>;            mmons_
          al              Email                an<uri    mmcq      Alan                at_yaho
    OLS_ Folder           Messa Re: EPA 9/20/2 kaufm     ueene     Kosloff<a           o-
    URI00 s\sandi Privi   ge[Att Consent 012   an@g      y@kos     kosloff@            com\[G
    00135 hamm lege       achme Agreem 2:27:49 mail.co   loff.ne   kosloff.n           mail]\Se
158 94    ons_at d        nts]   ent     PM    m>        t>        et>         False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 151 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[004
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          04].pst                                                             Personal
          _files\                                                             Folders\
          Top of                                Uri                           sandiha
          Person                                Kaufm     Alan                mmons_
          al                                    an<uri    Kosloff             at_yaho
    OLS_ Folder                 Re: FW: 9/24/2 kaufm      <akosl              o-
    URI00 s\sandi Privi   Email Tomorr 012      an@g      off@k               com\[G
    00135 hamm lege       Messa ow's    5:40:24 mail.co   osloff.             mail]\Se
159 98    ons_at d        ge    Meeting PM      m>        net>        False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 152 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[002
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          02].pst                                                             Personal
          _files\                                                             Folders\
          Top of                                          'Uri                sandiha
          Person                                Alan      Kaufm               mmons_
          al                                    Kosloff   an'<uri             at_yaho
    OLS_ Folder                 FW:     9/25/2 <akosl     kaufm               o-
    URI00 s\sandi Privi   Email Tomorr 012      off@k     an@g                com\[G
    00110 hamm lege       Messa ow's    2:02:45 osloff.   mail.c              mail]\Im
160 81    ons_at d        ge    Meeting PM      net>      om>         False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 153 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                          'UsaHa              gmail_re
          respon                                          rmony               sponsive
          sive_it                                         @gmai               _items.z
          ems.zi                                          l.com'              ip\gmail
          p\gmai                                          <usah               _respon
          l_resp                                          armon               sive_ite
          onsive                                          y@gm                ms.pst\u
          _items                                          ail.co              rikaufma
          .pst\ur                                         m>;                 n_at_gm
          ikaufm                                          'Bobby              ail-
          an_at_                                          Shah'<              com[002
          gmail-                                          mshah               ].pst_file
          com[0                                           00001               s\Top of
          02].pst                                Micha    1@aol               Personal
          _files\                                el       .com>;              Folders\
          Top of                                 Connel   'Uri                sandiha
          Person                                 ly<con   Kaufm               mmons_
          al                                     nelly@   an'<uri             at_yaho
    OLS_ Folder                          9/25/2 murph     kaufm               o-
    URI00 s\sandi Privi   Email          012     ykarpi   an@g                com\[G
    00110 hamm lege       Messa Ball     4:31:25 e.com    mail.c              mail]\Im
161 83    ons_at d        ge    Island   PM      >        om>         False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 154 of 295


          \Uri_K                                                                        \Uri_Ka
          aufma                                                                         ufman_a
          n_aol-                                                                        ol-
          gmail_                                                                        gmail_re
          respon                                                                        sponsive
          sive_it                                                                       _items.z
          ems.zi                                                                        ip\gmail
          p\gmai                                                                        _respon
          l_resp                                                                        sive_ite
          onsive                                                                        ms.pst\u
          _items                                                                        rikaufma
          .pst\ur                                                                       n_at_gm
          ikaufm                                                                        ail-
          an_at_                                                                        com[002
          gmail-                                                    UsaHarm             ].pst_file
          com[0                                                     ony@gm              s\Top of
          02].pst                                          Micha    ail.com<            Personal
          _files\                                          el       usaharm             Folders\
          Top of                                 Uri       Connel   ony@gm              sandiha
          Person                                 Kaufm     ly<con   ail.com>;           mmons_
          al                                     an<uri    nelly@   Bobby               at_yaho
    OLS_ Folder                          9/25/2 kaufm      murph    Shah<ms             o-
    URI00 s\sandi Privi   Email          012     an@g      ykarpi   hah0000             com\[G
    00110 hamm lege       Messa Re: Ball 4:40:30 mail.co   e.com    11@aol.c            mail]\Im
162 84    ons_at d        ge    Island PM        m>        >        om>         False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 155 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[002
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          02].pst                                                             Personal
          _files\                                                             Folders\
          Top of                                          'Uri                sandiha
          Person                                Alan      Kaufm               mmons_
          al                                    Kosloff   an'<uri             at_yaho
    OLS_ Folder                 FW:     10/1/2 <akosl     kaufm               o-
    URI00 s\sandi Privi   Email Tomorr 012      off@k     an@g                com\[G
    00111 hamm lege       Messa ow's    11:31:0 osloff.   mail.c              mail]\Im
163 00    ons_at d        ge    Meeting 9 AM net>         om>         False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 156 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                          Alan                com[004
          gmail-                                          Kosloff             ].pst_file
          com[0                                           <akosl              s\Top of
          04].pst                                         off@k               Personal
          _files\                                         osloff.             Folders\
          Top of                                Uri       net>;               sandiha
          Person                                Kaufm     Insall,             mmons_
          al                                    an<uri    John<j              at_yaho
    OLS_ Folder                         10/2/2 kaufm      ohn.in              o-
    URI00 s\sandi Privi   Email Fwd:    012     an@g      sall@s              com\[G
    00136 hamm lege       Messa Grand   8:09:52 mail.co   tantec.             mail]\Se
164 03    ons_at d        ge    Ave     PM      m>        com>        False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 157 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[002
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          02].pst                                                               Personal
          _files\                                                               Folders\
          Top of                                              'Uri              sandiha
          Person        legal                       Alan      Kaufm             mmons_
          al            commu                       Kosloff   an'<uri           at_yaho
    OLS_ Folder         nicatio             10/3/2 <akosl     kaufm             o-
    URI00 s\sandi Privi n re    Email RE:   012     off@k     an@g              com\[G
    00111 hamm lege trespas Messa Grand     11:55:1 osloff.   mail.c            mail]\Im
165 15    ons_at d      sers    ge    Ave   1 AM net>         om>       False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 158 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[002
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          02].pst                                                               Personal
          _files\                                                               Folders\
          Top of                                              'Uri              sandiha
          Person                                    Alan      Kaufm             mmons_
          al            legal                       Kosloff   an'<uri           at_yaho
    OLS_ Folder         advice              10/3/2 <akosl     kaufm             o-
    URI00 s\sandi Privi re site Email RE:   012     off@k     an@g              com\[G
    00111 hamm lege securit Messa Grand     12:27:3 osloff.   mail.c            mail]\Im
166 16    ons_at d      y       ge    Ave   4 PM net>         om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 159 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                                  gmail_re
          respon                                                                  sponsive
          sive_it                                                                 _items.z
          ems.zi                                                                  ip\gmail
          p\gmai                                                                  _respon
          l_resp                                                                  sive_ite
          onsive                                                                  ms.pst\u
          _items                                                                  rikaufma
          .pst\ur                                                                 n_at_gm
          ikaufm                                               'Insall,           ail-
          an_at_                                               John'<             com[002
          gmail-                                               John.I             ].pst_file
          com[0                                                nsall@             s\Top of
          02].pst                                              stante             Personal
          _files\                                              c.com              Folders\
          Top of                                               >; 'Uri            sandiha
          Person                                     Alan      Kaufm              mmons_
          al                                         Kosloff   an'<uri            at_yaho
    OLS_ Folder                              10/17/ <akosl     kaufm              o-
    URI00 s\sandi Privi        Email         2012    off@k     an@g               com\[G
    00111 hamm lege            Messa RE:     12:07:4 osloff.   mail.c             mail]\Im
167 22    ons_at d      same   ge    Cameras 9 PM net>         om>        False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 160 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                          Alan                ail-
          an_at_                                          Kosloff             com[002
          gmail-                                          <akosl              ].pst_file
          com[0                                           off@k               s\Top of
          02].pst                                         osloff.             Personal
          _files\                                         net>;               Folders\
          Top of                                          'Uri                sandiha
          Person                                Insall,   Kaufm               mmons_
          al                                    John<J    an'<uri             at_yaho
    OLS_ Folder                         10/17/ ohn.In     kaufm               o-
    URI00 s\sandi Privi   Email         2012    sall@st   an@g                com\[G
    00111 hamm lege       Messa RE:     12:10:0 antec.c   mail.c              mail]\Im
168 23    ons_at d        ge    Cameras 6 PM om>          om>         False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 161 of 295


          \Uri_K                                                                         \Uri_Ka
          aufma                                                                          ufman_a
          n_aol-                                                                         ol-
          gmail_                                                                         gmail_re
          respon                                                                         sponsive
          sive_it                                                                        _items.z
          ems.zi                                                                         ip\gmail
          p\gmai                                                                         _respon
          l_resp                                                                         sive_ite
          onsive                                                                         ms.pst\u
          _items                                                                         rikaufma
          .pst\ur                                                                        n_at_gm
          ikaufm                                                                         ail-
          an_at_                                                                         com[004
          gmail-                                                                         ].pst_file
          com[0                                                                          s\Top of
          04].pst                                                                        Personal
          _files\                                                                        Folders\
          Top of                                Uri                 Alan                 sandiha
          Person                                Kaufm     Insall,   Kosloff              mmons_
          al                                    an<uri    John<J    (akosloff            at_yaho
    OLS_ Folder                         10/17/ kaufm      ohn.In    @kosloff.            o-
    URI00 s\sandi Privi   Email         2012    an@g      sall@s    net)<ako             com\[G
    00136 hamm lege       Messa Re: FW: 6:27:36 mail.co   tantec.   sloff@ko             mail]\Se
169 20    ons_at d        ge    Cameras PM      m>        com>      sloff.net>   False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 162 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                           urikauf            ms.pst\u
          _items                                           man@               rikaufma
          .pst\ur                                          gmail.c            n_at_gm
          ikaufm                                           om<ur              ail-
          an_at_                                           ikaufm             com[002
          gmail-                                           an@g               ].pst_file
          com[0                                            mail.c             s\Top of
          02].pst                                          om>;               Personal
          _files\                                          john.in            Folders\
          Top of                                           sall@s             sandiha
          Person                                 Alan      tantec.            mmons_
          al                                     Kosloff   com<j              at_yaho
    OLS_ Folder                          10/27/ <alank     ohn.in             o-
    URI00 s\sandi Privi   Email          2012    osloff    sall@s             com\[G
    00111 hamm lege       Messa Re:      8:34:26 @gmai     tantec.            mail]\Im
170 69    ons_at d        ge    Security PM      l.com>    com>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 163 of 295


          \Uri_K                                                                          \Uri_Ka
          aufma                                                                           ufman_a
          n_aol-                                                                          ol-
          gmail_                                                                          gmail_re
          respon                                                                          sponsive
          sive_it                                                                         _items.z
          ems.zi                                                                          ip\gmail
          p\gmai                                                                          _respon
          l_resp                                                                          sive_ite
          onsive                                                                          ms.pst\u
          _items                                                                          rikaufma
          .pst\ur                                                                         n_at_gm
          ikaufm                                                                          ail-
          an_at_                                                                          com[002
          gmail-                                                                          ].pst_file
          com[0                                                                           s\Top of
          02].pst                                                                         Personal
          _files\                                                                         Folders\
          Top of                                 Uri                                      sandiha
          Person                                 Kaufm     Alan      john.insa            mmons_
          al                                     an<uri    Kosloff   ll@stant             at_yaho
    OLS_ Folder                          10/27/ kaufm      <akosl    ec.com<j             o-
    URI00 s\sandi Privi   Email          2012    an@g      off@k     ohn.insall           com\[G
    00111 hamm lege       Messa Re:      8:40:13 mail.co   osloff.   @stantec             mail]\Im
171 70    ons_at d        ge    Security PM      m>        net>      .com>        False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 164 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[002
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          02].pst                                                             Personal
          _files\                                          'urikau            Folders\
          Top of                                           fman               sandiha
          Person                                 Insall,   @gmai              mmons_
          al                                     John<J    l.com'             at_yaho
    OLS_ Folder                          10/27/ ohn.In     <urika             o-
    URI00 s\sandi Privi   Email          2012    sall@st   ufman              com\[G
    00111 hamm lege       Messa Re:      8:41:17 antec.c   @gmai              mail]\Im
172 71    ons_at d        ge    Security PM      om>       l.com>     False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 165 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                                  gmail_re
          respon                                                                  sponsive
          sive_it                                                                 _items.z
          ems.zi                                                                  ip\gmail
          p\gmai                                                                  _respon
          l_resp                                                                  sive_ite
          onsive                                                                  ms.pst\u
          _items                                                                  rikaufma
          .pst\ur                                                                 n_at_gm
          ikaufm                                                                  ail-
          an_at_                                                                  com[002
          gmail-                                                                  ].pst_file
          com[0                                                                   s\Top of
          02].pst                                                                 Personal
          _files\                                                                 Folders\
          Top of                                      Uri                         sandiha
          Person                                      Kaufm     Alan              mmons_
          al                                          an<uri    Kosloff           at_yaho
    OLS_ Folder         legal                 10/31/ kaufm      <akosl            o-
    URI00 s\sandi Privi commu Email Re:       2012    an@g      off@k             com\[G
    00111 hamm lege nicatio Messa English     4:32:22 mail.co   osloff.           mail]\Im
173 90    ons_at d      n     ge    Station   PM      m>        net>      False   portant
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 166 of 295


            \Uri_K                                                                 \Uri_Ka
            aufma                                                                  ufman_a
            n_aol-                                                                 ol-
            gmail_                                                                 gmail_re
            respon                                                                 sponsive
            sive_it                                                                _items.z
            ems.zi                                                                 ip\gmail
            p\gmai                                                                 _respon
            l_resp                                                                 sive_ite
            onsive                                                                 ms.pst\u
            _items                                                                 rikaufma
            .pst\ur                                                                n_at_gm
            ikaufm                                                                 ail-
            an_at_                                                                 com[002
            gmail-                                                                 ].pst_file
            com[0                                                                  s\Top of
            02].pst                                                                Personal
            _files\                                              urikauf           Folders\
            Top of                                               man@              sandiha
            Person                                   Alan        gmail.c           mmons_
            al                                       Kosloff     om<ur             at_yaho
    OLS_    Folder                           10/31/ <alank       ikaufm            o-
    URI00   s\sandi    Privi   Email Re:     2012    osloff      an@g              com\[G
    00111   hamm       lege    Messa English 4:53:23 @gmai       mail.c            mail]\Im
174 91      ons_at     d       ge    Station PM      l.com>      om>       False   portant
            \Uri_K                                                                 \Uri_Ka
            aufma                                                                  ufman_a
            n_aol-                                                                 ol-
            gmail_                                                                 gmail_re
            respon                                                                 sponsive
            sive_it                                                                _items.z
            ems.zi                                                                 ip\aol_r
            p\aol_                                                                 esponsiv
            respon                                                                 e_items.
            sive_it                                                                pst\msh
            ems.ps                                                                 ah00001
            t\msha                                                                 1_at_aol-
            h0000                                                                  com.pst
            11_at_                                                                 _files\To
            aol-                                                 mshah             p of
            com.ps                                               00001             Personal
            t_files\                                   4Self     1@aol             Folders\
            Top of                   Fwd:              Storag    .com<             mshah0
    OLS_    Person                   Classic   11/2/2 e<ct@      mshah             00011_a
    URI00   al         Privi   Email Environ   012     4selfst   00001             t_-
    00022   Folder     lege    Messa mental    8:26:36 orage.    1@aol             com\INB
175 56      s\msh      d       ge    Matter    AM      com>      .com>     False   OX
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 167 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                  Uri               ail-
          an_at_                                                  Kaufm             com[002
          gmail-                                                  an<uri            ].pst_file
          com[0                                                   kaufm             s\Top of
          02].pst                                                 an@g              Personal
          _files\                                                 mail.c            Folders\
          Top of                                        akoslof   om>;              sandiha
          Person        legal                           f@com     Insall,           mmons_
          al            advice                          cast.ne   John<j            at_yaho
    OLS_ Folder         re                      12/3/2 t<akosl    ohn.in            o-
    URI00 s\sandi Privi submis Email Re: Fwd:   012     off@c     sall@s            com\[G
    00113 hamm lege sion to Messa English       3:51:27 omcas     tantec.           mail]\Im
176 19    ons_at d      DEEP ge      Station    PM      t.net>    com>      False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 168 of 295


          \Uri_K                                                                     \Uri_Ka
          aufma                                                                      ufman_a
          n_aol-                                                                     ol-
          gmail_                                                                     gmail_re
          respon                                                                     sponsive
          sive_it                                                                    _items.z
          ems.zi                                                                     ip\gmail
          p\gmai                                                                     _respon
          l_resp                                                                     sive_ite
          onsive                                                                     ms.pst\u
          _items                                                                     rikaufma
          .pst\ur                                                                    n_at_gm
          ikaufm                                                                     ail-
          an_at_                                                                     com[002
          gmail-                                                                     ].pst_file
          com[0                                                                      s\Top of
          02].pst                                                                    Personal
          _files\                                                  urikauf           Folders\
          Top of        legal         Re:                          man@              sandiha
          Person        advice        Update             Alan      gmail.c           mmons_
          al            re            re                 Kosloff   om<ur             at_yaho
    OLS_ Folder         remedi        Anaerob    12/6/2 <alank     ikaufm            o-
    URI00 s\sandi Privi ation Email   ic         012     osloff    an@g              com\[G
    00113 hamm lege schedul Messa     digester   6:29:50 @gmai     mail.c            mail]\Im
177 50    ons_at d      e      ge     s          PM      l.com>    om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 169 of 295


          \Uri_K                                                                      \Uri_Ka
          aufma                                                                       ufman_a
          n_aol-                                                                      ol-
          gmail_                                                                      gmail_re
          respon                                                                      sponsive
          sive_it                                                                     _items.z
          ems.zi                                                                      ip\gmail
          p\gmai                                                                      _respon
          l_resp                                                                      sive_ite
          onsive                                                                      ms.pst\u
          _items                                                                      rikaufma
          .pst\ur                                                                     n_at_gm
          ikaufm                                                                      ail-
          an_at_                                                                      com[004
          gmail-                                                                      ].pst_file
          com[0                                                                       s\Top of
          04].pst                                                                     Personal
          _files\                                                                     Folders\
          Top of                       Re:                Uri                         sandiha
          Person                       Update             Kaufm     Alan              mmons_
          al            legal          re                 an<uri    Kosloff           at_yaho
    OLS_ Folder         advice         Anaerob    12/6/2 kaufm      <akosl            o-
    URI00 s\sandi Privi re     Email   ic         012     an@g      off@k             com\[G
    00136 hamm lege remedi Messa       digester   6:34:34 mail.co   osloff.           mail]\Se
178 94    ons_at d      ation ge       s          PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 170 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                                    ail-
          an_at_                                                                    com[002
          gmail-                                                                    ].pst_file
          com[0                                                                     s\Top of
          02].pst                                                                   Personal
          _files\                                                 urikauf           Folders\
          Top of                     Re:                          man@              sandiha
          Person                     Update             Alan      gmail.c           mmons_
          al                         re                 Kosloff   om<ur             at_yaho
    OLS_ Folder                      Anaerob    12/6/2 <alank     ikaufm            o-
    URI00 s\sandi Privi        Email ic         012     osloff    an@g              com\[G
    00113 hamm lege            Messa digester   7:36:15 @gmai     mail.c            mail]\Im
179 52    ons_at d      same   ge    s          PM      l.com>    om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 171 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                                    ail-
          an_at_                                                                    com[002
          gmail-                                                                    ].pst_file
          com[0                                                                     s\Top of
          02].pst                                                                   Personal
          _files\                                                 urikauf           Folders\
          Top of                                                  man@              sandiha
          Person                                        Alan      gmail.c           mmons_
          al                                            Kosloff   om<ur             at_yaho
    OLS_ Folder                               12/7/2    <alank    ikaufm            o-
    URI00 s\sandi Privi strateg Email Fw:     012       osloff    an@g              com\[G
    00113 hamm lege y re        Messa Attache 7:32:02   @gmai     mail.c            mail]\Im
180 63    ons_at d      DEEP ge       d Image PM        l.com>    om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 172 of 295


          \Uri_K                                                                                \Uri_Ka
          aufma                                                                                 ufman_a
          n_aol-                                                                                ol-
          gmail_                                                                                gmail_re
          respon                                                                                sponsive
          sive_it                                                                               _items.z
          ems.zi                                                                                ip\gmail
          p\gmai                                                                                _respon
          l_resp                                                                                sive_ite
          onsive                                                                                ms.pst\u
          _items                                                                                rikaufma
          .pst\ur                                                                               n_at_gm
          ikaufm                                                                                ail-
          an_at_                                                                                com[002
          gmail-                                                            dhavey@             ].pst_file
          com[0                                                             ssisystem           s\Top of
          02].pst                                                           s.net<dh            Personal
          _files\                                                           avey@ssi            Folders\
          Top of                                        Uri                 systems.            sandiha
          Person        legal                           Kaufm     Insall,   net>;               mmons_
          al            advice                          an<uri    John<J    akosloff            at_yaho
    OLS_ Folder         re site                 12/8/2 kaufm      ohn.In    @kosloff.           o-
    URI00 s\sandi Privi charact Email Re:       012     an@g      sall@s    net<akos            com\[G
    00113 hamm lege erizatio Messa Attache      5:06:21 mail.co   tantec.   loff@kosl           mail]\Im
181 65    ons_at d      n       ge    d Image   PM      m>        com>      off.net>    False   portant
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 173 of 295


            \Uri_K                                                                    \Uri_Ka
            aufma                                                                     ufman_a
            n_aol-                                                                    ol-
            gmail_                                                                    gmail_re
            respon                                                                    sponsive
            sive_it                                                                   _items.z
            ems.zi                                                                    ip\gmail
            p\gmai                                                                    _respon
            l_resp                                                                    sive_ite
            onsive                                                                    ms.pst\u
            _items                                                                    rikaufma
            .pst\ur                                                                   n_at_gm
            ikaufm                                                                    ail-
            an_at_                                                                    com[002
            gmail-                                                                    ].pst_file
            com[0                                                                     s\Top of
            02].pst                                                                   Personal
            _files\                                                                   Folders\
            Top of                                        Uri                         sandiha
            Person                                        Kaufm     Alan              mmons_
            al                                            an<uri    Kosloff           at_yaho
    OLS_    Folder           legal                12/8/2 kaufm      <akosl            o-
    URI00   s\sandi    Privi advice Email Re:     012     an@g      off@k             com\[G
    00113   hamm       lege re      Messa Attache 5:10:29 mail.co   osloff.           mail]\Im
182 68      ons_at     d     DEEP ge      d Image PM      m>        net>      False   portant
            \Uri_K                                                                    \Uri_Ka
            aufma                                                                     ufman_a
            n_aol-                                                                    ol-
            gmail_                                                                    gmail_re
            respon                                                                    sponsive
            sive_it                                                                   _items.z
            ems.zi                                                                    ip\aol_r
            p\aol_                                                                    esponsiv
            respon                                                                    e_items.
            sive_it                                                                   pst\msh
            ems.ps                                                                    ah00001
            t\msha                                                                    1_at_aol-
            h0000                                                                     com.pst
            11_at_                                                                    _files\To
            aol-                                           Mshah    usahar            p of
            com.ps                        Re:              00001    mony              Personal
            t_files\                      Update           1@aol.   @gmai             Folders\
            Top of                        re               com<     l.com<            mshah0
    OLS_    Person           legal        Anaerob 12/11/ Mshah      usahar            00011_a
    URI00   al         Privi advice Email ic       2012    00001    mony              t_-
    00083   Folder     lege re site Messa digester 8:44:51 1@aol.   @gmai             com\Se
183 61      s\msh      d     access ge    s        AM      com>     l.com>    False   nt
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 174 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[002
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          02].pst                                                             Personal
          _files\                                                             Folders\
          Top of                               Uri       Alan                 sandiha
          Person                               Kaufm     M.                   mmons_
          al                                   an<uri    Kosloff              at_yaho
    OLS_ Folder                 Fwd: ES 12/27/ kaufm     <akosl               o-
    URI00 s\sandi Privi   Email Letter 2012    an@g      off@k                com\[G
    00114 hamm lege       Messa 022720 11:10:4 mail.co   osloff.              mail]\Im
184 34    ons_at d        ge    12      2 AM m>          net>         False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 175 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[002
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          02].pst                                                             Personal
          _files\                                        urikauf              Folders\
          Top of                                         man@                 sandiha
          Person                               Alan      gmail.c              mmons_
          al                                   Kosloff   om<ur                at_yaho
    OLS_ Folder                 Re: ES 12/27/ <alank     ikaufm               o-
    URI00 s\sandi Privi   Email Letter 2012    osloff    an@g                 com\[G
    00114 hamm lege       Messa 022720 11:33:4 @gmai     mail.c               mail]\Im
185 35    ons_at d        ge    12     2 AM l.com>       om>          False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 176 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[002
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          02].pst                                                             Personal
          _files\                                         urikauf             Folders\
          Top of                                          man@                sandiha
          Person                                Alan      gmail.c             mmons_
          al                                    Kosloff   om<ur               at_yaho
    OLS_ Folder                         1/1/20 <alank     ikaufm              o-
    URI00 s\sandi Privi   Email Re:     13      osloff    an@g                com\[G
    00114 hamm lege       Messa Revised 2:32:45 @gmai     mail.c              mail]\Im
186 47    ons_at d        ge    Letters PM      l.com>    om>         False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 177 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[004
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          04].pst                                                             Personal
          _files\                                                             Folders\
          Top of                                Uri                           sandiha
          Person                                Kaufm     Alan                mmons_
          al                                    an<uri    Kosloff             at_yaho
    OLS_ Folder                         1/1/20 kaufm      <akosl              o-
    URI00 s\sandi Privi   Email Re:     13      an@g      off@k               com\[G
    00137 hamm lege       Messa Revised 2:58:41 mail.co   osloff.             mail]\Se
187 16    ons_at d        ge    Letters PM      m>        net>        False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 178 of 295


          \Uri_K                                                                 \Uri_Ka
          aufma                                                                  ufman_a
          n_aol-                                                                 ol-
          gmail_                                                                 gmail_re
          respon                                                                 sponsive
          sive_it                                                                _items.z
          ems.zi                                                                 ip\gmail
          p\gmai                                                                 _respon
          l_resp                                               urikauf           sive_ite
          onsive                                               man@              ms.pst\u
          _items                                               gmail.c           rikaufma
          .pst\ur                                              om<ur             n_at_gm
          ikaufm                                               ikaufm            ail-
          an_at_                                               an@g              com[002
          gmail-                                               mail.c            ].pst_file
          com[0                                                om>;              s\Top of
          02].pst                                              mmcq              Personal
          _files\                                              ueene             Folders\
          Top of                Re:                            y@kos             sandiha
          Person                Insall_Le            Alan      loff.ne           mmons_
          al                    tter_Lifti           Kosloff   t<mmc             at_yaho
    OLS_ Folder                 ng_Ceas      1/2/20 <alank     queen             o-
    URI00 s\sandi Privi   Email e__Desi      13      osloff    ey@ko             com\[G
    00114 hamm lege       Messa st_Orde      6:43:27 @gmai     sloff.n           mail]\Im
188 56    ons_at d        ge    r (2).doc    PM      l.com>    et>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 179 of 295


          \Uri_K                                                                                      \Uri_Ka
          aufma                                                                                       ufman_a
          n_aol-                                                                                      ol-
          gmail_                                                                                      gmail_re
          respon                                                                                      sponsive
          sive_it                                                                                     _items.z
          ems.zi                                                                                      ip\gmail
          p\gmai                                                                                      _respon
          l_resp                                                                                      sive_ite
          onsive                                                                                      ms.pst\u
          _items                                                                                      rikaufma
          .pst\ur                                                                                     n_at_gm
          ikaufm                                                                                      ail-
          an_at_                                                                                      com[004
          gmail-                                                                                      ].pst_file
          com[0                                                                                       s\Top of
          04].pst                                                                                     Personal
          _files\                                                                                     Folders\
          Top of                Re:                  Uri                              USA             sandiha
          Person                Insall_Le            Kaufm     Alan      mmcque       Harmo           mmons_
          al                    tter_Lifti           an<uri    Kosloff   eney@ko      ny<usa          at_yaho
    OLS_ Folder                 ng_Ceas      1/2/20 kaufm      <akosl    sloff.net<   harmo           o-
    URI00 s\sandi Privi   Email e__Desi      13      an@g      off@k     mmcque       ny@gm           com\[G
    00137 hamm lege       Messa st_Orde      6:44:31 mail.co   osloff.   eney@ko      ail.com         mail]\Se
189 22    ons_at d        ge    r (2).doc    PM      m>        net>      sloff.net>   >       False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 180 of 295


          \Uri_K                                                                 \Uri_Ka
          aufma                                                                  ufman_a
          n_aol-                                                                 ol-
          gmail_                                                                 gmail_re
          respon                                                                 sponsive
          sive_it                                                                _items.z
          ems.zi                                                                 ip\gmail
          p\gmai                                                                 _respon
          l_resp                                               urikauf           sive_ite
          onsive                                               man@              ms.pst\u
          _items                                               gmail.c           rikaufma
          .pst\ur                                              om<ur             n_at_gm
          ikaufm                                               ikaufm            ail-
          an_at_                                               an@g              com[002
          gmail-                                               mail.c            ].pst_file
          com[0                                                om>;              s\Top of
          02].pst                                              mmcq              Personal
          _files\                                              ueene             Folders\
          Top of                Re:                            y@kos             sandiha
          Person                Insall_Le            Alan      loff.ne           mmons_
          al                    tter_Lifti           Kosloff   t<mmc             at_yaho
    OLS_ Folder                 ng_Ceas      1/2/20 <alank     queen             o-
    URI00 s\sandi Privi   Email e__Desi      13      osloff    ey@ko             com\[G
    00114 hamm lege       Messa st_Orde      7:04:34 @gmai     sloff.n           mail]\Im
190 57    ons_at d        ge    r (2).doc    PM      l.com>    et>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 181 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                              Insall,           ol-
          gmail_                                              John<J            gmail_re
          respon                                              ohn.In            sponsive
          sive_it                                             sall@s            _items.z
          ems.zi                                              tantec.           ip\gmail
          p\gmai                                              com>;             _respon
          l_resp                                              urikauf           sive_ite
          onsive                                              man@              ms.pst\u
          _items                                              gmail.c           rikaufma
          .pst\ur                                             om<ur             n_at_gm
          ikaufm                                              ikaufm            ail-
          an_at_                                              an@g              com[002
          gmail-                                              mail.c            ].pst_file
          com[0                                               om>;              s\Top of
          02].pst                                             mmcq              Personal
          _files\               Re:                           ueene             Folders\
          Top of                Letter_S                      y@kos             sandiha
          Person                eeking_             Alan      loff.ne           mmons_
          al                    Lifting_o           Kosloff   t<mmc             at_yaho
    OLS_ Folder                 f_Cease     1/3/20 <alank     queen             o-
    URI00 s\sandi Privi   Email _Desist_    13      osloff    ey@ko             com\[G
    00114 hamm lege       Messa Order.d     8:32:48 @gmai     sloff.n           mail]\Im
191 60    ons_at d        ge    oc          AM      l.com>    et>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 182 of 295


          \Uri_K                                                                             \Uri_Ka
          aufma                                                                              ufman_a
          n_aol-                                                                             ol-
          gmail_                                                                             gmail_re
          respon                                                                             sponsive
          sive_it                                                                            _items.z
          ems.zi                                                                             ip\gmail
          p\gmai                                                                             _respon
          l_resp                                                                             sive_ite
          onsive                                                                             ms.pst\u
          _items                                                                             rikaufma
          .pst\ur                                                                            n_at_gm
          ikaufm                                                                             ail-
          an_at_                                                                             com[004
          gmail-                                                        Insall,              ].pst_file
          com[0                                                         John<Joh             s\Top of
          04].pst                                                       n.Insall@            Personal
          _files\               Re:                                     stantec.c            Folders\
          Top of                Letter_S            Uri                 om>;                 sandiha
          Person                eeking_             Kaufm     Alan      mmcque               mmons_
          al                    Lifting_o           an<uri    Kosloff   eney@ko              at_yaho
    OLS_ Folder                 f_Cease     1/3/20 kaufm      <akosl    sloff.net<           o-
    URI00 s\sandi Privi   Email _Desist_    13      an@g      off@k     mmcque               com\[G
    00137 hamm lege       Messa Order.d     8:48:15 mail.co   osloff.   eney@ko              mail]\Se
192 25    ons_at d        ge    oc          AM      m>        net>      sloff.net>   False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 183 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                 Insall,           sponsive
          sive_it                                                John<J            _items.z
          ems.zi                                                 ohn.In            ip\gmail
          p\gmai                                                 sall@s            _respon
          l_resp                                                 tantec.           sive_ite
          onsive                                                 com>;             ms.pst\u
          _items                                                 urikauf           rikaufma
          .pst\ur                                                man@              n_at_gm
          ikaufm                                                 gmail.c           ail-
          an_at_                                                 om<ur             com[002
          gmail-                                                 ikaufm            ].pst_file
          com[0                                                  an@g              s\Top of
          02].pst                                                mail.c            Personal
          _files\                  Re:                           om>;              Folders\
          Top of                   Letter_S            Mary      akoslo            sandiha
          Person                   eeking_             Mquee     ff@kos            mmons_
          al              Email    Lifting_o           ney<m     loff.ne           at_yaho
    OLS_ Folder           Messa    f_Cease     1/3/20 mcque      t<akos            o-
    URI00 s\sandi Privi   ge[Att   _Desist_    13      eney@     loff@k            com\[G
    00114 hamm lege       achme    Order.d     11:05:4 kosloff   osloff.           mail]\Im
193 62    ons_at d        nts]     oc          0 AM .net>        net>      False   portant
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 184 of 295


            \Uri_K                                                                              \Uri_Ka
            aufma                                                                               ufman_a
            n_aol-                                                                              ol-
            gmail_                                                                              gmail_re
            respon                                                                              sponsive
            sive_it                                                                             _items.z
            ems.zi                                                                              ip\gmail
            p\gmai                                                                              _respon
            l_resp                                                                              sive_ite
            onsive                                                                              ms.pst\u
            _items                                                                              rikaufma
            .pst\ur          legal                                                              n_at_gm
            ikaufm           advice                                                             ail-
            an_at_           re                                                                 com[002
            gmail-           letter                                           Uri               ].pst_file
            com[0            to                                               Kaufm             s\Top of
            02].pst          DEEP                                             an                Personal
            _files\          request                                          (urikau           Folders\
            Top of           ing the                                          fman              sandiha
            Person           lifting                                Insall,   @gmai             mmons_
            al               of the                                 John<J    l.com)            at_yaho
    OLS_    Folder           Cease         See              1/3/20 ohn.In     <urika            o-
    URI00   s\sandi    Privi and     Email Below -          13      sall@st   ufman             com\[G
    00114   hamm       lege Desist Messa Please             12:09:2 antec.c   @gmai             mail]\Im
194 67      ons_at     d     Order ge      Advise           7 PM om>          l.com>    False   portant
            \Uri_K                                                                              \Uri_Ka
            aufma                                                                               ufman_a
            n_aol-                                                                              ol-
            gmail_                                                                              gmail_re
            respon                                                                              sponsive
            sive_it                                                                             _items.z
            ems.zi                                                            mcase             ip\aol_r
            p\aol_                                                            @jaco             esponsiv
            respon                                                            bicase.           e_items.
            sive_it                                                           com<              pst\msh
            ems.ps                                                            mcase             ah00001
            t\msha                                                            @jaco             1_at_aol-
            h0000                                                             bicase.           com.pst
            11_at_           legal                                            com>;             _files\To
            aol-             commu               Re:                          pjacob            p of
            com.ps           nicatio             Jacobi &                     i@jaco            Personal
            t_files\         n re                Case-              Dina      bicase.           Folders\
            Top of           retainin   Email    New                Deutsc    com<p             mshah0
    OLS_    Person           g the      Messa    Client     1/6/20 her<dd     jacobi            00011_a
    URI00   al         Privi firm of    ge[Att   Informa    13      lnd22     @jaco             t_-
    00026   Folder     lege Jacobi      achme    tion       11:12:4 @gmai     bicase.           com\INB
195 36      s\msh      d     & case     nts]     Request    7 AM l.com>       com>      False   OX
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 185 of 295


            \Uri_K                                                                                   \Uri_Ka
            aufma                                                                                    ufman_a
            n_aol-                                                                                   ol-
            gmail_                                                                                   gmail_re
            respon                                                                                   sponsive
            sive_it                                                                                  _items.z
            ems.zi                                                                                   ip\aol_r
            p\aol_                                                                                   esponsiv
            respon                                                                                   e_items.
            sive_it                                                                                  pst\msh
            ems.ps                                                                                   ah00001
            t\msha                                                                                   1_at_aol-
            h0000                                                                Paul                com.pst
            11_at_                                                               Jacobi<pj           _files\To
            aol-                          Re:                          UsaHa     acobi@ja            p of
            com.ps                        Jacobi &                     rmony     cobicase.           Personal
            t_files\                      Case-              Max       @gmai     com>;               Folders\
            Top of                        New                Case<     l.com<    Bobby               mshah0
    OLS_    Person                        Client     1/6/20 mcase      usahar    Shah<ms             00011_a
    URI00   al         Privi        Email Informa    13      @jaco     mony      hah0000             t_-
    00026   Folder     lege         Messa tion       1:59:14 bicase.   @gmai     11@aol.c            com\INB
196 37      s\msh      d     same   ge    Request    PM      com>      l.com>    om>         False   OX
            \Uri_K                                                                                   \Uri_Ka
            aufma                                                                                    ufman_a
            n_aol-                                                                                   ol-
            gmail_                                                                                   gmail_re
            respon                                                                                   sponsive
            sive_it                                                                                  _items.z
            ems.zi                                                                                   ip\gmail
            p\gmai                                                                                   _respon
            l_resp                                                                                   sive_ite
            onsive                                                                                   ms.pst\u
            _items                                                                                   rikaufma
            .pst\ur                                                                                  n_at_gm
            ikaufm                                                                                   ail-
            an_at_                                                                                   com[002
            gmail-                                                                                   ].pst_file
            com[0                                                                                    s\Top of
            02].pst                                                                                  Personal
            _files\                       Re:                          urikauf                       Folders\
            Top of                        English                      man@                          sandiha
            Person                        Station            Alan      gmail.c                       mmons_
            al                            Site               Kosloff   om<ur                         at_yaho
    OLS_    Folder                        Security   1/6/20 <alank     ikaufm                        o-
    URI00   s\sandi    Privi        Email Plan       13      osloff    an@g                          com\[G
    00115   hamm       lege         Messa 010520     6:56:44 @gmai     mail.c                        mail]\Im
197 29      ons_at     d            ge    13         PM      l.com>    om>                   False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 186 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[002
          gmail-                                                               ].pst_file
          com[0                                                                s\Top of
          02].pst                                                              Personal
          _files\               Re:                                            Folders\
          Top of                English            Uri                         sandiha
          Person                Station            Kaufm     Alan              mmons_
          al                    Site               an<uri    Kosloff           at_yaho
    OLS_ Folder                 Security   1/6/20 kaufm      <akosl            o-
    URI00 s\sandi Privi   Email Plan       13      an@g      off@k             com\[G
    00115 hamm lege       Messa 010520     6:59:43 mail.co   osloff.           mail]\Im
198 30    ons_at d        ge    13         PM      m>        net>      False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 187 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[002
          gmail-                                                               ].pst_file
          com[0                                                                s\Top of
          02].pst                                                              Personal
          _files\               Re:                          urikauf           Folders\
          Top of                English                      man@              sandiha
          Person                Station            Alan      gmail.c           mmons_
          al                    Site               Kosloff   om<ur             at_yaho
    OLS_ Folder                 Security   1/6/20 <alank     ikaufm            o-
    URI00 s\sandi Privi   Email Plan       13      osloff    an@g              com\[G
    00115 hamm lege       Messa 010520     7:01:22 @gmai     mail.c            mail]\Im
199 31    ons_at d        ge    13         PM      l.com>    om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 188 of 295


          \Uri_K                                                                       \Uri_Ka
          aufma                                                                        ufman_a
          n_aol-                                                                       ol-
          gmail_                                                                       gmail_re
          respon                                                                       sponsive
          sive_it                                                                      _items.z
          ems.zi                                                                       ip\gmail
          p\gmai                                                       USA             _respon
          l_resp                                                       Harmo           sive_ite
          onsive                                                       ny<usa          ms.pst\u
          _items                                                       harmo           rikaufma
          .pst\ur                                                      ny@gm           n_at_gm
          ikaufm                                                       ail.com         ail-
          an_at_                                             Alan      >; Paul         com[004
          gmail-                                             Kosloff   Jacobi<         ].pst_file
          com[0                                              <akosl    pjacobi         s\Top of
          04].pst                                            off@k     @jacob          Personal
          _files\                                            osloff.   icase.c         Folders\
          Top of                                   Uri       net>;     om>;            sandiha
          Person                                   Kaufm     Insall,   Max             mmons_
          al              Email                    an<uri    John<j    Case<           at_yaho
    OLS_ Folder           Messa            1/7/20 kaufm      ohn.in    mcase           o-
    URI00 s\sandi Privi   ge[Att           13      an@g      sall@s    @jacob          com\[G
    00137 hamm lege       achme    Hearing 10:23:5 mail.co   tantec.   icase.c         mail]\Se
200 50    ons_at d        nts]     Today 4 AM m>             com>      om>     False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 189 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                          Uri                 ail-
          an_at_                                          Kaufm               com[002
          gmail-                                          an<uri              ].pst_file
          com[0                                           kaufm               s\Top of
          02].pst                                         an@g                Personal
          _files\                                         mail.c              Folders\
          Top of                                          om>;                sandiha
          Person                                Insall,   Alan                mmons_
          al                                    John<J    Kosloff             at_yaho
    OLS_ Folder                         1/7/20 ohn.In     <akosl              o-
    URI00 s\sandi Privi   Email RE:     13      sall@st   off@k               com\[G
    00115 hamm lege       Messa Hearing 10:34:1 antec.c   osloff.             mail]\Im
201 41    ons_at d        ge    Today 3 AM om>            net>        False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 190 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[002
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          02].pst                                                             Personal
          _files\                                         urikauf             Folders\
          Top of                                          man@                sandiha
          Person                                Alan      gmail.c             mmons_
          al                                    Kosloff   om<ur               at_yaho
    OLS_ Folder                         1/7/20 <alank     ikaufm              o-
    URI00 s\sandi Privi   Email Re:     13      osloff    an@g                com\[G
    00115 hamm lege       Messa Hearing 11:42:2 @gmai     mail.c              mail]\Im
202 43    ons_at d        ge    Today 9 AM l.com>         om>         False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 191 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                                  gmail_re
          respon                                                                  sponsive
          sive_it                                                                 _items.z
          ems.zi                                                                  ip\gmail
          p\gmai                                                                  _respon
          l_resp                                                                  sive_ite
          onsive                                                                  ms.pst\u
          _items                                                                  rikaufma
          .pst\ur                                                                 n_at_gm
          ikaufm                                                                  ail-
          an_at_                                                                  com[004
          gmail-                                                                  ].pst_file
          com[0                                                                   s\Top of
          04].pst                                                                 Personal
          _files\                                                                 Folders\
          Top of        legal                          Uri       USA              sandiha
          Person        advice                         Kaufm     Harmo            mmons_
          al            re                             an<uri    ny<usa           at_yaho
    OLS_ Folder         remedi                 1/26/2 kaufm      harmo            o-
    URI00 s\sandi Privi ating Email Fwd:       013     an@g      ny@g             com\[G
    00137 hamm lege the A Messa Fwd:           5:38:06 mail.co   mail.c           mail]\Se
203 65    ons_at d      Parcel ge   Parcel A   PM      m>        om>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 192 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                'Uri              gmail_re
          respon                                                Kaufm             sponsive
          sive_it                                               an'<uri           _items.z
          ems.zi                                                kaufm             ip\gmail
          p\gmai                                                an@g              _respon
          l_resp                                                mail.c            sive_ite
          onsive                                                om>;              ms.pst\u
          _items                                                'UsaHa            rikaufma
          .pst\ur                                               rmony             n_at_gm
          ikaufm                                                @gmai             ail-
          an_at_                                                l.com'            com[002
          gmail-                                                <usah             ].pst_file
          com[0                                                 armon             s\Top of
          02].pst                                      Micha    y@gm              Personal
          _files\                                      el       ail.co            Folders\
          Top of        legal                          Connel   m>;               sandiha
          Person        commu                          ly<con   'Bobby            mmons_
          al            nicatio                        nelly@   Shah'<            at_yaho
    OLS_ Folder         n re                 2/18/2    murph    mshah             o-
    URI00 s\sandi Privi Geoqu Email          013       ykarpi   00001             com\[G
    00117 hamm lege est         Messa Geoque 11:35:4   e.com    1@aol             mail]\Im
204 47    ons_at d      billing ge    st     2 AM      >        .com>     False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 193 of 295


          \Uri_K                                                                           \Uri_Ka
          aufma                                                                            ufman_a
          n_aol-                                                                           ol-
          gmail_                                                                           gmail_re
          respon                                                                           sponsive
          sive_it                                                                          _items.z
          ems.zi                                                                           ip\gmail
          p\gmai                                                                           _respon
          l_resp                                                                           sive_ite
          onsive                                              Micha                        ms.pst\u
          _items                                              el                           rikaufma
          .pst\ur                                             Connel                       n_at_gm
          ikaufm                                              ly<con                       ail-
          an_at_                                              nelly@                       com[004
          gmail-                                              murph    UsaHarm             ].pst_file
          com[0                                               ykarpi   ony@gm              s\Top of
          04].pst                                             e.com    ail.com<            Personal
          _files\                                             >;       usaharm             Folders\
          Top of                                    Uri       dinaln   ony@gm              sandiha
          Person                                    Kaufm     d@yah    ail.com>;           mmons_
          al                                        an<uri    oo.co    Bobby               at_yaho
    OLS_ Folder                             2/18/2 kaufm      m<din    Shah<ms             o-
    URI00 s\sandi Privi        Email Re:    013     an@g      alnd@    hah0000             com\[G
    00138 hamm lege            Messa Geoque 1:06:14 mail.co   yahoo.   11@aol.c            mail]\Se
205 05    ons_at d      same   ge    st     PM      m>        com>     om>         False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 194 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                'Uri              gmail_re
          respon                                                Kaufm             sponsive
          sive_it                                               an'<uri           _items.z
          ems.zi                                                kaufm             ip\gmail
          p\gmai                                                an@g              _respon
          l_resp                                                mail.c            sive_ite
          onsive                                                om>;              ms.pst\u
          _items                                                'UsaHa            rikaufma
          .pst\ur                                               rmony             n_at_gm
          ikaufm                                                @gmai             ail-
          an_at_                                                l.com'            com[002
          gmail-                                                <usah             ].pst_file
          com[0                                                 armon             s\Top of
          02].pst                                      Micha    y@gm              Personal
          _files\                                      el       ail.co            Folders\
          Top of                                       Connel   m>;               sandiha
          Person                                       ly<con   'Bobby            mmons_
          al                   Email                   nelly@   Shah'<            at_yaho
    OLS_ Folder                Messa            2/18/2 murph    mshah             o-
    URI00 s\sandi Privi        ge[Att affidavit 013    ykarpi   00001             com\[G
    00117 hamm lege            achme geoques 1:44:07 e.com      1@aol             mail]\Im
206 48    ons_at d      same   nts]   t.doc     PM     >        .com>     False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 195 of 295


          \Uri_K                                                                            \Uri_Ka
          aufma                                                                             ufman_a
          n_aol-                                                                            ol-
          gmail_                                                                            gmail_re
          respon                                                                            sponsive
          sive_it                                                                           _items.z
          ems.zi                                                                            ip\gmail
          p\gmai                                                                            _respon
          l_resp                                                                            sive_ite
          onsive                                                                            ms.pst\u
          _items                                                                            rikaufma
          .pst\ur                                                                           n_at_gm
          ikaufm                                                                            ail-
          an_at_                                                                            com[004
          gmail-                                                        UsaHarm             ].pst_file
          com[0                                                         ony@gm              s\Top of
          04].pst                                              Micha    ail.com<            Personal
          _files\                                              el       usaharm             Folders\
          Top of                                      Uri      Connel   ony@gm              sandiha
          Person                                      Kaufm    ly<con   ail.com>;           mmons_
          al                                          an<uri   nelly@   Bobby               at_yaho
    OLS_ Folder                      Re:       2/18/2 kaufm    murph    Shah<ms             o-
    URI00 s\sandi Privi        Email affidavit 013    an@g     ykarpi   hah0000             com\[G
    00138 hamm lege            Messa geoques 2:20:47 mail.co   e.com    11@aol.c            mail]\Se
207 07    ons_at d      same   ge    t.doc     PM     m>       >        om>         False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 196 of 295


          \Uri_K                                                                            \Uri_Ka
          aufma                                                                             ufman_a
          n_aol-                                                                            ol-
          gmail_                                                                            gmail_re
          respon                                                                            sponsive
          sive_it                                                                           _items.z
          ems.zi                                                                            ip\gmail
          p\gmai                                                                            _respon
          l_resp                                                                            sive_ite
          onsive                                                                            ms.pst\u
          _items                                                                            rikaufma
          .pst\ur                                                                           n_at_gm
          ikaufm                                                                            ail-
          an_at_                                                                            com[004
          gmail-                                                        UsaHarm             ].pst_file
          com[0                                                         ony@gm              s\Top of
          04].pst                                              Micha    ail.com<            Personal
          _files\                                              el       usaharm             Folders\
          Top of                                      Uri      Connel   ony@gm              sandiha
          Person                                      Kaufm    ly<con   ail.com>;           mmons_
          al                                          an<uri   nelly@   Bobby               at_yaho
    OLS_ Folder                      Re:       2/19/2 kaufm    murph    Shah<ms             o-
    URI00 s\sandi Privi        Email affidavit 013    an@g     ykarpi   hah0000             com\[G
    00138 hamm lege            Messa geoques 10:43:2 mail.co   e.com    11@aol.c            mail]\Se
208 08    ons_at d      same   ge    t.doc     7 AM m>         >        om>         False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 197 of 295


          \Uri_K                                                                     \Uri_Ka
          aufma                                                                      ufman_a
          n_aol-                                                                     ol-
          gmail_                                                                     gmail_re
          respon                                           Alan                      sponsive
          sive_it                                          Kosloff                   _items.z
          ems.zi                                           <akosl                    ip\gmail
          p\gmai                                           off@k                     _respon
          l_resp                                           osloff.                   sive_ite
          onsive                                           net>;                     ms.pst\u
          _items                                           mmcq                      rikaufma
          .pst\ur                                          ueene                     n_at_gm
          ikaufm                                           y@kos                     ail-
          an_at_                                           loff.ne                   com[004
          gmail-                                           t<mmc                     ].pst_file
          com[0                                            queen                     s\Top of
          04].pst                                          ey@ko                     Personal
          _files\                                          sloff.n                   Folders\
          Top of                                 Uri       et>;      USA             sandiha
          Person                                 Kaufm     Insall,   Harmo           mmons_
          al                                     an<uri    John<j    ny<usa          at_yaho
    OLS_ Folder                          2/20/2 kaufm      ohn.in    harmo           o-
    URI00 s\sandi Privi   Email Demo of 013      an@g      sall@s    ny@gm           com\[G
    00138 hamm lege       Messa Building 5:54:13 mail.co   tantec.   ail.com         mail]\Se
209 12    ons_at d        ge    s        PM      m>        com>      >       False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 198 of 295


          \Uri_K                                           'urikau            \Uri_Ka
          aufma                                            fman               ufman_a
          n_aol-                                           @gmai              ol-
          gmail_                                           l.com'             gmail_re
          respon                                           <urika             sponsive
          sive_it                                          ufman              _items.z
          ems.zi                                           @gmai              ip\gmail
          p\gmai                                           l.com>             _respon
          l_resp                                           ;                  sive_ite
          onsive                                           'akoslo            ms.pst\u
          _items                                           ff@kos             rikaufma
          .pst\ur                                          loff.ne            n_at_gm
          ikaufm                                           t'<ako             ail-
          an_at_                                           sloff@             com[002
          gmail-                                           kosloff            ].pst_file
          com[0                                            .net>;             s\Top of
          02].pst                                          'mmcq              Personal
          _files\                                          ueene              Folders\
          Top of                                           y@kos              sandiha
          Person                                 Insall,   loff.ne            mmons_
          al                                     John<J    t'<mm              at_yaho
    OLS_ Folder                 Re:      2/20/2 ohn.In     cquee              o-
    URI00 s\sandi Privi   Email Demo of 013      sall@st   ney@k              com\[G
    00117 hamm lege       Messa Building 6:07:28 antec.c   osloff.            mail]\Im
210 69    ons_at d        ge    s        PM      om>       net>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 199 of 295


          \Uri_K                                                                          \Uri_Ka
          aufma                                                                           ufman_a
          n_aol-                                                                          ol-
          gmail_                                                                          gmail_re
          respon                                                                          sponsive
          sive_it                                                                         _items.z
          ems.zi                                                                          ip\gmail
          p\gmai                                                                          _respon
          l_resp                                                                          sive_ite
          onsive                                                                          ms.pst\u
          _items                                                                          rikaufma
          .pst\ur                                                                         n_at_gm
          ikaufm                                                                          ail-
          an_at_                                                                          com[004
          gmail-                                                     akosloff             ].pst_file
          com[0                                                      @kosloff.            s\Top of
          04].pst                                                    net<akos             Personal
          _files\                                                    loff@kosl            Folders\
          Top of                                 Uri                 off.net>;            sandiha
          Person                                 Kaufm     Insall,   mmcque               mmons_
          al                                     an<uri    John<J    eney@ko              at_yaho
    OLS_ Folder                 Re:      2/20/2 kaufm      ohn.In    sloff.net<           o-
    URI00 s\sandi Privi   Email Demo of 013      an@g      sall@s    mmcque               com\[G
    00138 hamm lege       Messa Building 6:20:57 mail.co   tantec.   eney@ko              mail]\Se
211 13    ons_at d        ge    s        PM      m>        com>      sloff.net>   False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 200 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[002
          gmail-                                                                   ].pst_file
          com[0                                                                    s\Top of
          02].pst                                                                  Personal
          _files\                                                                  Folders\
          Top of                                         Paul     Uri              sandiha
          Person                                         Jacobi   Kaufm            mmons_
          al            Legal    Email                   <pjaco   an<uri           at_yaho
    OLS_ Folder         Advice   Messa           2/28/2 bi@jac    kaufm            o-
    URI00 s\sandi Privi re the   ge[Att          013     obicas   an@g             com\[G
    00117 hamm lege UI           achme    FW:    8:22:07 e.com    mail.c           mail]\Im
212 80    ons_at d      escrow   nts]     Escrow AM      >        om>      False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 201 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[002
          gmail-                                                               ].pst_file
          com[0                                                                s\Top of
          02].pst                                                              Personal
          _files\                                                              Folders\
          Top of                                    Uri       Paul             sandiha
          Person                                    Kaufm     Jacobi           mmons_
          al                                        an<uri    <pjaco           at_yaho
    OLS_ Folder                             2/28/2 kaufm      bi@jac           o-
    URI00 s\sandi Privi        Email        013     an@g      obicas           com\[G
    00117 hamm lege            Messa Re:    8:32:37 mail.co   e.com            mail]\Im
213 81    ons_at d      same   ge    Escrow AM      m>        >        False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 202 of 295


          \Uri_K                                                                 \Uri_Ka
          aufma                                                                  ufman_a
          n_aol-                                                                 ol-
          gmail_                                                                 gmail_re
          respon                                                                 sponsive
          sive_it                                                                _items.z
          ems.zi                                                                 ip\gmail
          p\gmai                                                                 _respon
          l_resp                                                                 sive_ite
          onsive                                                                 ms.pst\u
          _items                                                                 rikaufma
          .pst\ur                                                                n_at_gm
          ikaufm                                                                 ail-
          an_at_                                                                 com[002
          gmail-                                                                 ].pst_file
          com[0                                                                  s\Top of
          02].pst                                                                Personal
          _files\                                                                Folders\
          Top of                                       Paul     Uri              sandiha
          Person                                       Jacobi   Kaufm            mmons_
          al                   Email                   <pjaco   an<uri           at_yaho
    OLS_ Folder                Messa           2/28/2 bi@jac    kaufm            o-
    URI00 s\sandi Privi        ge[Att          013     obicas   an@g             com\[G
    00117 hamm lege            achme    FW:    10:59:0 e.com    mail.c           mail]\Im
214 84    ons_at d      same   nts]     Escrow 0 AM >           om>      False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 203 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[002
          gmail-                                                               ].pst_file
          com[0                                                                s\Top of
          02].pst                                                              Personal
          _files\                                                              Folders\
          Top of                                    Uri       Paul             sandiha
          Person                                    Kaufm     Jacobi           mmons_
          al                                        an<uri    <pjaco           at_yaho
    OLS_ Folder                             2/28/2 kaufm      bi@jac           o-
    URI00 s\sandi Privi        Email        013     an@g      obicas           com\[G
    00117 hamm lege            Messa Re:    11:18:0 mail.co   e.com            mail]\Im
215 85    ons_at d      same   ge    Escrow 5 AM m>           >        False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 204 of 295


          \Uri_K                                                                      \Uri_Ka
          aufma                                                                       ufman_a
          n_aol-                                                                      ol-
          gmail_                                                                      gmail_re
          respon                                                                      sponsive
          sive_it                                                                     _items.z
          ems.zi                                                                      ip\gmail
          p\gmai                                                                      _respon
          l_resp                                                                      sive_ite
          onsive                                                                      ms.pst\u
          _items                                                                      rikaufma
          .pst\ur                                                                     n_at_gm
          ikaufm                                                                      ail-
          an_at_                                                                      com[002
          gmail-                                                                      ].pst_file
          com[0                                                                       s\Top of
          02].pst                                                                     Personal
          _files\                                                                     Folders\
          Top of                                Paul     Uri                          sandiha
          Person                                Jacobi   Kaufm                        mmons_
          al                                    <pjaco   an<uri   Max                 at_yaho
    OLS_ Folder                         3/1/20 bi@jac    kaufm    Case<mc             o-
    URI00 s\sandi Privi   Email         13      obicas   an@g     ase@jac             com\[G
    00117 hamm lege       Messa FW:     10:56:0 e.com    mail.c   obicase.c           mail]\Im
216 90    ons_at d        ge    Costs   2 AM >           om>      om>         False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 205 of 295


          \Uri_K                                                                            \Uri_Ka
          aufma                                                                             ufman_a
          n_aol-                                                                            ol-
          gmail_                                                                            gmail_re
          respon                                                                            sponsive
          sive_it                                                                           _items.z
          ems.zi                                                                            ip\gmail
          p\gmai                                                                            _respon
          l_resp                                              Mshah                         sive_ite
          onsive                                              00001                         ms.pst\u
          _items                                              1@aol     urikaufm            rikaufma
          .pst\ur                                             .com<     an@gmai             n_at_gm
          ikaufm                                              Mshah     l.com<uri           ail-
          an_at_                                              00001     kaufman             com[002
          gmail-                                              1@aol     @gmail.c            ].pst_file
          com[0                                               .com>;    om>;                s\Top of
          02].pst                                             mccqu     Alan                Personal
          _files\                                             eeney     Kosloff<a           Folders\
          Top of                Re: Fwd:            Mary      @kosl     kosloff@            sandiha
          Person                Complia             Mquee     off.net   kosloff.n           mmons_
          al                    nce                 ney<m     <mccq     et>; Paul           at_yaho
    OLS_ Folder                 Certifica   3/5/20 mcque      ueene     Jacobi<pj           o-
    URI00 s\sandi Privi   Email tion        13      eney@     y@kos     acobi@ja            com\[G
    00118 hamm lege       Messa 02/28/2     11:34:3 kosloff   loff.ne   cobicase.           mail]\Im
217 08    ons_at d        ge    013         6 AM .net>        t>        com>        False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 206 of 295


          \Uri_K                                                                      \Uri_Ka
          aufma                                                                       ufman_a
          n_aol-                                                                      ol-
          gmail_                                                                      gmail_re
          respon                                                                      sponsive
          sive_it                                                                     _items.z
          ems.zi                                                                      ip\gmail
          p\gmai                                                                      _respon
          l_resp                                                                      sive_ite
          onsive                                                                      ms.pst\u
          _items                                                                      rikaufma
          .pst\ur                                                                     n_at_gm
          ikaufm                                                                      ail-
          an_at_                                                                      com[002
          gmail-                                                  urikaufm            ].pst_file
          com[0                                                   an@gmai             s\Top of
          02].pst                                                 l.com<uri           Personal
          _files\                                         Mshah   kaufman             Folders\
          Top of                                 Mary     00001   @gmail.c            sandiha
          Person                                 Mquee    1@aol   om>;                mmons_
          al                    Re:              ney<m    .com<   Alan                at_yaho
    OLS_ Folder                 Certifica 3/5/20 mcque    Mshah   Kosloff<a           o-
    URI00 s\sandi Privi   Email te of     13     eney@    00001   kosloff@            com\[G
    00118 hamm lege       Messa complia 3:28:54 kosloff   1@aol   kosloff.n           mail]\Im
218 10    ons_at d        ge    nce       PM     .net>    .com>   et>         False   portant
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 207 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                             'Uri              _items.z
          ems.zi                                              Kaufm             ip\gmail
          p\gmai                                              an'<uri           _respon
          l_resp                                              kaufm             sive_ite
          onsive                                              an@g              ms.pst\u
          _items                                              mail.c            rikaufma
          .pst\ur                                             om>;              n_at_gm
          ikaufm                                              'USA              ail-
          an_at_                                              Harmo             com[002
          gmail-                                              ny'<us            ].pst_file
          com[0                                               aharm             s\Top of
          02].pst                                    Micha    ony@g             Personal
          _files\                                    el       mail.c            Folders\
          Top of        Legal                        Connel   om>;              sandiha
          Person        Advice                       ly<con   'Bobby            mmons_
          al            re                           nelly@   Shah'<            at_yaho
    OLS_ Folder         Geoqu              3/7/20    murph    mshah             o-
    URI00 s\sandi Privi est    Email       13        ykarpi   00001             com\[G
    00118 hamm lege litigatio Messa Geoque 2:48:24   e.com    1@aol             mail]\Im
219 48    ons_at d      n      ge    st    PM        >        .com>     False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 208 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                       'Uri                  _items.z
          ems.zi                                        Kaufm                 ip\gmail
          p\gmai                                        an'<uri               _respon
          l_resp                                        kaufm                 sive_ite
          onsive                                        an@g                  ms.pst\u
          _items                                        mail.c                rikaufma
          .pst\ur                                       om>;                  n_at_gm
          ikaufm                                        'USA                  ail-
          an_at_                                        Harmo                 com[002
          gmail-                                        ny'<us                ].pst_file
          com[0                                         aharm                 s\Top of
          02].pst                              Micha    ony@g                 Personal
          _files\                              el       mail.c                Folders\
          Top of                               Connel   om>;                  sandiha
          Person                               ly<con   'Bobby                mmons_
          al                                   nelly@   Shah'<                at_yaho
    OLS_ Folder                        3/7/20 murph     mshah                 o-
    URI00 s\sandi Privi   Email        13      ykarpi   00001                 com\[G
    00118 hamm lege       Messa Geoque 3:21:06 e.com    1@aol                 mail]\Im
220 49    ons_at d        ge    st     PM      >        .com>         False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 209 of 295


          \Uri_K                                                                     \Uri_Ka
          aufma                                                                      ufman_a
          n_aol-                                                                     ol-
          gmail_                                                                     gmail_re
          respon                                                                     sponsive
          sive_it                                                                    _items.z
          ems.zi                                                                     ip\gmail
          p\gmai                                                                     _respon
          l_resp                                                                     sive_ite
          onsive                                                                     ms.pst\u
          _items                                                                     rikaufma
          .pst\ur                                                                    n_at_gm
          ikaufm                                                                     ail-
          an_at_                                                                     com[004
          gmail-                                                                     ].pst_file
          com[0                                                   USA                s\Top of
          04].pst                                        Micha    Harmony            Personal
          _files\                                        el       <usahar            Folders\
          Top of                               Uri       Connel   mony@g             sandiha
          Person                               Kaufm     ly<con   mail.com           mmons_
          al                                   an<uri    nelly@   >; Bobby           at_yaho
    OLS_ Folder                        3/7/20 kaufm      murph    Shah<ms            o-
    URI00 s\sandi Privi   Email Re:    13      an@g      ykarpi   hah0000            com\[G
    00138 hamm lege       Messa Geoque 4:02:33 mail.co   e.com    11@aol.c           mail]\Se
221 56    ons_at d        ge    st     PM      m>        >        om>        False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 210 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                         'Uri                _items.z
          ems.zi                                          Kaufm               ip\gmail
          p\gmai                                          an'<uri             _respon
          l_resp                                          kaufm               sive_ite
          onsive                                          an@g                ms.pst\u
          _items                                          mail.c              rikaufma
          .pst\ur                                         om>;                n_at_gm
          ikaufm                                          'USA                ail-
          an_at_                                          Harmo               com[003
          gmail-                                          ny'<us              ].pst_file
          com[0                                           aharm               s\Top of
          03].pst                                Micha    ony@g               Personal
          _files\                                el       mail.c              Folders\
          Top of                                 Connel   om>;                sandiha
          Person                                 ly<con   'Bobby              mmons_
          al                                     nelly@   Shah'<              at_yaho
    OLS_ Folder                          3/15/2 murph     mshah               o-
    URI00 s\sandi Privi   Email          013     ykarpi   00001               com\[G
    00122 hamm lege       Messa Ball     2:43:04 e.com    1@aol               mail]\Im
222 05    ons_at d        ge    Island   PM      >        .com>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 211 of 295


          \Uri_K                                                                       \Uri_Ka
          aufma                                                                        ufman_a
          n_aol-                                                                       ol-
          gmail_                                                                       gmail_re
          respon                                                                       sponsive
          sive_it                                                                      _items.z
          ems.zi                                                                       ip\gmail
          p\gmai                                                                       _respon
          l_resp                                                                       sive_ite
          onsive                                                                       ms.pst\u
          _items                                                                       rikaufma
          .pst\ur                                                                      n_at_gm
          ikaufm                                                                       ail-
          an_at_                                                                       com[004
          gmail-                                                                       ].pst_file
          com[0                                                     USA                s\Top of
          04].pst                                          Micha    Harmony            Personal
          _files\                                          el       <usahar            Folders\
          Top of                                 Uri       Connel   mony@g             sandiha
          Person                                 Kaufm     ly<con   mail.com           mmons_
          al                                     an<uri    nelly@   >; Bobby           at_yaho
    OLS_ Folder                          3/15/2 kaufm      murph    Shah<ms            o-
    URI00 s\sandi Privi   Email          013     an@g      ykarpi   hah0000            com\[G
    00138 hamm lege       Messa Re: Ball 3:01:06 mail.co   e.com    11@aol.c           mail]\Se
223 70    ons_at d        ge    Island PM        m>        >        om>        False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 212 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                                    ail-
          an_at_                                                                    com[003
          gmail-                                                                    ].pst_file
          com[0                                                                     s\Top of
          03].pst                                                                   Personal
          _files\                                                 urikauf           Folders\
          Top of        legal                                     man@              sandiha
          Person        commu                           Alan      gmail.c           mmons_
          al            nicatio Email                   Kosloff   om<ur             at_yaho
    OLS_ Folder         ns re   Messa           3/25/2 <alank     ikaufm            o-
    URI00 s\sandi Privi site    ge[Att          013     osloff    an@g              com\[G
    00125 hamm lege securit achme Fwd: ES       1:10:09 @gmai     mail.c            mail]\Im
224 49    ons_at d      y       nts]   status   PM      l.com>    om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 213 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[004
          gmail-                                                                   ].pst_file
          com[0                                                                    s\Top of
          04].pst                                                                  Personal
          _files\                                                                  Folders\
          Top of                                       Uri                         sandiha
          Person                                       Kaufm     Alan              mmons_
          al                   Email                   an<uri    Kosloff           at_yaho
    OLS_ Folder                Messa           3/25/2 kaufm      <akosl            o-
    URI00 s\sandi Privi        ge[Att          013     an@g      off@k             com\[G
    00138 hamm lege            achme Re: ES    1:18:20 mail.co   osloff.           mail]\Se
225 71    ons_at d      same   nts]   status   PM      m>        net>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 214 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                 Uri                ail-
          an_at_                                                 Kaufm              com[003
          gmail-                                                 an<uri             ].pst_file
          com[0                                                  kaufm              s\Top of
          03].pst                                                an@g               Personal
          _files\                                                mail.c             Folders\
          Top of                                                 om>;               sandiha
          Person                                       Alan      John               mmons_
          al                   Email                   Kosloff   Insall<j           at_yaho
    OLS_ Folder                Messa           3/25/2 <alank     ohn.in             o-
    URI00 s\sandi Privi        ge[Att          013     osloff    sall@s             com\[G
    00125 hamm lege            achme Re: ES    1:30:43 @gmai     tantec.            mail]\Im
226 82    ons_at d      same   nts]   status   PM      l.com>    com>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 215 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                  Paul              ail-
          an_at_                                                  Jacobi            com[004
          gmail-                                                  <pjaco            ].pst_file
          com[0                                                   bi@jac            s\Top of
          04].pst                                                 obicas            Personal
          _files\                                                 e.com             Folders\
          Top of                                        Uri       >;                sandiha
          Person                                        Kaufm     Insall,           mmons_
          al                   Email                    an<uri    John<j            at_yaho
    OLS_ Folder                Messa            3/25/2 kaufm      ohn.in            o-
    URI00 s\sandi Privi        ge[Att           013     an@g      sall@s            com\[G
    00138 hamm lege            achme    Fwd: ES 1:31:31 mail.co   tantec.           mail]\Se
227 73    ons_at d      same   nts]     status PM       m>        com>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 216 of 295


          \Uri_K                                                                                \Uri_Ka
          aufma                                                                                 ufman_a
          n_aol-                                                                                ol-
          gmail_                                                                                gmail_re
          respon                                                                                sponsive
          sive_it                                                                               _items.z
          ems.zi                                                                                ip\gmail
          p\gmai                                                                                _respon
          l_resp                                                                                sive_ite
          onsive                                                                                ms.pst\u
          _items                                                                                rikaufma
          .pst\ur                                                Alan                           n_at_gm
          ikaufm                                                 Kosloff                        ail-
          an_at_                                                 <akosl                         com[004
          gmail-                                                 off@k                          ].pst_file
          com[0                                                  osloff.                        s\Top of
          04].pst                                                net>;                          Personal
          _files\                                                mshah                          Folders\
          Top of                                       Uri       00001                          sandiha
          Person                                       Kaufm     1@aol                          mmons_
          al                   Email                   an<uri    .com<     John                 at_yaho
    OLS_ Folder                Messa           3/25/2 kaufm      mshah     Insall<joh           o-
    URI00 s\sandi Privi        ge[Att          013     an@g      00001     n.insall@            com\[G
    00138 hamm lege            achme Re: ES    1:32:03 mail.co   1@aol     stantec.c            mail]\Se
228 74    ons_at d      same   nts]   status   PM      m>        .com>     om>          False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 217 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                                  gmail_re
          respon                                                                  sponsive
          sive_it                                                                 _items.z
          ems.zi                                                                  ip\gmail
          p\gmai                                                                  _respon
          l_resp                                                                  sive_ite
          onsive                                                                  ms.pst\u
          _items                                                                  rikaufma
          .pst\ur                                                Uri              n_at_gm
          ikaufm                                                 Kaufm            ail-
          an_at_                                                 an<uri           com[003
          gmail-                                                 kaufm            ].pst_file
          com[0                                                  an@g             s\Top of
          03].pst                                                mail.c           Personal
          _files\                                                om>;             Folders\
          Top of                                                 Paul             sandiha
          Person                                       Insall,   Jacobi           mmons_
          al                   Email                   John<J    <pjaco           at_yaho
    OLS_ Folder                Messa           3/25/2 ohn.In     bi@jac           o-
    URI00 s\sandi Privi        ge[Att          013     sall@st   obicas           com\[G
    00126 hamm lege            achme RE: ES    2:34:30 antec.c   e.com            mail]\Im
229 05    ons_at d      same   nts]   status   PM      om>       >        False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 218 of 295


          \Uri_K                                                                                \Uri_Ka
          aufma                                                                                 ufman_a
          n_aol-                                                                                ol-
          gmail_                                                                                gmail_re
          respon                                                            Alan                sponsive
          sive_it                                                           Kosloff<a           _items.z
          ems.zi                                                            kosloff@            ip\gmail
          p\gmai                                                            kosloff.n           _respon
          l_resp                                                            et>;                sive_ite
          onsive                                                            Mshah00             ms.pst\u
          _items                                                            0011@a              rikaufma
          .pst\ur                                                           ol.com<             n_at_gm
          ikaufm                                                            Mshah00             ail-
          an_at_                                                            0011@a              com[003
          gmail-                                                            ol.com>;            ].pst_file
          com[0                                                             Paul                s\Top of
          03].pst                                                           Jacobi<pj           Personal
          _files\                                                           acobi@ja            Folders\
          Top of                                         Mary      Uri      cobicase.           sandiha
          Person                                         Mquee     Kaufm    com>;               mmons_
          al                   Email                     ney<m     an<uri   John                at_yaho
    OLS_ Folder                Messa             3/25/2 mcque      kaufm    Insall<Jo           o-
    URI00 s\sandi Privi        ge[Att   Re: Fwd: 013     eney@     an@g     hn.Insall           com\[G
    00126 hamm lege            achme    ES       2:40:15 kosloff   mail.c   @stantec            mail]\Im
230 16    ons_at d      same   nts]     status PM        .net>     om>      .com>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 219 of 295


          \Uri_K                                                                              \Uri_Ka
          aufma                                                                               ufman_a
          n_aol-                                                                              ol-
          gmail_                                                                              gmail_re
          respon                                                          Alan                sponsive
          sive_it                                                         Kosloff<a           _items.z
          ems.zi                                                          kosloff@            ip\gmail
          p\gmai                                                          kosloff.n           _respon
          l_resp                                                          et>;                sive_ite
          onsive                                                          <Mshah0             ms.pst\u
          _items                                                          00011@              rikaufma
          .pst\ur                                                         aol.com>            n_at_gm
          ikaufm                                                          <Mshah0             ail-
          an_at_                                                          00011@              com[003
          gmail-                                                          aol.com>            ].pst_file
          com[0                                                           ; Paul              s\Top of
          03].pst                                                         Jacobi<pj           Personal
          _files\                                               Mary      acobi@ja            Folders\
          Top of                                      Uri       Mque      cobicase.           sandiha
          Person                                      Kaufm     eney<     com>;               mmons_
          al                                          an<uri    mmcq      John                at_yaho
    OLS_ Folder                               3/25/2 kaufm      ueene     Insall<Jo           o-
    URI00 s\sandi Privi        Email          013     an@g      y@kos     hn.Insall           com\[G
    00126 hamm lege            Messa Re: ES   2:47:27 mail.co   loff.ne   @stantec            mail]\Im
231 27    ons_at d      same   ge    status   PM      m>        t>        .com>       False   portant
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 220 of 295


            \Uri_K                                                                                    \Uri_Ka
            aufma                                                                                     ufman_a
            n_aol-                                                                                    ol-
            gmail_                                                                                    gmail_re
            respon                                                                                    sponsive
            sive_it                                                                                   _items.z
            ems.zi                                                                                    ip\gmail
            p\gmai                                                                                    _respon
            l_resp                                                                                    sive_ite
            onsive                                                                                    ms.pst\u
            _items                                                                                    rikaufma
            .pst\ur                                                                                   n_at_gm
            ikaufm                                                                                    ail-
            an_at_                                                                                    com[003
            gmail-                                                                                    ].pst_file
            com[0                                                                                     s\Top of
            03].pst                                                                                   Personal
            _files\                                             Mshah    urikauf                      Folders\
            Top of                                              00001    man@                         sandiha
            Person           legal                              1@aol.   gmail.c   usaharm            mmons_
            al               advice    Email                    com<     om<ur     ony@gm             at_yaho
    OLS_    Folder           re        Messa            3/27/2 Mshah     ikaufm    ail.com<           o-
    URI00   s\sandi    Privi Stantec   ge[Att           013     00001    an@g      usaharm            com\[G
    00126   hamm       lege Contrac    achme    English 5:09:48 1@aol.   mail.c    ony@gm             mail]\Im
232 82      ons_at     d     t         nts]     Station PM      com>     om>       ail.com>   False   portant
            \Uri_K                                                                                    \Uri_Ka
            aufma                                                                                     ufman_a
            n_aol-                                                                                    ol-
            gmail_                                                                                    gmail_re
            respon                                                                                    sponsive
            sive_it                                                                                   _items.z
            ems.zi                                                                                    ip\aol_r
            p\aol_                                                                                    esponsiv
            respon                                                                                    e_items.
            sive_it                                                                                   pst\msh
            ems.ps                                                                                    ah00001
            t\msha                                                                                    1_at_aol-
            h0000                                                                                     com.pst
            11_at_                                                                                    _files\To
            aol-                                             Mshah       pjacob                       p of
            com.ps                                           00001       i@jaco                       Personal
            t_files\                                         1@aol.      bicase.                      Folders\
            Top of                                           com<        com<p                        mshah0
    OLS_    Person                           Fwd:    4/2/20 Mshah        jacobi                       00011_a
    URI00   al         Privi           Email Turning 13      00001       @jaco                        t_-
    00085   Folder     lege            Messa On      8:08:58 1@aol.      bicase.                      com\Se
233 48      s\msh      d               ge    Cameras AM      com>        com>                 False   nt
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 221 of 295


            \Uri_K                                                                           \Uri_Ka
            aufma                                                                            ufman_a
            n_aol-                                                                           ol-
            gmail_                                                                           gmail_re
            respon                                                                           sponsive
            sive_it                                                                          _items.z
            ems.zi                                                                           ip\aol_r
            p\aol_                                                                           esponsiv
            respon                                                                           e_items.
            sive_it                                                                          pst\msh
            ems.ps                                                                           ah00001
            t\msha                                                      mmcque               1_at_aol-
            h0000                                                       eney@ko              com.pst
            11_at_                                                      sloff.net<           _files\To
            aol-                                              Mshah     mmcque               p of
            com.ps                                   Paul     00001     eney@ko              Personal
            t_files\                                 Jacobi   1@aol     sloff.net>           Folders\
            Top of                                   <pjaco   .com<     ; Kirsten            mshah0
    OLS_    Person                   RE:     4/2/20 bi@jac    Mshah     Jensen<k             00011_a
    URI00   al         Privi   Email Turning 13      obicas   00001     jensen@j             t_-
    00032   Folder     lege    Messa On      9:20:26 e.com    1@aol     acobicas             com\INB
234 05      s\msh      d       ge    Cameras AM      >        .com>     e.com>       False   OX
            \Uri_K                                                                           \Uri_Ka
            aufma                                                                            ufman_a
            n_aol-                                                                           ol-
            gmail_                                                                           gmail_re
            respon                                                                           sponsive
            sive_it                                                                          _items.z
            ems.zi                                                                           ip\aol_r
            p\aol_                                                                           esponsiv
            respon                                                                           e_items.
            sive_it                                                                          pst\msh
            ems.ps                                                                           ah00001
            t\msha                                                                           1_at_aol-
            h0000                                                                            com.pst
            11_at_                                                                           _files\To
            aol-                                     Mshah    pjacob                         p of
            com.ps                                   00001    i@jaco                         Personal
            t_files\                                 1@aol.   bicase.   mmcque               Folders\
            Top of                                   com<     com<p     eney@ko              mshah0
    OLS_    Person                   Fwd:    4/2/20 Mshah     jacobi    sloff.net<           00011_a
    URI00   al         Privi   Email Turning 13      00001    @jaco     mmcque               t_-
    00085   Folder     lege    Messa On      11:11:1 1@aol.   bicase.   eney@ko              com\Se
235 49      s\msh      d       ge    Cameras 3 AM com>        com>      sloff.net>   False   nt
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 222 of 295


          \Uri_K                                                                          \Uri_Ka
          aufma                                                                           ufman_a
          n_aol-                                                                          ol-
          gmail_                                                                          gmail_re
          respon                                                                          sponsive
          sive_it                                                                         _items.z
          ems.zi                                                     mmcque               ip\gmail
          p\gmai                                                     eney@ko              _respon
          l_resp                                            Mshah    sloff.net<           sive_ite
          onsive                                            00001    mmcque               ms.pst\u
          _items                                            1@aol    eney@ko              rikaufma
          .pst\ur                                           .com<    sloff.net>           n_at_gm
          ikaufm                                            Mshah    ;                    ail-
          an_at_                                            00001    urikaufm             com[003
          gmail-                                            1@aol    an@gmai              ].pst_file
          com[0                                             .com>;   l.com<uri            s\Top of
          03].pst                                           John.I   kaufman              Personal
          _files\                                           nsall@   @gmail.c             Folders\
          Top of                                            stante   om>;                 sandiha
          Person                                  Alan      c.com    pjacobi@             mmons_
          al                    RE: FW:           Kosloff   <John.   jacobicas            at_yaho
    OLS_ Folder                 Fwd:      4/2/20 <akosl     Insall   e.com<pj             o-
    URI00 s\sandi Privi   Email Turning   13      off@k     @stan    acobi@ja             com\[G
    00131 hamm lege       Messa On        12:50:1 osloff.   tec.co   cobicase.            mail]\Im
236 04    ons_at d        ge    Cameras   5 PM net>         m>       com>         False   portant
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 223 of 295


            \Uri_K                                                                               \Uri_Ka
            aufma                                                                                ufman_a
            n_aol-                                                                               ol-
            gmail_                                                                               gmail_re
            respon                                                                               sponsive
            sive_it                                                                              _items.z
            ems.zi                                                          mmcque               ip\gmail
            p\gmai                                                          eney@ko              _respon
            l_resp                                                          sloff.net<           sive_ite
            onsive                                                akoslo    mmcque               ms.pst\u
            _items                                                ff@kos    eney@ko              rikaufma
            .pst\ur                                               loff.ne   sloff.net>           n_at_gm
            ikaufm                                                t<akos    ;                    ail-
            an_at_                                                loff@k    urikaufm             com[003
            gmail-                                                osloff.   an@gmai              ].pst_file
            com[0                                                 net>;     l.com<uri            s\Top of
            03].pst                                               John.I    kaufman              Personal
            _files\                                  Mshah        nsall@    @gmail.c             Folders\
            Top of                                   00001        stante    om>;                 sandiha
            Person                                   1@aol.       c.com     pjacobi@             mmons_
            al                       Re: FW:         com<         <John.    jacobicas            at_yaho
    OLS_    Folder                   Fwd:    4/2/20 Mshah         Insall    e.com<pj             o-
    URI00   s\sandi    Privi   Email Turning 13      00001        @stan     acobi@ja             com\[G
    00131   hamm       lege    Messa On      12:50:5 1@aol.       tec.co    cobicase.            mail]\Im
237 15      ons_at     d       ge    Cameras 2 PM com>            m>        com>         False   portant
            \Uri_K                                                                               \Uri_Ka
            aufma                                                                                ufman_a
            n_aol-                                                                               ol-
            gmail_                                                                               gmail_re
            respon                                                                               sponsive
            sive_it                                                                              _items.z
            ems.zi                                                                               ip\aol_r
            p\aol_                                                                               esponsiv
            respon                                                                               e_items.
            sive_it                                                                              pst\msh
            ems.ps                                                                               ah00001
            t\msha                                                                               1_at_aol-
            h0000                                                                                com.pst
            11_at_                                                                               _files\To
            aol-                                                  Mshah                          p of
            com.ps                                       Mary     00001                          Personal
            t_files\                                     Mquee    1@aol                          Folders\
            Top of             Email    Fw:              ney<m    .com<                          mshah0
    OLS_    Person             Messa    Certifica 4/2/20 mcque    Mshah                          00011_a
    URI00   al         Privi   ge[Att   te of     13     eney@    00001                          t_-
    00032   Folder     lege    achme    complia 1:05:07 kosloff   1@aol                          com\INB
238 07      s\msh      d       nts]     nce       PM     .net>    .com>                  False   OX
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 224 of 295


          \Uri_K                                                                              \Uri_Ka
          aufma                                                                               ufman_a
          n_aol-                                                                              ol-
          gmail_                                                                              gmail_re
          respon                                                                              sponsive
          sive_it                                                                             _items.z
          ems.zi                                                                              ip\gmail
          p\gmai                                                                              _respon
          l_resp                                                                              sive_ite
          onsive                                                                              ms.pst\u
          _items                                                                              rikaufma
          .pst\ur                                                                             n_at_gm
          ikaufm                                                                              ail-
          an_at_                                                                              com[003
          gmail-                                                          pjacobi@            ].pst_file
          com[0                                                           jacobicas           s\Top of
          03].pst                                                         e.com<pj            Personal
          _files\                                      Mshah    urikauf   acobi@ja            Folders\
          Top of                                       00001    man@      cobicase.           sandiha
          Person                                       1@aol.   gmail.c   com>;               mmons_
          al                                           com<     om<ur     akosloff            at_yaho
    OLS_ Folder         legal                  4/3/20 Mshah     ikaufm    @kosloff.           o-
    URI00 s\sandi Privi advice Email           13      00001    an@g      net<akos            com\[G
    00119 hamm lege re site Messa English      12:40:3 1@aol.   mail.c    loff@kosl           mail]\Im
239 77    ons_at d      access ge    Station   7 PM com>        om>       off.net>    False   portant
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 225 of 295


            \Uri_K                                                                                 \Uri_Ka
            aufma                                                                                  ufman_a
            n_aol-                                                                                 ol-
            gmail_                                                                                 gmail_re
            respon                                                                                 sponsive
            sive_it                                                                                _items.z
            ems.zi                                                                                 ip\gmail
            p\gmai                                                                                 _respon
            l_resp                                                                                 sive_ite
            onsive                                                                                 ms.pst\u
            _items                                                                                 rikaufma
            .pst\ur                                                                                n_at_gm
            ikaufm                                                     Insall,                     ail-
            an_at_           Legal                                     John<J                      com[003
            gmail-           Advice                                    ohn.In                      ].pst_file
            com[0            re                                        sall@s                      s\Top of
            03].pst          using a                                   tantec.                     Personal
            _files\          car                                       com>;                       Folders\
            Top of           with a                           Paul     Uri                         sandiha
            Person           flashing                         Jacobi   Kaufm                       mmons_
            al               light as                         <pjaco   an<uri                      at_yaho
    OLS_    Folder           part of                  4/3/20 bi@jac    kaufm                       o-
    URI00   s\sandi    Privi site     Email           13      obicas   an@g                        com\[G
    00119   hamm       lege securit Messa             12:46:5 e.com    mail.c                      mail]\Im
240 88      ons_at     d     y plan ge      RE: Car   9 PM >           om>                 False   portant
            \Uri_K                                                                                 \Uri_Ka
            aufma                                                                                  ufman_a
            n_aol-                                                                                 ol-
            gmail_                                                                                 gmail_re
            respon                                                                                 sponsive
            sive_it                                                                                _items.z
            ems.zi                                                                                 ip\aol_r
            p\aol_                                                                                 esponsiv
            respon                                                                                 e_items.
            sive_it                                                    Insall,                     pst\msh
            ems.ps                                                     John<j                      ah00001
            t\msha                                                     ohn.in                      1_at_aol-
            h0000                                                      sall@s                      com.pst
            11_at_                                                     tantec.                     _files\To
            aol-                                                       com>;                       p of
            com.ps                                         Uri         Paul                        Personal
            t_files\                                       Kaufm       Jacobi    mshah00           Folders\
            Top of                                         an<uri      <pjaco    0011@a            mshah0
    OLS_    Person                                 4/3/20 kaufm        bi@jac    ol.com<           00011_a
    URI00   al         Privi        Email          13      an@g        obicas    mshah00           t_-
    00032   Folder     lege         Messa Car with 6:33:19 mail.co     e.com     0011@a            com\INB
241 22      s\msh      d            ge    Flasher PM       m>          >         ol.com>   False   OX
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 226 of 295


          \Uri_K                                                                     \Uri_Ka
          aufma                                                                      ufman_a
          n_aol-                                                                     ol-
          gmail_                                                                     gmail_re
          respon                                                                     sponsive
          sive_it                                                  'Uri              _items.z
          ems.zi                                                   Kaufm             ip\gmail
          p\gmai                                                   an'<uri           _respon
          l_resp                                                   kaufm             sive_ite
          onsive                                                   an@g              ms.pst\u
          _items                                                   mail.c            rikaufma
          .pst\ur                                                  om>;              n_at_gm
          ikaufm                                                   'USA              ail-
          an_at_                                                   Harmo             com[003
          gmail-                                                   ny'<us            ].pst_file
          com[0                                                    aharm             s\Top of
          03].pst                                         Micha    ony@g             Personal
          _files\       Legal                             el       mail.c            Folders\
          Top of        commu                             Connel   om>;              sandiha
          Person        nicatio                           ly<con   'Bobby            mmons_
          al            n re    Email    32-              nelly@   Shah'<            at_yaho
    OLS_ Folder         lawsuit Messa    gmail_r 5/13/2 murph      mshah             o-
    URI00 s\sandi Privi against ge[Att   esponsiv 013     ykarpi   00001             com\[G
    00122 hamm lege Geoqu achme          e_items- 8:38:07 e.com    1@aol             mail]\Im
242 66    ons_at d      est     nts]     204.msg AM       >        .com>     False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 227 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                  ischwa           ail-
          an_at_                                                  rtz@th           com[004
          gmail-                                                  eschw            ].pst_file
          com[0                                                   artzla           s\Top of
          04].pst                                                 woffic           Personal
          _files\                                                 e.com            Folders\
          Top of                                        Uri       <ischw           sandiha
          Person        legal                           Kaufm     artz@t           mmons_
          al            advice    Email                 an<uri    hesch            at_yaho
    OLS_ Folder         re        Messa         5/13/2 kaufm      wartzl           o-
    URI00 s\sandi Privi Geoqu     ge[Att        013     an@g      awoffi           com\[G
    00139 hamm lege est           achme         9:05:03 mail.co   ce.co            mail]\Se
243 45    ons_at d      lawsuit   nts]   Fwd:   AM      m>        m>       False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 228 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                             'Uri              _items.z
          ems.zi                                              Kaufm             ip\gmail
          p\gmai                                              an'<uri           _respon
          l_resp                                              kaufm             sive_ite
          onsive                                              an@g              ms.pst\u
          _items                                              mail.c            rikaufma
          .pst\ur                                             om>;              n_at_gm
          ikaufm                                              'USA              ail-
          an_at_                                              Harmo             com[003
          gmail-                                              ny'<us            ].pst_file
          com[0                                               aharm             s\Top of
          03].pst                                    Micha    ony@g             Personal
          _files\                                    el       mail.c            Folders\
          Top of                                     Connel   om>;              sandiha
          Person                                     ly<con   'Bobby            mmons_
          al                                         nelly@   Shah'<            at_yaho
    OLS_ Folder                              5/17/2 murph     mshah             o-
    URI00 s\sandi Privi        Email         013     ykarpi   00001             com\[G
    00122 hamm lege            Messa geoques 2:59:17 e.com    1@aol             mail]\Im
244 76    ons_at d      same   ge    t       PM      >        .com>     False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 229 of 295


          \Uri_K                                                                           \Uri_Ka
          aufma                                                                            ufman_a
          n_aol-                                                                           ol-
          gmail_                                                                           gmail_re
          respon                                                                           sponsive
          sive_it                                                                          _items.z
          ems.zi                                                                           ip\gmail
          p\gmai                                                                           _respon
          l_resp                                                                           sive_ite
          onsive                                                                           ms.pst\u
          _items                                                                           rikaufma
          .pst\ur                                                                          n_at_gm
          ikaufm                                                                           ail-
          an_at_                                                                           com[004
          gmail-                                                                           ].pst_file
          com[0                                                         USA                s\Top of
          04].pst                                              Micha    Harmony            Personal
          _files\                                              el       <usahar            Folders\
          Top of                                     Uri       Connel   mony@g             sandiha
          Person                                     Kaufm     ly<con   mail.com           mmons_
          al                                         an<uri    nelly@   >; Bobby           at_yaho
    OLS_ Folder                              5/17/2 kaufm      murph    Shah<ms            o-
    URI00 s\sandi Privi        Email Re:     013     an@g      ykarpi   hah0000            com\[G
    00139 hamm lege            Messa geoques 3:45:53 mail.co   e.com    11@aol.c           mail]\Se
245 49    ons_at d      same   ge    t       PM      m>        >        om>        False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 230 of 295


          \Uri_K                                                                           \Uri_Ka
          aufma                                                                            ufman_a
          n_aol-                                                                           ol-
          gmail_                                                                           gmail_re
          respon                                                                           sponsive
          sive_it                                                                          _items.z
          ems.zi                                                                           ip\gmail
          p\gmai                                                                           _respon
          l_resp                                                                           sive_ite
          onsive                                                                           ms.pst\u
          _items                                                                           rikaufma
          .pst\ur                                                                          n_at_gm
          ikaufm                                                                           ail-
          an_at_                                                                           com[004
          gmail-                                                                           ].pst_file
          com[0                                                                            s\Top of
          04].pst                                                                          Personal
          _files\                                                                          Folders\
          Top of        Legal                           Uri       Paul     USA             sandiha
          Person        advice                          Kaufm     Jacobi   Harmo           mmons_
          al            re                              an<uri    <pjaco   ny<usa          at_yaho
    OLS_ Folder         lawsuit                 5/20/2 kaufm      bi@jac   harmo           o-
    URI00 s\sandi Privi against Email Fwd:      013     an@g      obicas   ny@gm           com\[G
    00139 hamm lege Grant Messa Old             4:09:48 mail.co   e.com    ail.com         mail]\Se
246 53    ons_at d      McKay ge      english   PM      m>        >        >       False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 231 of 295


          \Uri_K                                                                        \Uri_Ka
          aufma                                                                         ufman_a
          n_aol-                                                                        ol-
          gmail_                                                                        gmail_re
          respon                                                                        sponsive
          sive_it                                                                       _items.z
          ems.zi                                                                        ip\gmail
          p\gmai                                                                        _respon
          l_resp                                                                        sive_ite
          onsive                                                                        ms.pst\u
          _items                                                                        rikaufma
          .pst\ur                                                                       n_at_gm
          ikaufm                                                                        ail-
          an_at_                                                                        com[004
          gmail-                                                          ischwar       ].pst_file
          com[0                                                           tz@the        s\Top of
          04].pst                                                         schwar        Personal
          _files\                                                         tzlawof       Folders\
          Top of                                       Uri       Paul     fice.co       sandiha
          Person                                       Kaufm     Jacobi   m<isch        mmons_
          al                                           an<uri    <pjaco   wartz@        at_yaho
    OLS_ Folder                                5/20/2 kaufm      bi@jac   thesch        o-
    URI00 s\sandi Privi        Email Fwd:      013     an@g      obicas   wartzla       com\[G
    00139 hamm lege            Messa Old       4:15:14 mail.co   e.com    woffice       mail]\Se
247 55    ons_at d      same   ge    english   PM      m>        >        .com> False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 232 of 295


          \Uri_K                                                                      \Uri_Ka
          aufma                                                                       ufman_a
          n_aol-                                                                      ol-
          gmail_                                                                      gmail_re
          respon                                                                      sponsive
          sive_it                                                                     _items.z
          ems.zi                                                                      ip\gmail
          p\gmai                                                                      _respon
          l_resp                                                                      sive_ite
          onsive                                                                      ms.pst\u
          _items                                                                      rikaufma
          .pst\ur                                                                     n_at_gm
          ikaufm                                                                      ail-
          an_at_                                                                      com[004
          gmail-                                                                      ].pst_file
          com[0                                                                       s\Top of
          04].pst                                                                     Personal
          _files\       legal                                                         Folders\
          Top of        commu                              Uri       USA              sandiha
          Person        nicatio                            Kaufm     Harmo            mmons_
          al            n re      Email    Fwd:            an<uri    ny<usa           at_yaho
    OLS_ Folder         billing   Messa    Outstan 5/22/2 kaufm      harmo            o-
    URI00 s\sandi Privi dispute   ge[Att   ding    013     an@g      ny@g             com\[G
    00139 hamm lege with          achme    Balance 11:18:3 mail.co   mail.c           mail]\Se
248 60    ons_at d      AEI       nts]     Due     8 AM m>           om>      False   nt Mail
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 233 of 295


            \Uri_K                                                                                      \Uri_Ka
            aufma                                                                                       ufman_a
            n_aol-                                                                                      ol-
            gmail_                                                                                      gmail_re
            respon                                                                                      sponsive
            sive_it                                                                                     _items.z
            ems.zi                                                                                      ip\gmail
            p\gmai                                                                                      _respon
            l_resp                                                                                      sive_ite
            onsive                                                                                      ms.pst\u
            _items                                                                                      rikaufma
            .pst\ur                                                                                     n_at_gm
            ikaufm                                                          ischwa                      ail-
            an_at_                                                          rtz@th                      com[004
            gmail-                                                          eschw                       ].pst_file
            com[0                                                           artzla                      s\Top of
            04].pst                                                         woffic                      Personal
            _files\                                                         e.com                       Folders\
            Top of                                           Uri            <ischw                      sandiha
            Person                                           Kaufm          artz@t                      mmons_
            al                               Fwd:            an<uri         hesch                       at_yaho
    OLS_    Folder                           Outstan 5/24/2 kaufm           wartzl                      o-
    URI00   s\sandi    Privi           Email ding    013     an@g           awoffi                      com\[G
    00139   hamm       lege            Messa Balance 3:25:54 mail.co        ce.co                       mail]\Se
249 67      ons_at     d     same      ge    Due     PM      m>             m>                  False   nt Mail
            \Uri_K                                                                                      \Uri_Ka
            aufma                                                                                       ufman_a
            n_aol-                                                                                      ol-
            gmail_                                                                                      gmail_re
            respon                                                                                      sponsive
            sive_it                                                                                     _items.z
            ems.zi                                                                                      ip\aol_r
            p\aol_                                                                                      esponsiv
            respon                                                                                      e_items.
            sive_it                                                                                     pst\msh
            ems.ps                                                                                      ah00001
            t\msha                                                                                      1_at_aol-
            h0000                                                                                       com.pst
            11_at_                              FW: 510                                                 _files\To
            aol-                                Grand                       john.In                     p of
            com.ps           legal              Avenue,            Paul     sall@s                      Personal
            t_files\         commu              New                Jacobi   tantec.   Mshah00           Folders\
            Top of           nicatio   Email    Haven.             <pjaco   com<j     0011@a            mshah0
    OLS_    Person           n re UI   Messa    CT/Tow     6/5/20 bi@jac    ohn.In    ol.com<           00011_a
    URI00   al         Privi site      ge[Att   er         13      obicas   sall@s    Mshah00           t_-
    00037   Folder     lege Inspecti   achme    Inspecti   9:21:36 e.com    tantec.   0011@a            com\INB
250 72      s\msh      d     on Plan   nts]     on         AM      >        com>      ol.com>   False   OX
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 234 of 295


            \Uri_K                                                                                       \Uri_Ka
            aufma                                                                                        ufman_a
            n_aol-                                                                                       ol-
            gmail_                                                                                       gmail_re
            respon                                                                                       sponsive
            sive_it                                                                                      _items.z
            ems.zi                                                                                       ip\aol_r
            p\aol_                                                                                       esponsiv
            respon                                                                                       e_items.
            sive_it                                                                                      pst\msh
            ems.ps                                                                                       ah00001
            t\msha                                                                                       1_at_aol-
            h0000                                                                                        com.pst
            11_at_                               RE: 510                                                 _files\To
            aol-                                 Grand                                                   p of
            com.ps                               Avenue,                      Paul                       Personal
            t_files\                             New                Insall,   Jacobi   Mshah00           Folders\
            Top of                      Email    Haven.             John<J    <pjaco   0011@a            mshah0
    OLS_    Person                      Messa    CT/Tow     6/5/20 ohn.In     bi@jac   ol.com<           00011_a
    URI00   al         Privi            ge[Att   er         13      sall@st   obicas   Mshah00           t_-
    00037   Folder     lege             achme    Inspecti   9:22:18 antec.c   e.com    0011@a            com\INB
251 73      s\msh      d     same       nts]     on         AM      om>       >        ol.com>   False   OX
            \Uri_K                                                                                       \Uri_Ka
            aufma                                                                                        ufman_a
            n_aol-                                                                                       ol-
            gmail_                                                                                       gmail_re
            respon                                                                                       sponsive
            sive_it                                                                                      _items.z
            ems.zi                                                                                       ip\aol_r
            p\aol_                                                                                       esponsiv
            respon                                                                                       e_items.
            sive_it                                                                                      pst\msh
            ems.ps                                                                                       ah00001
            t\msha                                                                                       1_at_aol-
            h0000                                                                                        com.pst
            11_at_                                                                                       _files\To
            aol-                                                              Sheldo                     p of
            com.ps           legal                                  Kirsten   n                          Personal
            t_files\         advice                                 Jensen    Schore   Mshah00           Folders\
            Top of           re         Email                       <kjens    r<scho   0011@a            mshah0
    OLS_    Person           relation   Messa               6/11/2 en@ja      rer@s    ol.com<           00011_a
    URI00   al         Privi ship       ge[Att FW:          013     cobica    chorer   Mshah00           t_-
    00038   Folder     lege with        achme Asnat         2:05:47 se.com    law.co   0011@a            com\INB
252 16      s\msh      d     Stantec    nts]   Realty       PM      >         m>       ol.com>   False   OX
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 235 of 295


          \Uri_K                                                                 \Uri_Ka
          aufma                                                                  ufman_a
          n_aol-                                                                 ol-
          gmail_                                                                 gmail_re
          respon                                                                 sponsive
          sive_it                                                                _items.z
          ems.zi                                                                 ip\gmail
          p\gmai                                                                 _respon
          l_resp                                                                 sive_ite
          onsive                                                                 ms.pst\u
          _items                                                                 rikaufma
          .pst\ur                                                                n_at_gm
          ikaufm                                                                 ail-
          an_at_                                                                 com[004
          gmail-                                                                 ].pst_file
          com[0                                                                  s\Top of
          04].pst                                                                Personal
          _files\       legal                                                    Folders\
          Top of        commu                         Uri                        sandiha
          Person        nicatio                       Kaufm     Bryan            mmons_
          al            n re          Fwd: Re:        an<uri    Weber            at_yaho
    OLS_ Folder         Grant         Old      10/9/2 kaufm     <bweb            o-
    URI00 s\sandi Privi McKay Email   English 013     an@g      s22@g            com\[G
    00140 hamm lege litigatio Messa   Schedul 1:36:56 mail.co   mail.c           mail]\Se
253 09    ons_at d      n       ge    e        PM     m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 236 of 295


          \Uri_K                                                                       \Uri_Ka
          aufma                                                                        ufman_a
          n_aol-                                                                       ol-
          gmail_                                                                       gmail_re
          respon                                                                       sponsive
          sive_it                                                                      _items.z
          ems.zi                                                                       ip\gmail
          p\gmai                                                                       _respon
          l_resp                                                                       sive_ite
          onsive                                                                       ms.pst\u
          _items                                                                       rikaufma
          .pst\ur                                                                      n_at_gm
          ikaufm                                                                       ail-
          an_at_                                                                       com[004
          gmail-                                                                       ].pst_file
          com[0                                                                        s\Top of
          04].pst                       Fwd:                                           Personal
          _files\                       English                                        Folders\
          Top of                        Station -           Uri                        sandiha
          Person                        Results             Kaufm     Bryan            mmons_
          al                   Email    of                  an<uri    Weber            at_yaho
    OLS_ Folder                Messa    March 7     10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        ge[Att   2012        013     an@g      s22@g            com\[G
    00140 hamm lege            achme    Samplin     1:59:15 mail.co   mail.c           mail]\Se
254 11    ons_at d      same   nts]     g           PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 237 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                                    ail-
          an_at_                                                                    com[004
          gmail-                                                                    ].pst_file
          com[0                      Fwd:                                           s\Top of
          04].pst                    English                                        Personal
          _files\                    Station -                                      Folders\
          Top of                     Samplin             Uri                        sandiha
          Person                     g Plan &            Kaufm     Bryan            mmons_
          al                         Equipm              an<uri    Weber            at_yaho
    OLS_ Folder                      ent         10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        Email Deconta     013     an@g      s22@g            com\[G
    00140 hamm lege            Messa minatio     2:09:56 mail.co   mail.c           mail]\Se
255 13    ons_at d      same   ge    n Plan      PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 238 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[004
          gmail-        same                                                       ].pst_file
          com[0         (and                                                       s\Top of
          04].pst       those                                                      Personal
          _files\       emails                                                     Folders\
          Top of        that                            Uri                        sandiha
          Person        follow                          Kaufm     Bryan            mmons_
          al            until          Fwd:             an<uri    Weber            at_yaho
    OLS_ Folder         otherw         English 10/9/2 kaufm       <bweb            o-
    URI00 s\sandi Privi ise    Email   Station - 013    an@g      s22@g            com\[G
    00140 hamm lege indicat Messa      Ingress/ 3:01:18 mail.co   mail.c           mail]\Se
256 15    ons_at d      ed)    ge      Egress PM        m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 239 of 295


          \Uri_K                                                                       \Uri_Ka
          aufma                                                                        ufman_a
          n_aol-                                                                       ol-
          gmail_                                                                       gmail_re
          respon                                                                       sponsive
          sive_it                                                                      _items.z
          ems.zi                                                                       ip\gmail
          p\gmai                                                                       _respon
          l_resp                                                                       sive_ite
          onsive                                                                       ms.pst\u
          _items                                                                       rikaufma
          .pst\ur                                                                      n_at_gm
          ikaufm                                                                       ail-
          an_at_                                                                       com[004
          gmail-                                                                       ].pst_file
          com[0                                                                        s\Top of
          04].pst                       Fwd:                                           Personal
          _files\                       English                                        Folders\
          Top of        legal           Station -           Uri                        sandiha
          Person        advice          Revised             Kaufm     Bryan            mmons_
          al            re     Email    Short               an<uri    Weber            at_yaho
    OLS_ Folder         Geoqu Messa     Term        10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi est    ge[Att   Work        013     an@g      s22@g            com\[G
    00140 hamm lege litigatio achme     Plan 2      3:05:10 mail.co   mail.c           mail]\Se
257 16    ons_at d      n      nts]     of 2        PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 240 of 295


          \Uri_K                                                                       \Uri_Ka
          aufma                                                                        ufman_a
          n_aol-                                                                       ol-
          gmail_                                                                       gmail_re
          respon                                                                       sponsive
          sive_it                                                                      _items.z
          ems.zi                                                                       ip\gmail
          p\gmai                                                                       _respon
          l_resp                                                                       sive_ite
          onsive                                                                       ms.pst\u
          _items                                                                       rikaufma
          .pst\ur                                                                      n_at_gm
          ikaufm                                                                       ail-
          an_at_                                                                       com[004
          gmail-                                                                       ].pst_file
          com[0                                                                        s\Top of
          04].pst                       Fwd:                                           Personal
          _files\                       English                                        Folders\
          Top of                        Station -           Uri                        sandiha
          Person                        Revised             Kaufm     Bryan            mmons_
          al                   Email    Short               an<uri    Weber            at_yaho
    OLS_ Folder                Messa    Term        10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        ge[Att   Work        013     an@g      s22@g            com\[G
    00140 hamm lege            achme    Plan 1      3:06:36 mail.co   mail.c           mail]\Se
258 17    ons_at d      same   nts]     of 2        PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 241 of 295


          \Uri_K                                                                       \Uri_Ka
          aufma                                                                        ufman_a
          n_aol-                                                                       ol-
          gmail_                                                                       gmail_re
          respon                                                                       sponsive
          sive_it                                                                      _items.z
          ems.zi                                                                       ip\gmail
          p\gmai                                                                       _respon
          l_resp                                                                       sive_ite
          onsive                                                                       ms.pst\u
          _items                                                                       rikaufma
          .pst\ur                                                                      n_at_gm
          ikaufm                                                                       ail-
          an_at_                                                                       com[004
          gmail-                                                                       ].pst_file
          com[0                                                                        s\Top of
          04].pst                       Fwd:                                           Personal
          _files\                       English                                        Folders\
          Top of                        Station -           Uri                        sandiha
          Person                        Draft               Kaufm     Bryan            mmons_
          al                   Email    Revised             an<uri    Weber            at_yaho
    OLS_ Folder                Messa    Short       10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        ge[Att   Term        013     an@g      s22@g            com\[G
    00140 hamm lege            achme    Work        3:08:45 mail.co   mail.c           mail]\Se
259 18    ons_at d      same   nts]     Plan        PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 242 of 295


          \Uri_K                                                                      \Uri_Ka
          aufma                                                                       ufman_a
          n_aol-                                                                      ol-
          gmail_                                                                      gmail_re
          respon                                                                      sponsive
          sive_it                                                                     _items.z
          ems.zi                                                                      ip\gmail
          p\gmai                                                                      _respon
          l_resp                                                                      sive_ite
          onsive                                                                      ms.pst\u
          _items                                                                      rikaufma
          .pst\ur                                                                     n_at_gm
          ikaufm                                                                      ail-
          an_at_                                                                      com[004
          gmail-                                                                      ].pst_file
          com[0                         Fwd:                                          s\Top of
          04].pst                       Evergre                                       Personal
          _files\                       en/Asna                                       Folders\
          Top of                        t-                 Uri                        sandiha
          Person                        "Disappr           Kaufm     Bryan            mmons_
          al                   Email    oval of            an<uri    Weber            at_yaho
    OLS_ Folder                Messa    Short-     10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        ge[Att   Term       013     an@g      s22@g            com\[G
    00140 hamm lege            achme    Work       3:12:04 mail.co   mail.c           mail]\Se
260 19    ons_at d      same   nts]     Plan"      PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 243 of 295


          \Uri_K                                                                       \Uri_Ka
          aufma                                                                        ufman_a
          n_aol-                                                                       ol-
          gmail_                                                                       gmail_re
          respon                                                                       sponsive
          sive_it                                                                      _items.z
          ems.zi                                                                       ip\gmail
          p\gmai                                                                       _respon
          l_resp                                                                       sive_ite
          onsive                                                                       ms.pst\u
          _items                                                                       rikaufma
          .pst\ur                                                                      n_at_gm
          ikaufm                                                                       ail-
          an_at_                                                                       com[004
          gmail-                                                                       ].pst_file
          com[0                                                                        s\Top of
          04].pst                       Fwd:                                           Personal
          _files\                       English                                        Folders\
          Top of                        Station -           Uri                        sandiha
          Person                        Lab                 Kaufm     Bryan            mmons_
          al                   Email    Data                an<uri    Weber            at_yaho
    OLS_ Folder                Messa    (EXT-13     10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        ge[Att   Grid        013     an@g      s22@g            com\[G
    00140 hamm lege            achme    Samples     3:24:06 mail.co   mail.c           mail]\Se
261 20    ons_at d      same   nts]     )           PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 244 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[004
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          04].pst                                                             Personal
          _files\                                                             Folders\
          Top of                                   Uri                        sandiha
          Person                   Fwd:            Kaufm     Bryan            mmons_
          al              Email    Lab             an<uri    Weber            at_yaho
    OLS_ Folder           Messa    Results 10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi   ge[Att   for     013     an@g      s22@g            com\[G
    00140 hamm lege       achme    English 3:46:51 mail.co   mail.c           mail]\Se
262 21    ons_at d        nts]     Station PM      m>        om>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 245 of 295


          \Uri_K                                                                 \Uri_Ka
          aufma                                                                  ufman_a
          n_aol-                                                                 ol-
          gmail_                                                                 gmail_re
          respon                                                                 sponsive
          sive_it                                                                _items.z
          ems.zi                                                                 ip\gmail
          p\gmai                                                                 _respon
          l_resp                                                                 sive_ite
          onsive                                                                 ms.pst\u
          _items                                                                 rikaufma
          .pst\ur                                                                n_at_gm
          ikaufm                                                                 ail-
          an_at_                                                                 com[004
          gmail-                                                                 ].pst_file
          com[0                                                                  s\Top of
          04].pst                                                                Personal
          _files\                                                                Folders\
          Top of        legal                         Uri                        sandiha
          Person        advice                        Kaufm     Bryan            mmons_
          al            re                            an<uri    Weber            at_yaho
    OLS_ Folder         Grant         Fwd: No 10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi McKay Email   One     013     an@g      s22@g            com\[G
    00140 hamm lege litigatio Messa   Working 3:56:40 mail.co   mail.c           mail]\Se
263 22    ons_at d      n      ge     Today PM        m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 246 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[004
          gmail-                                                               ].pst_file
          com[0                                                                s\Top of
          04].pst                                                              Personal
          _files\                                                              Folders\
          Top of                                    Uri                        sandiha
          Person                                    Kaufm     Bryan            mmons_
          al                                        an<uri    Weber            at_yaho
    OLS_ Folder                      Fwd:    10/9/2 kaufm     <bweb            o-
    URI00 s\sandi Privi        Email Cease & 013    an@g      s22@g            com\[G
    00140 hamm lege            Messa Desist 4:12:18 mail.co   mail.c           mail]\Se
264 23    ons_at d      same   ge    Order PM       m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 247 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[004
          gmail-                                                               ].pst_file
          com[0                                                                s\Top of
          04].pst                                                              Personal
          _files\                                                              Folders\
          Top of                                    Uri                        sandiha
          Person                                    Kaufm     Bryan            mmons_
          al                                        an<uri    Weber            at_yaho
    OLS_ Folder                             10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        Email        013     an@g      s22@g            com\[G
    00140 hamm lege            Messa Fwd:   4:20:01 mail.co   mail.c           mail]\Se
265 24    ons_at d      same   ge    Bond   PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 248 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                                  gmail_re
          respon                                                                  sponsive
          sive_it                                                                 _items.z
          ems.zi                                                                  ip\gmail
          p\gmai                                                                  _respon
          l_resp                                                                  sive_ite
          onsive                                                                  ms.pst\u
          _items                                                                  rikaufma
          .pst\ur                                                                 n_at_gm
          ikaufm                                                                  ail-
          an_at_                                                                  com[004
          gmail-                                                                  ].pst_file
          com[0                                                                   s\Top of
          04].pst                                                                 Personal
          _files\                                                                 Folders\
          Top of                                       Uri                        sandiha
          Person                                       Kaufm     Bryan            mmons_
          al                                           an<uri    Weber            at_yaho
    OLS_ Folder                                10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        Email Fwd:      013     an@g      s22@g            com\[G
    00140 hamm lege            Messa English   4:27:06 mail.co   mail.c           mail]\Se
266 25    ons_at d      same   ge    station   PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 249 of 295


          \Uri_K                                                                       \Uri_Ka
          aufma                                                                        ufman_a
          n_aol-                                                                       ol-
          gmail_                                                                       gmail_re
          respon                                                                       sponsive
          sive_it                                                                      _items.z
          ems.zi                                                                       ip\gmail
          p\gmai                                                                       _respon
          l_resp                                                                       sive_ite
          onsive                                                                       ms.pst\u
          _items                                                                       rikaufma
          .pst\ur                                                                      n_at_gm
          ikaufm                                                                       ail-
          an_at_                                                                       com[004
          gmail-                                                                       ].pst_file
          com[0                                                                        s\Top of
          04].pst                       Fwd:                                           Personal
          _files\                       letter re                                      Folders\
          Top of                        Asnat               Uri                        sandiha
          Person                        and                 Kaufm     Bryan            mmons_
          al                   Email    Evergre             an<uri    Weber            at_yaho
    OLS_ Folder                Messa    en from     10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        ge[Att   EPA to      013     an@g      s22@g            com\[G
    00140 hamm lege            achme    Attorne     4:30:42 mail.co   mail.c           mail]\Se
267 26    ons_at d      same   nts]     y           PM      m>        om>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 250 of 295

          \Uri_K                                               Catino,
          aufma                                                Ann
          n_aol-                                               M.<cat
          gmail_                                               ino@h              \Uri_Ka
          respon                                               alloran-           ufman_a
          sive_it                                              sage.c             ol-
          ems.zi                                               om>;               gmail_re
          p\gmai                                               John               sponsive
          l_resp                                               Basha              _items.z
          onsive                                               w                  ip\gmail
          _items                                               (JBash             _respon
          .pst\ur                                              aw@B               sive_ite
          ikaufm                                               SWLA               ms.pst\u
          an_at_                                               W.Co               rikaufma
          gmail-                                               m)<JB              n_at_gm
          com[0                                                ashaw              ail-
          04].pst                                              @bswl              com[004
          _files\                                              aw.co              ].pst_file
          Top of                                               m>;                s\Top of
          Person                                               ischwa             Personal
          al                                                   rtz@th             Folders\
          Folder                                     Uri       eschw              sandiha
          s\sandi                                    Kaufm     artzla             mmons_
          hamm                                       an<uri    woffic             at_yaho
    OLS_ ons_at                              10/9/2 kaufm      e.com              o-
    URI00 _yaho Privi         Email Fwd:     013     an@g      <ischw             com\[G
    00140 o-      lege        Messa PCB      4:46:41 mail.co   artz@t             mail]\Se
268 27    com\[ d      same   ge    Report   PM      m>        hesch      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 251 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[004
          gmail-                                                                   ].pst_file
          com[0                                                                    s\Top of
          04].pst                                                                  Personal
          _files\                                                                  Folders\
          Top of                                        Uri                        sandiha
          Person                                        Kaufm     Bryan            mmons_
          al                   Email                    an<uri    Weber            at_yaho
    OLS_ Folder                Messa            10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        ge[Att   Fwd:    013     an@g      s22@g            com\[G
    00140 hamm lege            achme    English 4:57:43 mail.co   mail.c           mail]\Se
269 28    ons_at d      same   nts]     Station PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 252 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                                  gmail_re
          respon                                                                  sponsive
          sive_it                                                                 _items.z
          ems.zi                                                                  ip\gmail
          p\gmai                                                                  _respon
          l_resp                                                                  sive_ite
          onsive                                                                  ms.pst\u
          _items                                                                  rikaufma
          .pst\ur                                                                 n_at_gm
          ikaufm                                                                  ail-
          an_at_                                                                  com[004
          gmail-                                                                  ].pst_file
          com[0                                                                   s\Top of
          04].pst                                                                 Personal
          _files\                    Fwd:                                         Folders\
          Top of                     ASNAT/            Uri                        sandiha
          Person                     Evergre           Kaufm     Bryan            mmons_
          al                         en                an<uri    Weber            at_yaho
    OLS_ Folder                      Power -   10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        Email English   013     an@g      s22@g            com\[G
    00140 hamm lege            Messa Station   5:01:29 mail.co   mail.c           mail]\Se
270 29    ons_at d      same   ge    PCBs      PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 253 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[004
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          04].pst                                                               Personal
          _files\                                                               Folders\
          Top of                                     Uri                        sandiha
          Person                                     Kaufm     Bryan            mmons_
          al                         Fwd:            an<uri    Weber            at_yaho
    OLS_ Folder                      English 10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        Email Station 013     an@g      s22@g            com\[G
    00140 hamm lege            Messa PCB     5:05:23 mail.co   mail.c           mail]\Se
271 30    ons_at d      same   ge    Survey PM       m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 254 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                                  gmail_re
          respon                                                                  sponsive
          sive_it                                                                 _items.z
          ems.zi                                                                  ip\gmail
          p\gmai                                                                  _respon
          l_resp                                                                  sive_ite
          onsive                                                                  ms.pst\u
          _items                                                                  rikaufma
          .pst\ur                                                                 n_at_gm
          ikaufm                                                                  ail-
          an_at_                                                                  com[004
          gmail-                                                                  ].pst_file
          com[0                                                                   s\Top of
          04].pst                                                                 Personal
          _files\                                                                 Folders\
          Top of                                       Uri                        sandiha
          Person                     Fwd:              Kaufm     Bryan            mmons_
          al                         Letter            an<uri    Weber            at_yaho
    OLS_ Folder                      from      10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        Email City of   013     an@g      s22@g            com\[G
    00140 hamm lege            Messa New       5:09:40 mail.co   mail.c           mail]\Se
272 31    ons_at d      same   ge    Haven     PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 255 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                                  gmail_re
          respon                                                                  sponsive
          sive_it                                                                 _items.z
          ems.zi                                                                  ip\gmail
          p\gmai                                                                  _respon
          l_resp                                                                  sive_ite
          onsive                                                                  ms.pst\u
          _items                                                                  rikaufma
          .pst\ur                                                                 n_at_gm
          ikaufm                                                                  ail-
          an_at_                                                                  com[004
          gmail-                                                                  ].pst_file
          com[0                                                                   s\Top of
          04].pst                                                                 Personal
          _files\                                                                 Folders\
          Top of                                       Uri                        sandiha
          Person                                       Kaufm     Bryan            mmons_
          al                                           an<uri    Weber            at_yaho
    OLS_ Folder                      Fwd:      10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        Email English 013       an@g      s22@g            com\[G
    00140 hamm lege            Messa Station - 5:13:42 mail.co   mail.c           mail]\Se
273 32    ons_at d      same   ge    PCBs      PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 256 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[004
          gmail-                                                                   ].pst_file
          com[0                                                                    s\Top of
          04].pst                                                                  Personal
          _files\                                                                  Folders\
          Top of                                        Uri                        sandiha
          Person                                        Kaufm     Bryan            mmons_
          al                   Email                    an<uri    Weber            at_yaho
    OLS_ Folder                Messa    Fwd:     10/9/2 kaufm     <bweb            o-
    URI00 s\sandi Privi        ge[Att   Old      013    an@g      s22@g            com\[G
    00140 hamm lege            achme    English 5:36:12 mail.co   mail.c           mail]\Se
274 34    ons_at d      same   nts]     Contract PM     m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 257 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[004
          gmail-                                                                   ].pst_file
          com[0                                                                    s\Top of
          04].pst                                                                  Personal
          _files\                                                                  Folders\
          Top of                                        Uri                        sandiha
          Person                                        Kaufm     Bryan            mmons_
          al                   Email                    an<uri    Weber            at_yaho
    OLS_ Folder                Messa             10/9/2 kaufm     <bweb            o-
    URI00 s\sandi Privi        ge[Att   Fwd:     013    an@g      s22@g            com\[G
    00140 hamm lege            achme    Asbesto 5:37:22 mail.co   mail.c           mail]\Se
275 35    ons_at d      same   nts]     s Survey PM     m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 258 of 295


          \Uri_K                                                                      \Uri_Ka
          aufma                                                                       ufman_a
          n_aol-                                                                      ol-
          gmail_                                                                      gmail_re
          respon                                                                      sponsive
          sive_it                                                                     _items.z
          ems.zi                                                                      ip\gmail
          p\gmai                                                                      _respon
          l_resp                                                                      sive_ite
          onsive                                                                      ms.pst\u
          _items                                                                      rikaufma
          .pst\ur                                                                     n_at_gm
          ikaufm                                                                      ail-
          an_at_                                                                      com[004
          gmail-                                                                      ].pst_file
          com[0                                                                       s\Top of
          04].pst                                                                     Personal
          _files\                                                                     Folders\
          Top of                        Fwd:               Uri                        sandiha
          Person                        Comme              Kaufm     Bryan            mmons_
          al                   Email    nts on             an<uri    Weber            at_yaho
    OLS_ Folder                Messa    Draft      10/9/2 kaufm      <bweb            o-
    URI00 s\sandi Privi        ge[Att   Contract   013     an@g      s22@g            com\[G
    00140 hamm lege            achme    you        5:38:37 mail.co   mail.c           mail]\Se
276 36    ons_at d      same   nts]     Sent Me    PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 259 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[004
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          04].pst                                                               Personal
          _files\                                                               Folders\
          Top of                                     Uri                        sandiha
          Person                                     Kaufm     Bryan            mmons_
          al                   Email Fwd:            an<uri    Weber            at_yaho
    OLS_ Folder                Messa FW:      10/20/ kaufm     <bweb            o-
    URI00 s\sandi Privi        ge[Att Former 2013    an@g      s22@g            com\[G
    00140 hamm lege            achme English 3:33:18 mail.co   mail.c           mail]\Se
277 48    ons_at d      same   nts]   Station PM     m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 260 of 295


          \Uri_K                                                                 \Uri_Ka
          aufma                                                                  ufman_a
          n_aol-                                                                 ol-
          gmail_                                                                 gmail_re
          respon                                                                 sponsive
          sive_it                                                                _items.z
          ems.zi                                                                 ip\gmail
          p\gmai                                                                 _respon
          l_resp                                                                 sive_ite
          onsive                                                                 ms.pst\u
          _items                                                                 rikaufma
          .pst\ur                                                                n_at_gm
          ikaufm                                                                 ail-
          an_at_                                                                 com[004
          gmail-                                                                 ].pst_file
          com[0                                                                  s\Top of
          04].pst                                                                Personal
          _files\                                                                Folders\
          Top of                                      Uri                        sandiha
          Person                                      Kaufm     Bryan            mmons_
          al                                          an<uri    Weber            at_yaho
    OLS_ Folder                      Fwd:     10/20/ kaufm      <bweb            o-
    URI00 s\sandi Privi        Email Demo of 2013     an@g      s22@g            com\[G
    00140 hamm lege            Messa Building 4:04:03 mail.co   mail.c           mail]\Se
278 50    ons_at d      same   ge    s        PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 261 of 295


          \Uri_K                                                                 \Uri_Ka
          aufma                                                                  ufman_a
          n_aol-                                                                 ol-
          gmail_                                                                 gmail_re
          respon                                                                 sponsive
          sive_it                                                                _items.z
          ems.zi                                                                 ip\gmail
          p\gmai                                                                 _respon
          l_resp                                                                 sive_ite
          onsive                                                                 ms.pst\u
          _items                                                                 rikaufma
          .pst\ur                                                                n_at_gm
          ikaufm                                                ischwa           ail-
          an_at_                                                rtz@th           com[004
          gmail-                                                eschw            ].pst_file
          com[0                                                 artzla           s\Top of
          04].pst                                               woffic           Personal
          _files\                                               e.com            Folders\
          Top of                                      Uri       <ischw           sandiha
          Person        legal                         Kaufm     artz@t           mmons_
          al            advice                        an<uri    hesch            at_yaho
    OLS_ Folder         re                    10/20/ kaufm      wartzl           o-
    URI00 s\sandi Privi remedi Email          2013    an@g      awoffi           com\[G
    00140 hamm lege ating Messa Fwd:          4:31:16 mail.co   ce.co            mail]\Se
279 53    ons_at d      the site ge  Retail   PM      m>        m>       False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 262 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[004
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          04].pst                                                               Personal
          _files\                                                               Folders\
          Top of        legal                        Uri                        sandiha
          Person        strateg                      Kaufm     Bryan            mmons_
          al            y re    Email                an<uri    Weber            at_yaho
    OLS_ Folder         Grant Messa          10/20/ kaufm      <bweb            o-
    URI00 s\sandi Privi McKay ge[Att         2013    an@g      s22@g            com\[G
    00140 hamm lege litigatio achme          4:49:57 mail.co   mail.c           mail]\Se
280 55    ons_at d      n       nts]  Fwd:   PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 263 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[004
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          04].pst                                                             Personal
          _files\                                                             Folders\
          Top of                                   Uri                        sandiha
          Person                                   Kaufm     Bryan            mmons_
          al              Email                    an<uri    Weber            at_yaho
    OLS_ Folder           Messa            10/20/ kaufm      <bweb            o-
    URI00 s\sandi Privi   ge[Att   Fwd:    2013    an@g      s22@g            com\[G
    00140 hamm lege       achme    Hearing 4:53:58 mail.co   mail.c           mail]\Se
281 56    ons_at d        nts]     Today PM        m>        om>      False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 264 of 295


          \Uri_K                                                                          \Uri_Ka
          aufma                                                                           ufman_a
          n_aol-                                                                          ol-
          gmail_                                                                          gmail_re
          respon                                                                          sponsive
          sive_it                                                                         _items.z
          ems.zi                                               Catino,                    ip\gmail
          p\gmai                                               Ann                        _respon
          l_resp                                               M.<cat                     sive_ite
          onsive                                               ino@h                      ms.pst\u
          _items                                               alloran-                   rikaufma
          .pst\ur                                              sage.c                     n_at_gm
          ikaufm                                               om>;                       ail-
          an_at_                                               John                       com[004
          gmail-                                               Basha                      ].pst_file
          com[0                                                w                          s\Top of
          04].pst                                              (JBash ischwartz           Personal
          _files\                                              aw@B @thesch               Folders\
          Top of                                     Uri       SWLA wartzlaw              sandiha
          Person                                     Kaufm     W.Co office.co             mmons_
          al                                         an<uri    m)<JB m<ischw              at_yaho
    OLS_ Folder         legal                10/20/ kaufm      ashaw artz@the             o-
    URI00 s\sandi Privi commu Email          2013    an@g      @bswl schwartzl            com\[G
    00140 hamm lege nicatio Messa Fwd:       7:29:09 mail.co   aw.co awoffice.            mail]\Se
282 57    ons_at d      n re UI ge  Update   PM      m>        m>       com>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 265 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[003
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          03].pst                                                               Personal
          _files\                                                               Folders\
          Top of                                    Catino,   'Uri              sandiha
          Person                                    Ann       Kaufm             mmons_
          al                                        M.<CA     an'<uri           at_yaho
    OLS_ Folder                             10/21/ TINO@      kaufm             o-
    URI00 s\sandi Privi        Email        2013    hallora   an@g              com\[G
    00124 hamm lege            Messa RE:    10:22:0 nsage.    mail.c            mail]\Im
283 77    ons_at d      same   ge    Update 5 AM com>         om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 266 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                                              ail-
          an_at_                                                              com[004
          gmail-                                                              ].pst_file
          com[0                                                               s\Top of
          04].pst                                                             Personal
          _files\                                        Catino,              Folders\
          Top of                               Uri       Ann                  sandiha
          Person                               Kaufm     M.<CA                mmons_
          al                                   an<uri    TINO                 at_yaho
    OLS_ Folder                        10/21/ kaufm      @hallo               o-
    URI00 s\sandi Privi   Email        2013    an@g      ransag               com\[G
    00140 hamm lege       Messa Re:    10:41:5 mail.co   e.com                mail]\Se
284 64    ons_at d        ge    Update 4 AM m>           >            False   nt Mail
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 267 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                                  gmail_re
          respon                                                                  sponsive
          sive_it                                                                 _items.z
          ems.zi                                                                  ip\gmail
          p\gmai                                                                  _respon
          l_resp                                                                  sive_ite
          onsive                                                                  ms.pst\u
          _items                                                                  rikaufma
          .pst\ur                                                                 n_at_gm
          ikaufm                                                                  ail-
          an_at_                                                                  com[004
          gmail-                                                                  ].pst_file
          com[0                                                                   s\Top of
          04].pst                                                                 Personal
          _files\                                                                 Folders\
          Top of        legal                          Uri                        sandiha
          Person        strateg                        Kaufm     Bryan            mmons_
          al            y re                           an<uri    Weber            at_yaho
    OLS_ Folder         Grant                  10/21/ kaufm      <bweb            o-
    URI00 s\sandi Privi McKay Email Fwd:       2013    an@g      s22@g            com\[G
    00140 hamm lege litigatio Messa Front      11:15:2 mail.co   mail.c           mail]\Se
285 65    ons_at d      n       ge  building   5 AM m>           om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 268 of 295


          \Uri_K                                                                \Uri_Ka
          aufma                                                                 ufman_a
          n_aol-                                                                ol-
          gmail_                                                                gmail_re
          respon                                                                sponsive
          sive_it                                                               _items.z
          ems.zi                                                                ip\gmail
          p\gmai                                                                _respon
          l_resp                                                                sive_ite
          onsive                                                                ms.pst\u
          _items                                                                rikaufma
          .pst\ur                                                               n_at_gm
          ikaufm                                                                ail-
          an_at_                                                                com[004
          gmail-                                                                ].pst_file
          com[0                                                                 s\Top of
          04].pst                                                               Personal
          _files\                                                               Folders\
          Top of                                     Uri                        sandiha
          Person                                     Kaufm     Bryan            mmons_
          al                                         an<uri    Weber            at_yaho
    OLS_ Folder                              10/21/ kaufm      <bweb            o-
    URI00 s\sandi Privi        Email Fwd:    2013    an@g      s22@g            com\[G
    00140 hamm lege            Messa Fw: Old 11:20:5 mail.co   mail.c           mail]\Se
286 66    ons_at d      same   ge    English 0 AM m>           om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 269 of 295


          \Uri_K                                                               \Uri_Ka
          aufma                                                                ufman_a
          n_aol-                                                               ol-
          gmail_                                                               gmail_re
          respon                                                               sponsive
          sive_it                                                              _items.z
          ems.zi                                                               ip\gmail
          p\gmai                                                               _respon
          l_resp                                                               sive_ite
          onsive                                                               ms.pst\u
          _items                                                               rikaufma
          .pst\ur                                                              n_at_gm
          ikaufm                                                               ail-
          an_at_                                                               com[004
          gmail-                                                               ].pst_file
          com[0                                                                s\Top of
          04].pst                                                              Personal
          _files\                                                              Folders\
          Top of                                    Uri                        sandiha
          Person                                    Kaufm     Bryan            mmons_
          al                                        an<uri    Weber            at_yaho
    OLS_ Folder                             10/21/ kaufm      <bweb            o-
    URI00 s\sandi Privi        Email        2013    an@g      s22@g            com\[G
    00140 hamm lege            Messa        9:59:08 mail.co   mail.c           mail]\Se
287 67    ons_at d      same   ge    Fwd:   PM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 270 of 295


          \Uri_K                                                                 \Uri_Ka
          aufma                                                                  ufman_a
          n_aol-                                                                 ol-
          gmail_                                                                 gmail_re
          respon                                                                 sponsive
          sive_it                                                                _items.z
          ems.zi                                                                 ip\gmail
          p\gmai                                                                 _respon
          l_resp                                                                 sive_ite
          onsive                                                                 ms.pst\u
          _items                                                                 rikaufma
          .pst\ur                                                                n_at_gm
          ikaufm                                                                 ail-
          an_at_                                                                 com[004
          gmail-                                                                 ].pst_file
          com[0                                                                  s\Top of
          04].pst                                                                Personal
          _files\                                                                Folders\
          Top of                                      Uri                        sandiha
          Person                                      Kaufm     Bryan            mmons_
          al                   Email                  an<uri    Weber            at_yaho
    OLS_ Folder                Messa          10/21/ kaufm      <bweb            o-
    URI00 s\sandi Privi        ge[Att Fwd:    2013    an@g      s22@g            com\[G
    00140 hamm lege            achme Shared   10:02:3 mail.co   mail.c           mail]\Se
288 68    ons_at d      same   nts]   Risk    8 PM m>           om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 271 of 295


          \Uri_K                                                                 \Uri_Ka
          aufma                                                                  ufman_a
          n_aol-                                                                 ol-
          gmail_                                                                 gmail_re
          respon                                                                 sponsive
          sive_it                                                                _items.z
          ems.zi                                                                 ip\gmail
          p\gmai                                                                 _respon
          l_resp                                                                 sive_ite
          onsive                                                                 ms.pst\u
          _items                                                                 rikaufma
          .pst\ur                                                                n_at_gm
          ikaufm                                                                 ail-
          an_at_                                                                 com[004
          gmail-                                                                 ].pst_file
          com[0                                                                  s\Top of
          04].pst                                                                Personal
          _files\                                                                Folders\
          Top of                                      Uri                        sandiha
          Person                                      Kaufm     Bryan            mmons_
          al                                          an<uri    Weber            at_yaho
    OLS_ Folder                               10/22/ kaufm      <bweb            o-
    URI00 s\sandi Privi        Email          2013    an@g      s22@g            com\[G
    00140 hamm lege            Messa Fwd:     8:18:22 mail.co   mail.c           mail]\Se
289 69    ons_at d      same   ge    Turbines AM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 272 of 295


          \Uri_K                                                                  \Uri_Ka
          aufma                                                                   ufman_a
          n_aol-                                                                  ol-
          gmail_                                                                  gmail_re
          respon                                                                  sponsive
          sive_it                                                                 _items.z
          ems.zi                                                                  ip\gmail
          p\gmai                                                                  _respon
          l_resp                                                                  sive_ite
          onsive                                                                  ms.pst\u
          _items                                                                  rikaufma
          .pst\ur                                                                 n_at_gm
          ikaufm                                                                  ail-
          an_at_                                                                  com[004
          gmail-                                                                  ].pst_file
          com[0                                                                   s\Top of
          04].pst                                                                 Personal
          _files\                                                                 Folders\
          Top of                                       Uri                        sandiha
          Person                                       Kaufm     Bryan            mmons_
          al                                           an<uri    Weber            at_yaho
    OLS_ Folder                                10/22/ kaufm      <bweb            o-
    URI00 s\sandi Privi        Email Fwd:      2013    an@g      s22@g            com\[G
    00140 hamm lege            Messa English   9:57:54 mail.co   mail.c           mail]\Se
290 70    ons_at d      same   ge    station   AM      m>        om>      False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 273 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[003
          gmail-                                                                   ].pst_file
          com[0                                                                    s\Top of
          03].pst                                                                  Personal
          _files\                                       Mshah    urikauf           Folders\
          Top of                                        00001    man@              sandiha
          Person                                        1@aol.   gmail.c           mmons_
          al            legal     Email                 com<     om<ur             at_yaho
    OLS_ Folder         commu     Messa Lawsuit 11/4/2 Mshah     ikaufm            o-
    URI00 s\sandi Privi nicatio   ge[Att e by   013     00001    an@g              com\[G
    00125 hamm lege n re          achme Paul    8:28:23 1@aol.   mail.c            mail]\Im
291 32    ons_at d      service   nts]   Jacoby AM      com>     om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 274 of 295


          \Uri_K                                                                    \Uri_Ka
          aufma                                                                     ufman_a
          n_aol-                                                                    ol-
          gmail_                                                                    gmail_re
          respon                                                                    sponsive
          sive_it                                                                   _items.z
          ems.zi                                                                    ip\gmail
          p\gmai                                                                    _respon
          l_resp                                                                    sive_ite
          onsive                                                                    ms.pst\u
          _items                                                                    rikaufma
          .pst\ur                                                                   n_at_gm
          ikaufm                                                   ischwa           ail-
          an_at_                                                   rtz@th           com[004
          gmail-                                                   eschw            ].pst_file
          com[0                                                    artzla           s\Top of
          04].pst                                                  woffic           Personal
          _files\       legal                                      e.com            Folders\
          Top of        commu                            Uri       <ischw           sandiha
          Person        nicatio                          Kaufm     artz@t           mmons_
          al            n re    Email    Fwd:            an<uri    hesch            at_yaho
    OLS_ Folder         lawsuit Messa    Lawsuit 11/4/2 kaufm      wartzl           o-
    URI00 s\sandi Privi with    ge[Att   e by    013     an@g      awoffi           com\[G
    00141 hamm lege Jacobi achme         Paul    8:29:51 mail.co   ce.co            mail]\Se
292 11    ons_at d      & Case nts]      Jacoby AM       m>        m>       False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 275 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                                   ail-
          an_at_                                                                   com[003
          gmail-                                                                   ].pst_file
          com[0                                                                    s\Top of
          03].pst                                                                  Personal
          _files\                                       Mshah    urikauf           Folders\
          Top of                                        00001    man@              sandiha
          Person        legal           Retainer        1@aol.   gmail.c           mmons_
          al            commu           Bercha          com<     om<ur             at_yaho
    OLS_ Folder         nicatio         m,Mose 11/4/2 Mshah      ikaufm            o-
    URI00 s\sandi Privi n re    Email   s&       013    00001    an@g              com\[G
    00125 hamm lege retaine Messa       Davlin, 9:00:55 1@aol.   mail.c            mail]\Im
293 35    ons_at d      r       ge      PC       AM     com>     om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 276 of 295


          \Uri_K                                                                      \Uri_Ka
          aufma                                                                       ufman_a
          n_aol-                                                                      ol-
          gmail_                                                                      gmail_re
          respon                                                                      sponsive
          sive_it                                                                     _items.z
          ems.zi                                                                      ip\gmail
          p\gmai                                                                      _respon
          l_resp                                                                      sive_ite
          onsive                                                                      ms.pst\u
          _items                                                                      rikaufma
          .pst\ur                                                                     n_at_gm
          ikaufm                                                                      ail-
          an_at_                                                                      com[003
          gmail-                                                                      ].pst_file
          com[0                                                                       s\Top of
          03].pst                                                                     Personal
          _files\                                          Mshah    urikauf           Folders\
          Top of                        Retainer           00001    man@              sandiha
          Person                        Bercha             1@aol.   gmail.c           mmons_
          al                   Email    m,                 com<     om<ur             at_yaho
    OLS_ Folder                Messa    Moses      11/4/2 Mshah     ikaufm            o-
    URI00 s\sandi Privi        ge[Att   &          013     00001    an@g              com\[G
    00125 hamm lege            achme    Devlin,    9:02:57 1@aol.   mail.c            mail]\Im
294 36    ons_at d      same   nts]     PC         AM      com>     om>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 277 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                  ischwa           ail-
          an_at_                                                  rtz@th           com[004
          gmail-                                                  eschw            ].pst_file
          com[0                                                   artzla           s\Top of
          04].pst                                                 woffic           Personal
          _files\                                                 e.com            Folders\
          Top of                     Fwd:               Uri       <ischw           sandiha
          Person                     Retainer           Kaufm     artz@t           mmons_
          al                         Bercha             an<uri    hesch            at_yaho
    OLS_ Folder                      m,Mose     11/4/2 kaufm      wartzl           o-
    URI00 s\sandi Privi        Email s &        013     an@g      awoffi           com\[G
    00141 hamm lege            Messa Davlin,    9:08:35 mail.co   ce.co            mail]\Se
295 13    ons_at d      same   ge    PC         AM      m>        m>       False   nt Mail
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 278 of 295


            \Uri_K                                                                      \Uri_Ka
            aufma                                                                       ufman_a
            n_aol-                                                                      ol-
            gmail_                                                                      gmail_re
            respon                                                                      sponsive
            sive_it                                                                     _items.z
            ems.zi                                                                      ip\gmail
            p\gmai                                                                      _respon
            l_resp                                                                      sive_ite
            onsive                                                                      ms.pst\u
            _items                                                                      rikaufma
            .pst\ur                                                                     n_at_gm
            ikaufm                                                                      ail-
            an_at_                                                                      com[004
            gmail-                                                                      ].pst_file
            com[0                                                                       s\Top of
            04].pst                                                                     Personal
            _files\                       Re:                          Mshah            Folders\
            Top of                        Retainer           Uri       00001            sandiha
            Person                        Bercha             Kaufm     1@aol            mmons_
            al                            m,                 an<uri    .com<            at_yaho
    OLS_    Folder                        Moses      11/4/2 kaufm      Mshah            o-
    URI00   s\sandi    Privi        Email &          013     an@g      00001            com\[G
    00141   hamm       lege         Messa Devlin,    9:09:04 mail.co   1@aol            mail]\Se
296 14      ons_at     d     same   ge    PC         AM      m>        .com>    False   nt Mail
            \Uri_K                                                                      \Uri_Ka
            aufma                                                                       ufman_a
            n_aol-                                                                      ol-
            gmail_                                                                      gmail_re
            respon                                                                      sponsive
            sive_it                                                                     _items.z
            ems.zi                                                                      ip\aol_r
            p\aol_                                                                      esponsiv
            respon                                                                      e_items.
            sive_it                                                                     pst\msh
            ems.ps                                                                      ah00001
            t\msha                                                                      1_at_aol-
            h0000                                                                       com.pst
            11_at_                                        Micha                         _files\To
            aol-                                          el                            p of
            com.ps                                        Connel                        Personal
            t_files\                                      ly<con       'Bobby           Folders\
            Top of                  Email FW:             nelly@       Shah'<           mshah0
    OLS_    Person                  Messa Lawsuit 11/18/ murph         mshah            00011_a
    URI00   al         Privi        ge[Att e by   2013    ykarpi       00001            t_-
    00049   Folder     lege         achme Paul    5:33:20 e.com        1@aol            com\INB
297 83      s\msh      d     same   nts]   Jacoby PM      >            .com>    False   OX
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 279 of 295


          \Uri_K                                                                                   \Uri_Ka
          aufma                                                                                    ufman_a
          n_aol-                                                                                   ol-
          gmail_                                                                                   gmail_re
          respon                                                                                   sponsive
          sive_it                                                                                  _items.z
          ems.zi                                                                                   ip\gmail
          p\gmai                                                                                   _respon
          l_resp                                                                                   sive_ite
          onsive                                                                                   ms.pst\u
          _items                                                                                   rikaufma
          .pst\ur                                                                                  n_at_gm
          ikaufm                                                                                   ail-
          an_at_                        RE:                                                        com[003
          gmail-                        English                                                    ].pst_file
          com[0                         Station                                                    s\Top of
          03].pst                       Limited                                                    Personal
          _files\                       Environ                      urikauf                       Folders\
          Top of                        mental             Catino,   man@                          sandiha
          Person        legal           Investig           Ann       gmail.c                       mmons_
          al            advice          ation              M.<CA     om<ur     'Insall,            at_yaho
    OLS_ Folder         re site         Scope of   11/19/ TINO@      ikaufm    John'<Jo            o-
    URI00 s\sandi Privi charact Email   Work       2013    hallora   an@g      hn.Insall           com\[G
    00125 hamm lege erizatio Messa      110720     12:35:3 nsage.    mail.c    @stantec            mail]\Im
298 79    ons_at d      n       ge      13         4 PM com>         om>       .com>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 280 of 295


          \Uri_K                                                                                \Uri_Ka
          aufma                                                                                 ufman_a
          n_aol-                                                                                ol-
          gmail_                                                                                gmail_re
          respon                                                                                sponsive
          sive_it                                                                               _items.z
          ems.zi                                                                                ip\gmail
          p\gmai                                                                                _respon
          l_resp                                                                                sive_ite
          onsive                                                                                ms.pst\u
          _items                                                                                rikaufma
          .pst\ur                                                                               n_at_gm
          ikaufm                                                                                ail-
          an_at_                     Re:                                                        com[004
          gmail-                     English                                                    ].pst_file
          com[0                      Station                                                    s\Top of
          04].pst                    Limited                                                    Personal
          _files\                    Environ                      Catino,                       Folders\
          Top of                     mental             Uri       Ann                           sandiha
          Person                     Investig           Kaufm     M.<CA                         mmons_
          al                         ation              an<uri    TINO      Insall,             at_yaho
    OLS_ Folder                      Scope of   11/19/ kaufm      @hallo    John<Joh            o-
    URI00 s\sandi Privi        Email Work       2013    an@g      ransag    n.Insall@           com\[G
    00141 hamm lege            Messa 110720     12:50:4 mail.co   e.com     stantec.c           mail]\Se
299 30    ons_at d      same   ge    13         3 PM m>           >         om>         False   nt Mail
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 281 of 295


            \Uri_K                                                                                      \Uri_Ka
            aufma                                                                                       ufman_a
            n_aol-                                                                                      ol-
            gmail_                                                                                      gmail_re
            respon                                                                                      sponsive
            sive_it                                                                                     _items.z
            ems.zi                                                                                      ip\gmail
            p\gmai                                                                                      _respon
            l_resp                                                                                      sive_ite
            onsive                                                                                      ms.pst\u
            _items                                                                                      rikaufma
            .pst\ur                                                                                     n_at_gm
            ikaufm                                                                  schorer             ail-
            an_at_                                                                  @schore             com[003
            gmail-                                                        twithe    rlaw.com            ].pst_file
            com[0                                                         ringto    <schorer            s\Top of
            03].pst                                                       n@cbs     @schore             Personal
            _files\                                              Mshah    heala     rlaw.com            Folders\
            Top of                                               00001    w.com     >;                  sandiha
            Person                                               1@aol.   <twith    urikaufm            mmons_
            al                         Email                     com<     eringt    an@gmai             at_yaho
    OLS_    Folder                     Messa    Certifica 11/25/ Mshah    on@c      l.com<uri           o-
    URI00   s\sandi    Privi           ge[Att   te of     2013   00001    bsheal    kaufman             com\[G
    00125   hamm       lege            achme    complia 10:44:3 1@aol.    aw.co     @gmail.c            mail]\Im
300 90      ons_at     d               nts]     nce       3 AM com>       m>        om>         False   portant
            \Uri_K                                                                                      \Uri_Ka
            aufma                                                                                       ufman_a
            n_aol-                                                                                      ol-
            gmail_                                                                                      gmail_re
            respon                                                                                      sponsive
            sive_it                                                                                     _items.z
            ems.zi                                                                                      ip\aol_r
            p\aol_                                                                                      esponsiv
            respon                                                                                      e_items.
            sive_it                                                                                     pst\msh
            ems.ps                                                                                      ah00001
            t\msha                                                                                      1_at_aol-
            h0000                                                                                       com.pst
            11_at_                                                                                      _files\To
            aol-                                                Mshah     urikauf                       p of
            com.ps                                              00001     man@                          Personal
            t_files\         legal                              1@aol.    gmail.c                       Folders\
            Top of           advice    Email                    com<      omhi<                         mshah0
    OLS_    Person           re        Messa    Fwd:    1/7/20 Mshah      urikauf                       00011_a
    URI00   al         Privi contrac   ge[Att   FW:     14      00001     man@                          t_-
    00090   Folder     lege t with     achme    Attache 10:44:2 1@aol.    gmail.c                       com\Se
301 77      s\msh      d     Stantec   nts]     d Image 6 AM com>         omhi>                 False   nt
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 282 of 295


          \Uri_K                                                                       \Uri_Ka
          aufma                                                                        ufman_a
          n_aol-                                                                       ol-
          gmail_                                                                       gmail_re
          respon                                                                       sponsive
          sive_it                                                                      _items.z
          ems.zi                                                      Bryan            ip\gmail
          p\gmai                                                      Weber            _respon
          l_resp                                                      <bweb            sive_ite
          onsive                                                      s22@g            ms.pst\u
          _items                                                      mail.c           rikaufma
          .pst\ur                                                     om>;             n_at_gm
          ikaufm                                                      ischwa           ail-
          an_at_                                                      rtz@th           com[004
          gmail-                                                      eschw            ].pst_file
          com[0                                                       artzla           s\Top of
          04].pst       legal                                         woffic           Personal
          _files\       advice           Fwd:                         e.com            Folders\
          Top of        and              Mininbe            Uri       <ischw           sandiha
          Person        strateg          rg_Affid           Kaufm     artz@t           mmons_
          al            y re    Email    avit_              an<uri    hesch            at_yaho
    OLS_ Folder         Mininb Messa     MM         1/20/2 kaufm      wartzl           o-
    URI00 s\sandi Privi erg     ge[Att   edits 1-   014     an@g      awoffi           com\[G
    00141 hamm lege affidavi achme       15-        6:33:10 mail.co   ce.co            mail]\Se
302 60    ons_at d      t       nts]     14.docx    PM      m>        m>       False   nt Mail
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 283 of 295


            \Uri_K                                                                                      \Uri_Ka
            aufma                                                                                       ufman_a
            n_aol-                                                                                      ol-
            gmail_                                                                                      gmail_re
            respon                                                                                      sponsive
            sive_it                                                                                     _items.z
            ems.zi                                                                                      ip\gmail
            p\gmai                                                                                      _respon
            l_resp                                                                                      sive_ite
            onsive                                                                                      ms.pst\u
            _items                                                                                      rikaufma
            .pst\ur                                                                                     n_at_gm
            ikaufm                                                                  schorer             ail-
            an_at_                                                                  @schore             com[003
            gmail-                                                        twithe    rlaw.com            ].pst_file
            com[0                                                         ringto    <schorer            s\Top of
            03].pst                                                       n@cbs     @schore             Personal
            _files\                                              Mshah    heala     rlaw.com            Folders\
            Top of                                               00001    w.com     >;                  sandiha
            Person                                               1@aol.   <twith    urikaufm            mmons_
            al               legal     Email                     com<     eringt    an@gmai             at_yaho
    OLS_    Folder           advice    Messa    Certifica 1/26/2 Mshah    on@c      l.com<uri           o-
    URI00   s\sandi    Privi re site   ge[Att   te of     014    00001    bsheal    kaufman             com\[G
    00128   hamm       lege securit    achme    Complia 9:37:56 1@aol.    aw.co     @gmail.c            mail]\Im
303 69      ons_at     d     y         nts]     nce       AM     com>     m>        om>         False   portant
            \Uri_K                                                                                      \Uri_Ka
            aufma                                                                                       ufman_a
            n_aol-                                                                                      ol-
            gmail_                                                                                      gmail_re
            respon                                                                                      sponsive
            sive_it                                                                                     _items.z
            ems.zi                                                                                      ip\aol_r
            p\aol_                                                                                      esponsiv
            respon                                                                                      e_items.
            sive_it                                                                                     pst\msh
            ems.ps                                                                                      ah00001
            t\msha                                                                                      1_at_aol-
            h0000                                                         cpiracc                       com.pst
            11_at_                                                        i@jeffr                       _files\To
            aol-                             Re: FW:            Mshah     eymill                        p of
            com.ps                           Juvenal            00001     erpc.c                        Personal
            t_files\                         Fernand            1@aol.    om<cp                         Folders\
            Top of                           ez First           com<      iracci                        mshah0
    OLS_    Person                           Mercury    1/28/2 Mshah      @jeffr                        00011_a
    URI00   al         Privi           Email Claims     014     00001     eymill                        t_-
    00091   Folder     lege            Messa No.:       4:02:39 1@aol.    erpc.c                        com\Se
304 01      s\msh      d               ge    30119      PM      com>      om>                   False   nt
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 284 of 295


            \Uri_K                                                                           \Uri_Ka
            aufma                                                                            ufman_a
            n_aol-                                                                           ol-
            gmail_                                                                           gmail_re
            respon                                                                           sponsive
            sive_it                                                                          _items.z
            ems.zi                                                                           ip\aol_r
            p\aol_                                                                           esponsiv
            respon                                                                           e_items.
            sive_it                                                                          pst\msh
            ems.ps                                                                           ah00001
            t\msha                                                                           1_at_aol-
            h0000                                                                            com.pst
            11_at_                                               Christi                     _files\To
            aol-                             RE: FW:             na         Mshah            p of
            com.ps                           Juvenal             Piracci,   00001            Personal
            t_files\                         Fernand             Esq.<c     1@aol            Folders\
            Top of                           ez First            piracci    .com<            mshah0
    OLS_    Person                           Mercury     1/28/2 @jeffr      Mshah            00011_a
    URI00   al         Privi           Email Claims      014     eymille    00001            t_-
    00055   Folder     lege            Messa No.:        4:53:33 rpc.co     1@aol            com\INB
305 95      s\msh      d               ge    30119       PM      m>         .com>    False   OX
            \Uri_K                                                                           \Uri_Ka
            aufma                                                                            ufman_a
            n_aol-                                                                           ol-
            gmail_                                                                           gmail_re
            respon                                                                           sponsive
            sive_it                                                                          _items.z
            ems.zi                                                                           ip\gmail
            p\gmai                                                                           _respon
            l_resp                                                                           sive_ite
            onsive                                                                           ms.pst\u
            _items                                                                           rikaufma
            .pst\ur                                                                          n_at_gm
            ikaufm                                                          ischwa           ail-
            an_at_                                                          rtz@th           com[003
            gmail-                                                          eschw            ].pst_file
            com[0                                                           artzla           s\Top of
            03].pst                                                         woffic           Personal
            _files\          legal                                          e.com            Folders\
            Top of           commu                                Uri       <ischw           sandiha
            Person           nicatio                              Kaufm     artz@t           mmons_
            al               n re      Email                      an<uri    hesch            at_yaho
    OLS_    Folder           Mininb    Messa              1/30/2 kaufm      wartzl           o-
    URI00   s\sandi    Privi erg       ge[Att             014     an@g      awoffi           com\[G
    00128   hamm       lege Affidavi   achme    Fwd:      11:54:0 mail.co   ce.co            mail]\Im
306 83      ons_at     d     t         nts]     Affidavit 2 AM m>           m>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 285 of 295


          \Uri_K                                                              \Uri_Ka
          aufma                                                               ufman_a
          n_aol-                                                              ol-
          gmail_                                                              gmail_re
          respon                                                              sponsive
          sive_it                                                             _items.z
          ems.zi                                                              ip\gmail
          p\gmai                                                              _respon
          l_resp                                                              sive_ite
          onsive                                                              ms.pst\u
          _items                                                              rikaufma
          .pst\ur                                                             n_at_gm
          ikaufm                                         Ischwa               ail-
          an_at_                                         rtz@th               com[004
          gmail-                                         eschw                ].pst_file
          com[0                                          artzla               s\Top of
          04].pst                                        woffic               Personal
          _files\                                        e.com                Folders\
          Top of                               Uri       <ischw               sandiha
          Person                               Kaufm     artz@t               mmons_
          al                    Fwd:           an<uri    hesch                at_yaho
    OLS_ Folder                 Settlem 2/16/2 kaufm     wartzl               o-
    URI00 s\sandi Privi   Email ent     014    an@g      awoffi               com\[G
    00141 hamm lege       Messa Agreem 10:40:5 mail.co   ce.co                mail]\Se
307 68    ons_at d        ge    ent     2 AM m>          m>           False   nt Mail
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 286 of 295


          \Uri_K                                                                   \Uri_Ka
          aufma                                                                    ufman_a
          n_aol-                                                                   ol-
          gmail_                                                                   gmail_re
          respon                                                                   sponsive
          sive_it                                                                  _items.z
          ems.zi                                                                   ip\gmail
          p\gmai                                                                   _respon
          l_resp                                                                   sive_ite
          onsive                                                                   ms.pst\u
          _items                                                                   rikaufma
          .pst\ur                                                                  n_at_gm
          ikaufm                                                  Ischwa           ail-
          an_at_                                                  rtz@th           com[003
          gmail-                                                  eschw            ].pst_file
          com[0                                                   artzla           s\Top of
          03].pst                                                 woffic           Personal
          _files\       legal                                     e.com            Folders\
          Top of        commu                           Uri       <ischw           sandiha
          Person        nicatio                         Kaufm     artz@t           mmons_
          al            n re                            an<uri    hesch            at_yaho
    OLS_ Folder         Mininb          Fwd:    2/18/2 kaufm      wartzl           o-
    URI00 s\sandi Privi erg     Email   Revised 014     an@g      awoffi           com\[G
    00129 hamm lege Affidavi Messa      cover   2:47:43 mail.co   ce.co            mail]\Im
308 58    ons_at d      t       ge      Page    PM      m>        m>       False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 287 of 295


          \Uri_K                                                                              \Uri_Ka
          aufma                                                                               ufman_a
          n_aol-                                                                              ol-
          gmail_                                                                              gmail_re
          respon                                                                              sponsive
          sive_it                                                                             _items.z
          ems.zi                                                                              ip\gmail
          p\gmai                                                                              _respon
          l_resp                                                                              sive_ite
          onsive                                                                              ms.pst\u
          _items                                                                              rikaufma
          .pst\ur                                                                             n_at_gm
          ikaufm                                                                              ail-
          an_at_                                                                              com[003
          gmail-                                                                              ].pst_file
          com[0                                                                               s\Top of
          03].pst                                                         ischwartz           Personal
          _files\                                               Catino,   @thesch             Folders\
          Top of                                      Uri       Ann       wartzlaw            sandiha
          Person                                      Kaufm     M.<CA     office.co           mmons_
          al                   Email                  an<uri    TINO      m<ischw             at_yaho
    OLS_ Folder                Messa Fwd:     2/18/2 kaufm      @hallo    artz@the            o-
    URI00 s\sandi Privi        ge[Att Revised 014     an@g      ransag    schwartzl           com\[G
    00129 hamm lege            achme cover    3:25:59 mail.co   e.com     awoffice.           mail]\Im
309 62    ons_at d      same   nts]   Page    PM      m>        >         com>        False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 288 of 295


          \Uri_K                                         'Uri                 \Uri_Ka
          aufma                                          Kaufm                ufman_a
          n_aol-                                         an'<uri              ol-
          gmail_                                         kaufm                gmail_re
          respon                                         an@g                 sponsive
          sive_it                                        mail.c               _items.z
          ems.zi                                         om>;                 ip\gmail
          p\gmai                                         'Bobby               _respon
          l_resp                                         Shah'<               sive_ite
          onsive                                         mshah                ms.pst\u
          _items                                         00001                rikaufma
          .pst\ur                                        1@aol                n_at_gm
          ikaufm                                         .com>;               ail-
          an_at_                                         ischwa               com[003
          gmail-                                         rtz@th               ].pst_file
          com[0                                          eschw                s\Top of
          03].pst                               Micha    artzla               Personal
          _files\                               el       woffic               Folders\
          Top of                                Connel   e.com                sandiha
          Person                                ly<con   <ischw               mmons_
          al                    RE:             nelly@   artz@t               at_yaho
    OLS_ Folder                 Geoque 2/20/2 murph      hesch                o-
    URI00 s\sandi Privi   Email st v.   014     ykarpi   wartzl               com\[G
    00129 hamm lege       Messa Evergre 3:18:33 e.com    awoffi               mail]\Im
310 78    ons_at d        ge    en      PM      >        ce.co        False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 289 of 295


          \Uri_K                                                                       \Uri_Ka
          aufma                                                                        ufman_a
          n_aol-                                                                       ol-
          gmail_                                                                       gmail_re
          respon                                                                       sponsive
          sive_it                                                                      _items.z
          ems.zi                                                                       ip\gmail
          p\gmai                                                                       _respon
          l_resp                                                                       sive_ite
          onsive                                                                       ms.pst\u
          _items                                                                       rikaufma
          .pst\ur                                                  Bobby               n_at_gm
          ikaufm                                                   Shah<ms             ail-
          an_at_                                                   hah0000             com[003
          gmail-                                                   11@aol.c            ].pst_file
          com[0                                                    om>;                s\Top of
          03].pst                                         Micha    <ischwar            Personal
          _files\                                         el       tz@thesc            Folders\
          Top of                                Uri       Connel   hwartzla            sandiha
          Person                                Kaufm     ly<con   woffice.c           mmons_
          al                    Re:             an<uri    nelly@   om><isch            at_yaho
    OLS_ Folder                 Geoque 2/20/2 kaufm       murph    wartz@t             o-
    URI00 s\sandi Privi   Email st v.   014     an@g      ykarpi   heschwar            com\[G
    00129 hamm lege       Messa Evergre 3:56:23 mail.co   e.com    tzlawoffi           mail]\Im
311 79    ons_at d        ge    en      PM      m>        >        ce.com>     False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 290 of 295


          \Uri_K                                                                          \Uri_Ka
          aufma                                                                           ufman_a
          n_aol-                                                                          ol-
          gmail_                                                                          gmail_re
          respon                                                                          sponsive
          sive_it                                                                         _items.z
          ems.zi                                                                          ip\gmail
          p\gmai                                                                          _respon
          l_resp                                                                          sive_ite
          onsive                                                                          ms.pst\u
          _items                                           Catino,                        rikaufma
          .pst\ur                                          Ann                            n_at_gm
          ikaufm                                           M.<CA                          ail-
          an_at_                                           TINO                           com[003
          gmail-                                           @hallo                         ].pst_file
          com[0                                            ransag                         s\Top of
          03].pst                                          e.com      ischwartz           Personal
          _files\                                          >;         @thesch             Folders\
          Top of                                 Uri       John       wartzlaw            sandiha
          Person                                 Kaufm     H.         office.co           mmons_
          al                                     an<uri    Insall<j   m<ischw             at_yaho
    OLS_ Folder                          3/12/2 kaufm      ohn.in     artz@the            o-
    URI00 s\sandi Privi   Email Re: Sell 014     an@g      sall@s     schwartzl           com\[G
    00130 hamm lege       Messa the Site 5:00:14 mail.co   tantec.    awoffice.           mail]\Im
312 34    ons_at d        ge    to UI    AM      m>        com>       com>        False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 291 of 295


          \Uri_K                                                                               \Uri_Ka
          aufma                                                                                ufman_a
          n_aol-                                                                               ol-
          gmail_                                                                               gmail_re
          respon                                                                               sponsive
          sive_it                                                                              _items.z
          ems.zi                                                                               ip\gmail
          p\gmai                                                                               _respon
          l_resp                                                                               sive_ite
          onsive                                                                               ms.pst\u
          _items                                                                               rikaufma
          .pst\ur                                                                              n_at_gm
          ikaufm        legal                                                                  ail-
          an_at_        commu                                                                  com[003
          gmail-        nicatio                                                                ].pst_file
          com[0         n and                                                                  s\Top of
          03].pst       strateg                                            ischwartz           Personal
          _files\       y re                                     Catino,   @thesch             Folders\
          Top of        bondin                         Uri       Ann       wartzlaw            sandiha
          Person        g                              Kaufm     M.<CA     office.co           mmons_
          al            compa                          an<uri    TINO      m<ischw             at_yaho
    OLS_ Folder         ny's                   5/12/2 kaufm      @hallo    artz@the            o-
    URI00 s\sandi Privi refusal Email          014     an@g      ransag    schwartzl           com\[G
    00120 hamm lege to          Messa Fwd:     10:41:2 mail.co   e.com     awoffice.           mail]\Im
313 85    ons_at d      settle ge     Status   7 AM m>           >         com>        False   portant
            Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 292 of 295


          \Uri_K                                                                              \Uri_Ka
          aufma                                                                               ufman_a
          n_aol-                                                                              ol-
          gmail_                                                                              gmail_re
          respon                                                                              sponsive
          sive_it                                                                             _items.z
          ems.zi                                                                              ip\gmail
          p\gmai                                                                              _respon
          l_resp                                                                              sive_ite
          onsive                                                                              ms.pst\u
          _items                                                                              rikaufma
          .pst\ur                                                                             n_at_gm
          ikaufm                                                                              ail-
          an_at_                                                                              com[003
          gmail-                                                                              ].pst_file
          com[0                                                                               s\Top of
          03].pst                                                         ischwartz           Personal
          _files\                                                         @thesch             Folders\
          Top of                                      Catino,   'Uri      wartzlaw            sandiha
          Person                                      Ann       Kaufm     office.co           mmons_
          al                                          M.<CA     an'<uri   m<ischw             at_yaho
    OLS_ Folder                               5/12/2 TINO@      kaufm     artz@the            o-
    URI00 s\sandi Privi        Email          014     hallora   an@g      schwartzl           com\[G
    00120 hamm lege            Messa RE:      12:11:2 nsage.    mail.c    awoffice.           mail]\Im
314 86    ons_at d      same   ge    Status   4 PM com>         om>       com>        False   portant
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 293 of 295


            \Uri_K                                                                                \Uri_Ka
            aufma                                                                                 ufman_a
            n_aol-                                                                                ol-
            gmail_                                                                                gmail_re
            respon                                                                                sponsive
            sive_it                                                                               _items.z
            ems.zi                                                                                ip\gmail
            p\gmai                                                                                _respon
            l_resp                                                                                sive_ite
            onsive                                                                                ms.pst\u
            _items                                                                                rikaufma
            .pst\ur                                                                               n_at_gm
            ikaufm                                                                                ail-
            an_at_                                                                                com[003
            gmail-                                                                                ].pst_file
            com[0                                                                                 s\Top of
            03].pst                                                                               Personal
            _files\                                                 urikauf                       Folders\
            Top of                                        Maggi     man@                          sandiha
            Person                         32-            e         gmail.c                       mmons_
            al                      Email gmail_r         Farhou    om<ur                         at_yaho
    OLS_    Folder                  Messa esponsiv 5/16/2 d<mf      ikaufm                        o-
    URI00   s\sandi    Privi        ge[Att e_items- 014   @GOG      an@g                          com\[G
    00121   hamm       lege         achme 1210.ms 2:19:52 ICK.co    mail.c                        mail]\Im
315 34      ons_at     d     same   nts]   g        PM    m>        om>                   False   portant
            \Uri_K                                                                                \Uri_Ka
            aufma                                                                                 ufman_a
            n_aol-                                                                                ol-
            gmail_                                                                                gmail_re
            respon                                                                                sponsive
            sive_it                                                                               _items.z
            ems.zi                                                                                ip\aol_r
            p\aol_                                                                                esponsiv
            respon                                                                                e_items.
            sive_it                                                                               pst\msh
            ems.ps                                                                                ah00001
            t\msha                                                                                1_at_aol-
            h0000            work                                                                 com.pst
            11_at_           with                                   balot                         _files\To
            aol-             comput                        mshah    @onli                         p of
            com.ps           er                            00001    nesecu                        Personal
            t_files\         compa                         1@aol.   rity.co   urikaufm            Folders\
            Top of           ny re                         com<     m<bal     an@gmai             mshah0
    OLS_    Person           docum               6/8/20    mshah    ot@on     l.com<uri           00011_a
    URI00   al         Privi ent    Email        14        00001    linesec   kaufman             t_-
    00094   Folder     lege produc Messa passwor 4:02:46   1@aol.   urity.c   @gmail.c            com\Se
316 25      s\msh      d     tion   ge    d      PM        com>     om>       om>         False   nt
             Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 294 of 295


            \Uri_K                                                                               \Uri_Ka
            aufma                                                                                ufman_a
            n_aol-                                                                               ol-
            gmail_                                                                               gmail_re
            respon                                                                               sponsive
            sive_it                                                                              _items.z
            ems.zi                                                                               ip\aol_r
            p\aol_                                                                               esponsiv
            respon                                                                               e_items.
            sive_it                                                                              pst\msh
            ems.ps                                                                               ah00001
            t\msha                                                                               1_at_aol-
            h0000                                                                                com.pst
            11_at_                                                                               _files\To
            aol-                                                    mshah                        p of
            com.ps                                        Uri       00001                        Personal
            t_files\                                      Kaufm     1@aol                        Folders\
            Top of                                        an<uri    .com<    Charlie             mshah0
    OLS_    Person                                6/8/20 kaufm      mshah    Balot<bal           00011_a
    URI00   al         Privi        Email Re:     14      an@g      00001    ot@onlin            t_-
    00069   Folder     lege         Messa passwor 4:21:09 mail.co   1@aol    esecurity           com\INB
317 88      s\msh      d     same   ge    d       PM      m>        .com>    .com>       False   OX
            \Uri_K                                                                               \Uri_Ka
            aufma                                                                                ufman_a
            n_aol-                                                                               ol-
            gmail_                                                                               gmail_re
            respon                                                                               sponsive
            sive_it                                                                              _items.z
            ems.zi                                                                               ip\aol_r
            p\aol_                                                                               esponsiv
            respon                                                                               e_items.
            sive_it                                                                              pst\msh
            ems.ps                                                                               ah00001
            t\msha                                                                               1_at_aol-
            h0000                                                                                com.pst
            11_at_                                                  <msha                        _files\To
            aol-                                                    h0000                        p of
            com.ps                                        Charlie   11@a     <urikauf            Personal
            t_files\                                      Balot<    ol.com   man@g               Folders\
            Top of                                        balot     ><msh    mail.com            mshah0
    OLS_    Person                                6/8/20 @onlin     ah000    ><urikauf           00011_a
    URI00   al         Privi        Email Re:     14      esecuri   011@     man@g               t_-
    00069   Folder     lege         Messa passwor 4:24:57 ty.com    aol.co   mail.com            com\INB
318 89      s\msh      d     same   ge    d       PM      >         m>       >           False   OX
           Case 3:12-cv-01794-SRU Document 51 Filed 06/25/14 Page 295 of 295


          \Uri_K                                                                             \Uri_Ka
          aufma                                                                              ufman_a
          n_aol-                                                                             ol-
          gmail_                                                                             gmail_re
          respon                                                                             sponsive
          sive_it                                                                            _items.z
          ems.zi                                                                             ip\gmail
          p\gmai                                                                             _respon
          l_resp                                                                             sive_ite
          onsive                                                                             ms.pst\u
          _items                                                                             rikaufma
          .pst\ur                                                                            n_at_gm
          ikaufm                                                                             ail-
          an_at_                                                                             com[002
          gmail-                                                                             ].pst_file
          com[0                                                                              s\Top of
          02].pst       legal                                                                Personal
          _files\       commu                                                                Folders\
          Top of        nicatio                       Uri       Paul                         sandiha
          Person        n                             Kaufm     Jacobi                       mmons_
          al            settlem                       an<uri    <pjaco   Max                 at_yaho
    OLS_ Folder         ent                   6/9/20 kaufm      bi@jac   Case<mc             o-
    URI00 s\sandi Privi with    Email         14      an@g      obicas   ase@jac             com\[G
    00094 hamm lege Jacobi Messa Re: FW:      12:37:3 mail.co   e.com    obicase.c           mail]\Dr
319 86    ons_at d      & Case ge     Costs   1 PM m>           >        om>         False   afts
